(1 of 200), Page 1 of 200   Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 1 of 200




                                               APPEAL NO. 24-142
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
              PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                               Plaintiffs-Appellees,
                                                      v.
              RAÚL LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                            Defendants-Appellants.

                                On Appeal from the United States District Court
                                           for the District of Idaho
                                       Case No. 1:23-cv-00269-BLW

                                            APPENDIX – VOLUME 1
              RAÚL R. LABRADOR               JOHN J. BURSCH               DAVID H. THOMPSON
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(2 of 200), Page 2 of 200   Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 2 of 200




                                     Appendix Table of Contents

                                                                                  Appendix
              Description
                                                                                  Page No.

                                                VOLUME 1

              Attorney General’s Motion for Entry of Previously
                                                                                        1–6
              Agreed Upon Protective Order [DN 95]

              Memorandum Decision and Order re Protective Order
                                                                                        7–17
              [DN 108]

              Unredacted pages from Exhibit 167 in Boe v. Marshall                     18–110

              Unredacted pages from Exhibit 174 in Boe v. Marshall                 111–118

              Unredacted pages from Exhibit 176 in Boe v. Marshall                 119–126

              Unredacted pages from Exhibit 180 in Boe v. Marshall                 127–198

                                                VOLUME 2

              Unredacted pages from Exhibit 182 in Boe v. Marshall                 199–221

              Unredacted pages from Exhibit 184 in Boe v. Marshall                 222–249

              Unredacted pages from Exhibit 185 in Boe v. Marshall                 250–255

              Unredacted pages from Exhibit 186 in Boe v. Marshall                 256–282

              Unredacted pages from Exhibit 187 in Boe v. Marshall                 283–309

              Unredacted pages from Exhibit 188 in Boe v. Marshall                 310–324

              Unredacted pages from Exhibit 190 in Boe v. Marshall                 325–335
(3 of 200), Page 3 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 3 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 1 of 6




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                                   UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF IDAHO

            PAM POE, by and through her parents and next
            friend, Penny and Peter Poe, et al.,              Case No. 1:23-cv-00269-BLW

                   Plaintiffs,                                ATTORNEY GENERAL’S
                                                              MOTION FOR ENTRY OF
                          v.
                                                              PREVIOUSLY AGREED
            RAÚL LABRADOR, in his official capacity as        UPON PROTECTIVE ORDER
            Attorney General of the State of Idaho, et al.,

                  Defendants.




                     Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Attorney

              General hereby moves for entry of the proposed Protective Order (“Protective

              Order”) attached hereto as Exhibit 1, which sets forth a protocol that was

              previously agreed to by the parties. The parties had anticipated the production of
                                                    ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                              PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 1



                                                                                    App.001
(4 of 200), Page 4 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 4 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 2 of 6




              documents and information that a party may believe is, or may contain,

              confidential, proprietary, trade secret, or commercially or personally sensitive

              information, and which may be appropriately subject to protection under Federal

              Rule of Civil Procedure 26(c).

                     As set forth in the previously agreed to protective order, the parties had

            agreed that good cause exists to protect the confidential nature of the information

            contained in certain documents, interrogatory responses, responses to requests for

            admission, or deposition testimony and that entry of the protective order was

            warranted to protect against such disclosure of documents and information.         In

            September 2023, the parties reached agreement on the terms of the protective

            order, and all that was left was for one or more parties to file a motion for entry of

            the protective order. This did not happen, and so the protective order, which was

            agreed upon in September 2023, has not yet been issued by the Court. See attached

            Ex. 2.

                     On July 28, 2023, the Attorney General provided notice to all parties that it

            was planning on serving a subpoena duces tecum upon the World Professional

            Association for Transgender Health, Inc. (“WPATH”), and provided a copy of the

            subpoena along with the notice.       See attached Ex. 3.    On October 3, 2023, in

            response to the subpoena the Attorney General served upon it, and with the belief

            that a protective order was, or soon would be, entered in this case, WPATH

            produced over 100,000 pages of documents to the Attorney General, each of which


                                                     ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                                PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 2



                                                                                     App.002
(5 of 200), Page 5 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 5 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 3 of 6




            was marked “Confidential.” 1    The Attorney General intends to file a motion with

            this Court under Fed. R. Civ. P. 62(d) to dissolve the preliminary injunction based

            upon, in part, certain of those documents, along with other recently released public

            information that goes to the reliability of the evidence the Plaintiffs used to support

            their motion for a preliminary injunction.       In order to produce the WPATH

            documents to counsel for the other parties in this case, the entry of a protective

            order is necessary.

                  This Court previously stayed this matter “pending the Ninth Circuit’s

            resolution of the Attorney General’s pending appeal.” Dkt. 094. However, under

            Fed. R. Civ. P. 62(d), the Court retains authority to “suspend, modify, restore, or

            grant an injunction” while “an appeal is pending from an interlocutory order … that

            grants … an injunction.” Further, while “the general rule [is] that a district court is

            divested of jurisdiction upon the filing of the notice of appeal with respect to any

            matters involved in the appeal,” where “an appeal is allowed from an interlocutory

            order, the district court may still proceed with matters not involved in the appeal.”

            Taylor v. Sterrett, 640 F.2d 663, 667–68 (5th Cir. 1981). “The same court that

            imposes a stay of litigation has the inherent power and discretion to lift the stay.”

            Tugaw Ranches, LLC v. United States Dep’t of the Interior, 2020 WL 61282 * 1 (D.



            1 The documents were produced to the Office of the Attorney General in response to

            identical subpoenas issued both in this case and in another case. Roe v. Critchfield,
            Case No. 1:23-cv-00315 (DCN). The other case does have a protective order issued
            protecting the documents. Id. (Dkt 046).

                                                   ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                              PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 3



                                                                                      App.003
(6 of 200), Page 6 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 6 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 4 of 6




            Idaho 2020) (quoting Canady v. Erbe Elektromedizin GmbH, 271 F. Supp. 2d 64, 74

            (D.D.C. 2002)).

                  Undersigned counsel has conferred with counsel for the other parties

            regarding the entry of the Protective Order. Plaintiffs’ counsel has advised that

            they will oppose this motion for entry of a protective order, despite their agreement

            in September 2023 to the terms and entry of the protective order at that time;

            counsel for the Ada County Prosecuting Attorney has indicated that the Ada County

            Prosecuting Attorney does not oppose this motion.        Based on the foregoing, the

            Attorney General respectfully requests that the Court enter the attached Protective

            Order as an Order of the Court.

                  The Attorney General further respectfully requests that this motion be heard

            on an expedited basis in order to allow the Attorney General to provide the WPATH

            documents to opposing counsel as soon as possible and to allow the Attorney

            General to file its motion to dissolve the preliminary injunction as soon as possible.

              Dated: March 29, 2024.

                                                      STATE OF IDAHO
                                                      OFFICE OF THE ATTORNEY GENERAL


                                                      By: /s/ James E.M. Craig
                                                          JAMES E. M. CRAIG
                                                          Chief, Civil Litigation and
                                                          Constitutional Defense

                                                           Counsel for Defendant
                                                           Raúl Labrador


                                                    ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                               PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 4



                                                                                      App.004
(7 of 200), Page 7 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 7 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 5 of 6




                                     CERTIFICATE OF SERVICE



                  I HEREBY CERTIFY that on March 29, 2024, I electronically filed the foregoing
            with the Clerk of the Court using the CM/ECF system which sent a Notice of
            Electronic Filing to the following persons:



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                                                  ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                             PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 5



                                                                                  App.005
(8 of 200), Page 8 of 200    Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 8 of 200
                       Case 1:23-cv-00269-BLW Document 95 Filed 03/29/24 Page 6 of 6




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                                                 ATTORNEY GENERAL’S MOTION FOR ENTRY OF
                                            PREVIOUSLY AGREED UPON PROTECTIVE ORDER — 6



                                                                                 App.006
(9 of 200), Page 9 of 200   Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 9 of 200
                     Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 1 of 11




                                  UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO


             PAM POE, by and through her parents
             and next friends, Penny and Peter Poe;      Case No. 1:23-cv-00269-BLW
             PENNY POE; PETER POE; JANE
             DOE, by and through her parents and         MEMORANDUM DECISION
             next friends, Joan and John Doe;            AND ORDER
             JOAN DOE, and JOHN DOE,

                    Plaintiffs,

                     v.

             RAÚL LABRADOR, in his official
             capacity as Attorney General of the
             State of Idaho et al.,

                    Defendants.



                                            INTRODUCTION

                  Before the Court is Defendant Attorney General Raúl Labrador’s Motion for

            Entry of Previously Agreed Upon Protective Order (Dkt. 95). For the reasons

            explained below, the Court will deny the motion.

                                            BACKGROUND
                  Plaintiffs filed this action in May 2023. The lawsuit challenges the

            constitutionality of Idaho’s Vulnerable Child Protection Act, which was slated to

            take effect on January 1, 2024. On December 26, 2023, however, this Court

            granted plaintiffs’ motion for a preliminary injunction. The injunction prevented
            MEMORANDUM DECISION AND ORDER - 1

                                                                                    App.007
(10 of 200), Page 10 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 10 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 2 of 11




            Attorney General Labrador and the Ada County Prosecutor from enforcing any

            provision of the Act during the pendency of this action. The case then took a quick

            trip to the Ninth Circuit and the United States Supreme Court. The Attorney

            General appealed the Court’s injunction order, and in January 2024, the Ninth

            Circuit denied the Attorney General’s motion to stay the injunction pending

            appeal. See Jan. 30, 2024 Order, Dkt. 91. A few months later, in April 2024, the

            Supreme Court partly granted Mr. Labrador’s emergency motion to stay the

            injunction. See Labrador v. Poe, 144 S. Ct. 921 (2024). The Supreme Court

            restricted the scope of the statewide preliminary injunction to the plaintiffs. More

            specifically, the Court held that the minor plaintiffs may continue to be provided

            with the treatments they seek during the pendency of this action. Otherwise,

            defendants are free to enforce the Vulnerable Child Protection Act. In the coming

            weeks, the Ninth Circuit will consider Mr. Labrador’s appeal of the Court’s

            preliminary injunction order. The matter has been briefed and oral argument is

            scheduled for August 21, 2024.

                  Meanwhile, back in district court, things have been quiet. Shortly after the

            Attorney General filed his interlocutory appeal, the parties agreed to stay the

            proceedings at the district-court level until the Ninth Circuit had a chance to

            consider and resolve the appeal. See Jan. 31, 2024 Stay Order, Dkt. 94. But on

            March 29, 2024—some two weeks before the Supreme Court limited the


            MEMORANDUM DECISION AND ORDER - 2

                                                                                      App.008
(11 of 200), Page 11 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 11 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 3 of 11




            injunction to the plaintiffs—the Attorney General filed the currently pending

            motion. Plaintiffs say that, from their perspective, the motion came out of nowhere.

            The ultimate aim of the Attorney General’s motion isn’t limited to seeking this

            Court’s approval of a previously agreed-upon protective order. Rather, the

            Attorney General wishes to pave the way to file a motion to “dissolve” the

            preliminary injunction, which, of course, is the very order the Ninth Circuit is

            currently considering.

                                  GOVERNING LEGAL STANDARDS
                  Two legal standards are implicated by the Attorney General’s motion: (1)

            the standard relevant to stays; and (2) the standard relevant to a district court’s

            ability to modify a preliminary injunction order that is being appealed.

            1. Imposing or Lifting a Stay of Proceedings

                  Beginning with the standard governing stay orders, a district court’s power

            to stay a proceeding “is incidental to the power inherent in every court to control

            the disposition of the cases on its docket with economy of time and effort for itself,

            for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

            Similarly, a court has the “inherent power and discretion to lift the stay.” Canady v.

            Erbe Elektromedizin GmbH, 271 F. Supp. 2d 64, 74 (D.D.C. 2002). In imposing or

            lifting a stay, courts weigh three factors, which are sometimes referred to as the

            Landis factors: “[1] the possible damage which may result from the granting [or


            MEMORANDUM DECISION AND ORDER - 3

                                                                                       App.009
(12 of 200), Page 12 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 12 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 4 of 11




            lifting] of a stay, [2] the hardship or inequity which a party may suffer in being

            required to go forward, and [3] the orderly course of justice measured in terms of

            the simplifying or complicating of issues, proof, and questions of law which could

            be expected to result from a stay.” CMAX Inc. v. Hall, 300 F.2d 265, 268 (9th Cir.

            1962) (citing Landis, 299 U.S. at 254-55). More broadly, whether to lift a stay is

            committed to a district court’s discretion, and, in considering a motion to lift a

            previously imposed stay, the district court may consider whether circumstances

            have changed such that its reasons for imposing the stay no longer exist. See

            Johnson v. Inos, Civil Case No. 09-00023, 2013 WL 12210763, at *2, aff’d, 619

            Fed. Appx. 651 (9th Cir. 2015) (on appeal, the Ninth Circuit observed that the

            district court “did not err by requiring a showing of ‘changed circumstances’ as a

            prerequisite for lifting the stay”).

            2. Modifying An Injunction Order That Has Been Appealed

                   Turning to the Court’s ability to modify a preliminary injunction order that

            has been appealed, the most basic principle is that “[t]he filing of a notice of appeal

            is an event of jurisdictional significance—it confers jurisdiction on the court of

            appeals and divests the district court of its control over those aspects of the case

            involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58

            (1982) (per curiam); see also Small v. Operative Plasterers’ & Cement Masons’

            Int’l Ass’n Loc. 200, 611 F.3d 483, 495 (9th Cir. 2010). The rationale for this


            MEMORANDUM DECISION AND ORDER - 4

                                                                                       App.010
(13 of 200), Page 13 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 13 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 5 of 11




            limitation is that “a federal district court and a federal court of appeals should not

            attempt to assert jurisdiction over a case simultaneously,” because doing so

            produces a “danger [that] a district court and a court of appeals w[ill] be

            simultaneously analyzing the same judgment.” Griggs, 459 U.S. at 58–59. Still,

            though, filing a notice of appeal doesn’t completely divest a district court of

            jurisdiction to modify a preliminary injunction order. Under Federal Rule of Civil

            Procedure 62(d), a district court, during the pendency of an appeal from an

            interlocutory order that “grants, dissolves, or denies an injunction,” is authorized to

            “suspend, modify, restore, or grant an injunction ....” Fed. R. Civ. P. 62(d). This

            authorization is narrowly construed, however. See Griggs, 459 U.S. at 58. Once an

            appeal from a preliminary injunction has been filed, the district court may

            generally not alter the injunction “except to maintain the status quo of the parties

            pending the appeal.” See Prudential Real Estate Affiliates, Inc. v. PPR Realty, Inc.,

            204 F.3d 867, 880 (9th Cir. 2000) (citing Coastal Corp. v. Texas E. Corp., 869

            F.2d 817, 819–20 (5th Cir. 1989)). Thus, the Court is prohibited from granting

            relief regarding the preliminary injunction that divests the appellate court of its

            jurisdiction by eliminating or materially altering the controversy. See, e.g., Ortho

            Pharm. Corp. v. Amgen, Inc., 887 F.2d 460, 463–64 (3d Cir. 1989). It follows,

            then, that the pendency of an interlocutory appeal from a preliminary injunction

            divests the district court of jurisdiction to vacate or dissolve the injunction. See


            MEMORANDUM DECISION AND ORDER - 5

                                                                                       App.011
(14 of 200), Page 14 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 14 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 6 of 11




            Coastal Corp, 869 F.2d at 821 (holding that “the district court lacked authority to

            dissolve the injunction” because of a pending appeal).

                                                DISCUSSION

            1.    The Planned Dissolution Motion

                  As noted above, and as explained further in the briefing, the Attorney

            General’s central aim in filing this motion is to pave the way for a later motion to

            dissolve this Court’s preliminary injunction order. The Attorney General intends to

            support that motion with new or different evidence than that put forward before.

            But for the reasons just explained, district courts do not have free rein to modify an

            injunction order that has been appealed—even if the moving party comes forward

            with new or different evidence or arguments. The reason is simple: District courts

            cannot “change the order appealed from on the basis of new arguments or new

            evidence. Procedural chaos would result if appellate and district courts attempted

            to exercise jurisdiction simultaneously.” Karen L. Stevenson & James E.

            Fitzgerald, Rutter Group Practice Guide: Fed. Civ. Pro. Before Trial (Cal. and 9th

            Cir. ed.) ¶ 13:224.5 (citing Coastal Corp., 869 F2d at 820-21 and Flynt Distrib.

            Co. v. Harvey, 734 F2d 1389, 1392 n.1 (9th Cir. 1984)). And the motion the

            Attorney General plans to bring is not to keep the status quo in place. Just the

            opposite, as he wants the Court to entirely dissolve the injunction.

                  The plaintiffs pointed out the problems with the Attorney General’s planned


            MEMORANDUM DECISION AND ORDER - 6

                                                                                     App.012
(15 of 200), Page 15 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 15 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 7 of 11




            dissolution motion at some length in their response brief. See Response, Dkt. 99, at

            10, 12-15 (arguing that the Court should decline to lift the stay to facilitate briefing

            on a procedurally impermissible motion). On reply, the Attorney General chided

            plaintiffs for ruminating about a motion that hasn’t even been filed yet. He urges

            the Court to ignore the yet-to-be filed motion for the time being and instead focus

            solely on the request to approve the parties’ previously agreed-upon protective

            order. See Reply, Dkt. 100, at 1-2. Specifically, he says he “is not requesting a

            wholesale lifting of the stay” and that “[t]o the extent the lifting of the stay is

            necessary, it is for the singular, and limited purpose of entering a previously agreed

            upon protective order under F.R.C.P. 26(c).” Reply, Dkt. 100, at 4. But in the next

            breath, the Attorney General says that “[e]ntering this agreed upon protective order

            will simplify the presentation of evidence in support of the Rule 62(d) motion by

            allowing the Attorney General to provide the subpoenaed WPATH documents to

            all parties.” Id. (footnote omitted).1




                    1
                      In a footnote, the Attorney General says this: “Plaintiffs agree that a motion under Rule
            62(d) is not affected by the stay, writing that ‘Rule 62(d) presents an exception to the general
            rule divesting the district court of jurisdiction over matters on appeal,’ . . . .” Reply, Dkt. 100, at
            4 n.2. The Court does not agree with this assessment of plaintiffs’ position. As the Court reads
            the briefing, plaintiffs were talking about a district court’s jurisdiction to consider matters on
            appeal, not the separate issue of whether the Attorney General would need to obtain relief from
            the stay before filing his contemplated motion to dissolve the preliminary injunction. In this
            Court’s view, the Attorney General would need to obtain relief from the stay before filing a
            motion to dissolve the preliminary injunction. For the reasons explained in this Order, the Court
            declines to grant such relief.

            MEMORANDUM DECISION AND ORDER - 7

                                                                                                    App.013
(16 of 200), Page 16 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 16 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 8 of 11




                  The Court will decline the invitation to close its eyes to the planned

            dissolution motion in determining whether to lift the stay. After all, the Attorney

            General doesn’t want to lift the stay for the sole purpose of getting the protective

            order in place and getting documents over to plaintiffs. If that was all the Attorney

            General wanted, it seems likely that the plaintiffs would be agreeable. But the

            Attorney General expressly stated in his motion that he wants to get that protective

            order in place so that he can file a motion to dissolve the injunction as soon as

            possible. For the reasons already explained, the Court does not intend to lift the

            stay for that purpose because it “lacks jurisdiction to modify an injunction once it

            has been appealed except to maintain the status quo among the parties.” Prudential

            Real Estate Affiliates, Inc., 204 F.3d at 880 ; see also 15 Fed. Prac. & Proc. Juris.

            § 3921.2 (3d ed.) § 3921.2 (observing that the apparent force of Federal Rule of

            Civil Procedure Rule 62(d) “has been restricted by a gloss that limits the district

            court to acts designed to ‘preserve the status quo.’”). Accordingly, in evaluating

            the Landis factors, the Court will not focus solely on the requested protective order

            but will additionally consider whether it should lift the stay so that the Attorney

            General can file the dissolution motion.

            2.    The Landis Factors

                  The first two Landis factors call upon the Court to balance the hardships if

            the action is stayed or if the litigation proceeds. The Court finds that these factors


            MEMORANDUM DECISION AND ORDER - 8

                                                                                       App.014
(17 of 200), Page 17 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 17 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 9 of 11




            weigh in favor of keeping the stay in place. When this Court initially floated the

            idea of staying the litigation, no party indicated that it would suffer harm by virtue

            of a stay. That is particularly notable because, at the time, the Court’s preliminary

            injunction was effective statewide. At this point, the injunction has been limited to

            the plaintiffs, so any hardship suffered by defendants has been significantly

            lessened. In his briefing, the Attorney General acknowledged that the urgency of

            the request to lift the stay has lessened somewhat, at least temporarily. He says,

            “While this order from the U.S. Supreme Court is welcome relief to the State of

            Idaho, lessening the urgency of the State’s motion by allowing the State to again

            protect its most vulnerable citizens from the harmful procedures banned by the

            VCPA, it is only temporary relief.” Reply, Dkt. 100, at 3. The Attorney General

            points out that the Ninth Circuit might reinstate the statewide preliminary

            injunction. The Court will cross that bridge if and when it materializes. Further, if

            the preliminary injunction were to be reinstated statewide, the Court believes the

            speedier path forward would be to push this case along toward a trial.

                  As for the second factor—the harm in forging ahead—the Court is

            concerned about the Attorney General’s planned motion for the reasons already

            described. In short, the Court doubts it has jurisdiction to simply dissolve or vacate

            the injunction. And, aside from that, neither side has indicated it wishes to forge

            ahead in an effort to prepare the case for trial. Rather, it appears that, as was the


            MEMORANDUM DECISION AND ORDER - 9

                                                                                       App.015
(18 of 200), Page 18 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 18 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 10 of 11




            case back in January when the Court entered the stay, the parties are content to

            wait for guidance from the Ninth Circuit.

                  Turning to the third factor, which relates to the orderly administration of

            justice, this factor weighs heavily in favor of leaving the stay in place. Indeed, this

            this factor was a key driver in the Court’s initial decision to enter a stay. Granted,

            “while it is the prerogative of the district court to manage its workload, case

            management standing alone is not necessarily a sufficient ground to stay

            proceedings.” Dependable Highway Express, Inc. v. Navigators Ins. Co., 498 F.3d

            1059, 1066 (9th Cir. 2007). Indeed, the Ninth Circuit has “repeatedly admonished

            district courts not to delay trial preparation to await an interim ruling on a

            preliminary injunction” because preliminary injunctions often involve a limited

            review of the factual record and “may provide little guidance as to the appropriate

            disposition on the merits.” California v. Azar, 911 F.3d 558, 583-84 (9th Cir.

            2018). But in this case, the parties presented the Court with a significantly

            developed factual record (including hundreds of pages of declarations, deposition

            transcripts, and exhibits) in connection with the motion for a preliminary

            injunction, and all parties declined to present live evidence at the injunction

            hearing. On top of that, Attorney General Labrador argued that he is immune from

            suit, which independently counsels in favor of a stay. See Andrade Rico v. Beard,

            No. 2:17-CV-1402-KJM-DBP, 2019 WL 4127206, at *8 (E.D. Cal. Aug. 30, 2019)


            MEMORANDUM DECISION AND ORDER - 10

                                                                                       App.016
(19 of 200), Page 19 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 19 of 200
                    Case 1:23-cv-00269-BLW Document 108 Filed 07/31/24 Page 11 of 11




            (staying proceedings pending interlocutory appeal where merits of plaintiffs’

            claims were intertwined with questions of qualified immunity on appeal).

                  More broadly, the complexity of the constitutional issues involved with the

            Court’s ruling make it likely that the Ninth Circuit’s opinion will guide this Court’s

            future analysis. After all, plaintiffs are seeking a permanent injunction, which is

            similar to the relief granted by the preliminary injunction. Given the substantial

            overlap of the legal issues and the relief sought, awaiting a decision by the Ninth

            Circuit will minimize the risk of inconsistent judgments. Also relevant to this

            factor, the Court had judicial economy in mind when it granted the stay. This Court

            is an extraordinarily busy one and has scarce judicial resources. It is therefore

            critical for this Court to manage its cases with efficiency and economy in mind.

                  For all these reasons, the Court will decline to lift the stay and will instead

            wait for a ruling from the Ninth Circuit.

                                                  ORDER
                  IT IS ORDERED that Defendant Attorney General Labrador’s Motion for

            Entry of Previously Agreed Upon Protective Order (Dkt. 95) is DENIED.

                                                          DATED: July 31, 2024


                                                          _________________________
                                                          B. Lynn Winmill
                                                          U.S. District Court Judge



            MEMORANDUM DECISION AND ORDER - 11

                                                                                      App.017
(20 of 200), Page 20 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 20 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 1 of 93




                          EXHIBIT 167




                                                                             App.018
(21 of 200), Page 21 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 21 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 2 of 93

             From:              Karen Robinson
             To:                Donna Kelly
             Subject:           RE: Any update?
             Date:              Thursday, December 21, 2017 9:25:00 AM




            Donna --
            I have asked for a contact at research office to review and provide advice on wording. We then may need to discuss
            on phone.
            In general, my understanding is that the university will not sign off on a contract that allows a sponsor to stop an
            academic publication.
            Also, just to be clear, the "data" we are talking about is our review of existing publications.
            I will be back in touch when I have heard from lawyer on this end.
            Thanks for your persistence in this, Donna!
            Happy holidays and best wishes for a happy and healthy new year,
            Karen

            -----Original Message-----
            From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
            Sent: Wednesday, December 20, 2017 5:29 PM
            To: Karen Robinson <       REDACTED
            Subject: RE: Any update?

            Thanks Karen.
            Please define "other than for education, academic or research purposes" in 9.2.
            Our board has very specific thoughts around having approval for all uses, they are not likely to want to grant use of
            the data for academic research purposes without approval of the context.
            Happy to discuss this more by phone if that is easier.
            Donna

            -----Original Message-----
            From: Karen Robinson [mailto   REDACTED
            Sent: Wednesday, December 20, 2017 1:43 PM
            To: Donna Kelly <donna@wpath.org>
            Subject: RE: Any update?

            Thanks, Donna. The prior version of section 8 covered some of that but how about this for new sections to replace
            original 7,8 and 9 (to be renumbered). Again, I used a prior contract with an organization as a basis. Please let me
            know of any suggested revisions. If you and Board are ok or mostly ok, I will revise contract and start process of
            getting our side (lawyers) to review.
            Thanks!
            Karen

            <sent previously>
            1.1          Rights in Data
            1.1.1   The term "Project Data" as used herein includes, among others, raw data, research data, records, reports,
            notes, tables, writing, sound recordings, pictorial reproduction, drawings or other graphical representations, and
            works of any similar nature (whether or not copyrighted) which are generated or specified to be delivered in
            connection with the Project under this Agreement.
            1.1.2   The INSTITUTION ensures that the ownership of the Project Data and all intellectual property rights in the
            Project Data developed by the INSTITUTION or the INVESTIGATOR in connection with the Project shall
            automatically be vested in WPATH as soon as they are created or, to the extent required, assigned to WPATH.  
            1.1.3   To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives and agrees not
            to enforce (and procures that its agents, designees, employees and subcontractors waive and agree not to enforce)
            any intellectual property rights and other proprietary rights, if any, related to the Project Data.
            1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as



                                                                                                        JHU_000000011
                                                                         1                                        App.019
(22 of 200), Page 22 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 22 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 3 of 93
            may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
            the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

            <suggested new section>

            9.      Use and Publication

            9.1     Notwithstanding anything to the contrary contained in this Agreement, WPATH shall retain the unrestricted
            right to use the Project Data, or any part thereof at any time, in any manner and for any purpose, including the
            publication of the Project Data and the communication of Project Data to third parties.

            9.2     Any publication or use of the Project Data by the INSTITUTION, other than for education, academic or
            research purposes, must be reviewed by WPATH and approved by it prior to such publication of use.

            9.3     Prior to the publication of the Project Data or any part thereof by the INSTITUTION, WPATH shall have
            thirty (30) days in which to review and comment on the proposed publication. The INSTITUTION will give due
            regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential Information.
            WPATH further has the right to request a delay in publication to allow for any patentable invention to be legally
            protected.

            9.4     Publication of the Project Data or any part thereof by either of the Parties shall give proper credit to the other
            Party. The INSTITUTION shall not mention any commercial brands or trade names in the publication of the Project
            Data except as such brand or trade names are essential in the description of the research, nor shall the name of
            WPATH be used in any way for advertising purposes without WPATH's prior written consent.

            9.5     The INSTITUTION shall not originate any publicity, news release, advertising promotion or commercial
            material, or other public announcement, written or verbal, whether to the public press or otherwise, relating to this
            Agreement, the Project conducted hereunder, or to any amendment(s) without WPATH's prior express written
            consent, except as required by law.

            -----Original Message-----
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Wednesday, December 20, 2017 2:18 PM
            To: Karen Robinson <       REDACTED
            Subject: RE: Any update?

            Hi Karen,
            Thank you for doing this it was very helpful. We discussed the revised language and most was fine as is. There are
            still questions around your 1.1.4 below. Can you provide some additional clarification? The board wants it to be
            clear that the data cannot be used without WPATH approval in each instance so they have some control over the
            context it is being used in.
            Thank you, Donna

            1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
            may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
            the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

            -----Original Message-----
            From: Karen Robinson [mailto    REDACTED
            Sent: Tuesday, December 19, 2017 7:34 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: Any update?

            Good morning, Donna.. I am checking in to see if the revised contract text I sent addressed the concerns. Anything I
            can do on my end to move forward?
            Thanks,
            Karen


                                                                                                            JHU_000000012
                                                                        2                                            App.020
(23 of 200), Page 23 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 23 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 4 of 93

            Sent from my iPhone




                                                                       JHU_000000013
                                                 3                           App.021
(24 of 200), Page 24 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 24 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 5 of 93

             From:              Karen Robinson
             To:                "Donna Kelly"
             Subject:           RE: Any update?
             Date:              Wednesday, December 20, 2017 2:43:26 PM




            Thanks, Donna. The prior version of section 8 covered some of that but how about this for new sections to replace
            original 7,8 and 9 (to be renumbered). Again, I used a prior contract with an organization as a basis. Please let me
            know of any suggested revisions. If you and Board are ok or mostly ok, I will revise contract and start process of
            getting our side (lawyers) to review.
            Thanks!
            Karen

            <sent previously>
            1.1          Rights in Data
            1.1.1   The term "Project Data" as used herein includes, among others, raw data, research data, records, reports,
            notes, tables, writing, sound recordings, pictorial reproduction, drawings or other graphical representations, and
            works of any similar nature (whether or not copyrighted) which are generated or specified to be delivered in
            connection with the Project under this Agreement.
            1.1.2   The INSTITUTION ensures that the ownership of the Project Data and all intellectual property rights in the
            Project Data developed by the INSTITUTION or the INVESTIGATOR in connection with the Project shall
            automatically be vested in WPATH as soon as they are created or, to the extent required, assigned to WPATH.  
            1.1.3   To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives and agrees not
            to enforce (and procures that its agents, designees, employees and subcontractors waive and agree not to enforce)
            any intellectual property rights and other proprietary rights, if any, related to the Project Data.
            1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
            may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
            the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

            <suggested new section>

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            right to use the Project Data, or any part thereof at any time, in any manner and for any purpose, including the
            publication of the Project Data and the communication of Project Data to third parties.

            9.2     Any publication or use of the Project Data by the INSTITUTION, other than for education, academic or
            research purposes, must be reviewed by WPATH and approved by it prior to such publication of use.

            9.3     Prior to the publication of the Project Data or any part thereof by the INSTITUTION, WPATH shall have
            thirty (30) days in which to review and comment on the proposed publication. The INSTITUTION will give due
            regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential Information.
            WPATH further has the right to request a delay in publication to allow for any patentable invention to be legally
            protected.

            9.4     Publication of the Project Data or any part thereof by either of the Parties shall give proper credit to the other
            Party. The INSTITUTION shall not mention any commercial brands or trade names in the publication of the Project
            Data except as such brand or trade names are essential in the description of the research, nor shall the name of
            WPATH be used in any way for advertising purposes without WPATH's prior written consent.

            9.5     The INSTITUTION shall not originate any publicity, news release, advertising promotion or commercial
            material, or other public announcement, written or verbal, whether to the public press or otherwise, relating to this
            Agreement, the Project conducted hereunder, or to any amendment(s) without WPATH's prior express written
            consent, except as required by law.




                                                                                                            JHU_000000014
                                                                        4                                            App.022
(25 of 200), Page 25 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 25 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 6 of 93
            -----Original Message-----
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Wednesday, December 20, 2017 2:18 PM
            To: Karen Robinson <       REDACTED
            Subject: RE: Any update?

            Hi Karen,
            Thank you for doing this it was very helpful. We discussed the revised language and most was fine as is. There are
            still questions around your 1.1.4 below. Can you provide some additional clarification? The board wants it to be
            clear that the data cannot be used without WPATH approval in each instance so they have some control over the
            context it is being used in.
            Thank you, Donna

            1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
            may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
            the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

            -----Original Message-----
            From: Karen Robinson [mailto    REDACTED
            Sent: Tuesday, December 19, 2017 7:34 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: Any update?

            Good morning, Donna.. I am checking in to see if the revised contract text I sent addressed the concerns. Anything I
            can do on my end to move forward?
            Thanks,
            Karen

            Sent from my iPhone




                                                                                                       JHU_000000015
                                                                     5                                          App.023
(26 of 200), Page 26 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 26 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 7 of 93

             From:            Karen Robinson
             To:              "Donna Kelly"
             Subject:         RE: contact for the contract?
             Date:            Wednesday, September 27, 2017 12:03:19 PM


            I don’t envy you the task of finding a common meeting time!
            I am willing to be flexible to other options, such as individual calls, as needed.
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Wednesday, September 27, 2017 11:46 AM
                                       REDACTED
            To: Karen Robinson <
            Subject: RE: contact for the contract?
            Excellent Karen.
            I am still working on a common time they can all meet. If need be are you will to speak with the
            three chairs individually? I think that may be a better approach. I can speak with you first to give you
            some direction from the Board and a heads up on some of the points that need to be ironed out
            with the Chair.
            Thanks
            Donna
                                               REDACTED
            From: Karen Robinson [mailto:
            Sent: Wednesday, September 27, 2017 10:42 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: RE: contact for the contract?
            Donna –
            I just wanted to touch base. The contract is with our research office and I hope to get it soon and
            then forward to you.
            Any word on scheduling of calls?
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Monday, September 18, 2017 12:04 PM
                                        REDACTED
            To: Karen Robinson <                        Donna Kelly <donna@wpath.org>
            Subject: RE: contact for the contract?
            Hi Karen,
            I am still working on it, one of our chairs was on holiday.
            I will get back to you as soon as possible.
            Thank you
            Donna
                                               REDACTED
            From: Karen Robinson [mailto:
            Sent: Monday, September 18, 2017 10:51 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: RE: contact for the contract?
            Donna –
            I just wanted to check in. Any word on call with program chairs?


                                                                                                 JHU_000000016
                                                                    6                                 App.024
(27 of 200), Page 27 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 27 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 8 of 93

            The contract is working its way through the red tape here at Hopkins and I hope to send it along to
            you soon.
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Tuesday, September 12, 2017 4:31 PM
                                       REDACTED
            To: Karen Robinson <
            Subject: RE: contact for the contract?
            Hi Karen,
            The contract should come to me and I will share it with the rest of the leadership. I agree it is good
            to get started on it now as they may want to send it for legal for review. I imagine if the scope
            changes at all based on the call much of the general language would be the same.
            Thank you
            Donna
                                                 REDACTED
            From: Karen Robinson [mailto:
            Sent: Tuesday, September 12, 2017 7:20 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: contact for the contract?
            Donna –
            As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
            the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
            Thanks,
            Karen
            -----------------------
            Karen A. Robinson, PhD
            Director JHU Evidence-based Practice Center
            Associate Professor of Medicine, Epidemiology, and Health Policy and Management
            Johns Hopkins University
                         REDACTED
                  REDACTED
              REDACTED
               REDACTED




                                                                                             JHU_000000017
                                                               7                                      App.025
(28 of 200), Page 28 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 28 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 9 of 93

             From:           Karen Robinson
             To:             "Donna Kelly"
             Subject:        RE: contact for the contract?
             Date:           Wednesday, September 27, 2017 11:42:23 AM


            Donna –
            I just wanted to touch base. The contract is with our research office and I hope to get it soon and
            then forward to you.
            Any word on scheduling of calls?
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Monday, September 18, 2017 12:04 PM
                                        REDACTED
            To: Karen Robinson <                        Donna Kelly <donna@wpath.org>
            Subject: RE: contact for the contract?
            Hi Karen,
            I am still working on it, one of our chairs was on holiday.
            I will get back to you as soon as possible.
            Thank you
            Donna
                                               REDACTED
            From: Karen Robinson [mailto:
            Sent: Monday, September 18, 2017 10:51 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: RE: contact for the contract?
            Donna –
            I just wanted to check in. Any word on call with program chairs?
            The contract is working its way through the red tape here at Hopkins and I hope to send it along to
            you soon.
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Tuesday, September 12, 2017 4:31 PM
                                       REDACTED
            To: Karen Robinson <
            Subject: RE: contact for the contract?
            Hi Karen,
            The contract should come to me and I will share it with the rest of the leadership. I agree it is good
            to get started on it now as they may want to send it for legal for review. I imagine if the scope
            changes at all based on the call much of the general language would be the same.
            Thank you
            Donna
                                               REDACTED
            From: Karen Robinson [mailto:
            Sent: Tuesday, September 12, 2017 7:20 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: contact for the contract?
            Donna –


                                                                                             JHU_000000018
                                                                   8                                  App.026
(29 of 200), Page 29 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 29 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 10 of 93

            As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
            the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
            Thanks,
            Karen
            -----------------------
            Karen A. Robinson, PhD
            Director JHU Evidence-based Practice Center
            Associate Professor of Medicine, Epidemiology, and Health Policy and Management
            Johns Hopkins University
                         REDACTED
                 REDACTED
              REDACTED
               REDACTED




                                                                                           JHU_000000019
                                                             9                                     App.027
(30 of 200), Page 30 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 30 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 11 of 93

             From:            Karen Robinson
             To:              Donna Kelly
             Subject:         RE: contact for the contract?
             Date:            Monday, September 18, 2017 11:50:00 AM


            Donna –
            I just wanted to check in. Any word on call with program chairs?
            The contract is working its way through the red tape here at Hopkins and I hope to send it along to
            you soon.
            Thanks,
            Karen
            From: Donna Kelly [mailto:donna@wpath.org]
            Sent: Tuesday, September 12, 2017 4:31 PM
                                       REDACTED
            To: Karen Robinson <
            Subject: RE: contact for the contract?
            Hi Karen,
            The contract should come to me and I will share it with the rest of the leadership. I agree it is good
            to get started on it now as they may want to send it for legal for review. I imagine if the scope
            changes at all based on the call much of the general language would be the same.
            Thank you
            Donna
                                                 REDACTED
            From: Karen Robinson [mailto:
            Sent: Tuesday, September 12, 2017 7:20 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: contact for the contract?
            Donna –
            As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
            the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
            Thanks,
            Karen
            -----------------------
            Karen A. Robinson, PhD
            Director JHU Evidence-based Practice Center
            Associate Professor of Medicine, Epidemiology, and Health Policy and Management
            Johns Hopkins University
                          REDACTED
                   REDACTED
               REDACTED
                REDACTED




                                                                                             JHU_000000020
                                                                       10                             App.028
(31 of 200), Page 31 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 31 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 12 of 93

             From:           Karen Robinson
             To:             "Donna Kelly"
             Subject:        RE: contract language?
             Date:           Thursday, December 7, 2017 1:24:03 PM


            I would suggest that the text I sent be used to replace section 7 and 9. Again, I will have to send
            revised contract through office here. Let me know if this works on your end and I will start that
            process.
            Thanks
            Karen
            From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
            Sent: Thursday, December 07, 2017 1:17 PM
                                         REDACTED
            To: Karen Robinson <
            Subject: RE: contract language?
            Hi Karen.
            Sorry I mistyped, it is 7, 8 and 9. Whould you please provide comment on section 9.
            Thank you
            Donna
                                                REDACTED
            From: Karen Robinson [mailto:
            Sent: Thursday, December 7, 2017 9:48 AM
            To: Donna Kelly <donna@veritasmeetingsolutions.com>
            Subject: RE: contract language?
            Donna –
            Thanks for the follow-up information.
            Section 6 is standard confidentiality section and I think is ok as is.
            I have pasted below some possible replacement text for Section 7 based on a prior contract of
            similar work.
            Section 8 is about publishing the results of the reviews (called STUDY in contract, and Project Data in
            text below), not the SOC.
            Let me know if below helps and I will see how to get it through our lawyers.
            Thanks,
            Karen
            1.1 Rights in Data
            1.1.1 The term "Project Data" as used herein includes, among others, raw data, research data,
                    records, reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or
                    other graphical representations, and works of any similar nature (whether or not
                    copyrighted) which are generated or specified to be delivered in connection with the Project
                    under this Agreement.
            1.1.2 The INSTITUTION ensures that the ownership of the Project Data and all intellectual property
                    rights in the Project Data developed by the INSTITUTION or the INVESTIGATOR in connection
                    with the Project shall automatically be vested in WPATH as soon as they are created or, to
                    the extent required, assigned to WPATH.
            1.1.3 To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives
                    and agrees not to enforce (and procures that its agents, designees, employees and
                    subcontractors waive and agree not to enforce) any intellectual property rights and other



                                                                                              JHU_000000021
                                                                     11                               App.029
(32 of 200), Page 32 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 32 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 13 of 93

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                   licenses as may be required for the INSTITUTION and the INVESTIGATOR to use the Project
                   Data in so far as required by the INSTITUTION and/or the INVESTIGATOR for education or
                   research purposes.
            From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
            Sent: Monday, December 04, 2017 1:54 PM
                                      REDACTED
            To: Karen Robinson <
            Subject: RE: contract language?
            Hi Karen,
            Attached here again should you not have it handy is the agreement. It is sections 6, 7 and 8. Here are
            my notes from the conversation at our board meeting.
            * The SOC belongs to WPATH, JHU is being hired to help us with the evidence review and grading of
            the evidence. JHU cannot publish their findings independently, the SOC is an internal work product
            of WPATH.

            * If we are paying for the data review through a fee for services, why wouldn't we own the results?
            Define exactly what data belongs to WPATH and what JH considers they own or have limited rights
            to. Define the limitations.
            Please let me know your thoughts.
            Thank you
            Donna

                                              REDACTED
            From: Karen Robinson [mailto:
            Sent: Wednesday, November 29, 2017 11:18 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: contract language?
            Donna –
            Could you send me the section(s) or statement(s) in the contract that has caused concern?
            Thanks,
            Karen




                                                                                           JHU_000000022
                                                             12                                     App.030
(33 of 200), Page 33 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 33 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 14 of 93

             From:           Karen Robinson
             To:             "Donna Kelly"
             Subject:        RE: contract language?
             Date:           Thursday, December 7, 2017 10:48:26 AM


            Donna –
            Thanks for the follow-up information.
            Section 6 is standard confidentiality section and I think is ok as is.
            I have pasted below some possible replacement text for Section 7 based on a prior contract of
            similar work.
            Section 8 is about publishing the results of the reviews (called STUDY in contract, and Project Data in
            text below), not the SOC.
            Let me know if below helps and I will see how to get it through our lawyers.
            Thanks,
            Karen
            1.1 Rights in Data
            1.1.1 The term "Project Data" as used herein includes, among others, raw data, research data,
                    records, reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or
                    other graphical representations, and works of any similar nature (whether or not
                    copyrighted) which are generated or specified to be delivered in connection with the Project
                    under this Agreement.
            1.1.2 The INSTITUTION ensures that the ownership of the Project Data and all intellectual property
                    rights in the Project Data developed by the INSTITUTION or the INVESTIGATOR in connection
                    with the Project shall automatically be vested in WPATH as soon as they are created or, to
                    the extent required, assigned to WPATH.
            1.1.3 To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives
                    and agrees not to enforce (and procures that its agents, designees, employees and
                    subcontractors waive and agree not to enforce) any intellectual property rights and other
                    proprietary rights, if any, related to the Project Data.
            1.1.4 WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and
                    licenses as may be required for the INSTITUTION and the INVESTIGATOR to use the Project
                    Data in so far as required by the INSTITUTION and/or the INVESTIGATOR for education or
                    research purposes.
            From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
            Sent: Monday, December 04, 2017 1:54 PM
                                      REDACTED
            To: Karen Robinson <
            Subject: RE: contract language?
            Hi Karen,
            Attached here again should you not have it handy is the agreement. It is sections 6, 7 and 8. Here are
            my notes from the conversation at our board meeting.
            * The SOC belongs to WPATH, JHU is being hired to help us with the evidence review and grading of
            the evidence. JHU cannot publish their findings independently, the SOC is an internal work product
            of WPATH.

            * If we are paying for the data review through a fee for services, why wouldn't we own the results?
            Define exactly what data belongs to WPATH and what JH considers they own or have limited rights


                                                                                            JHU_000000023
                                                                      13                             App.031
(34 of 200), Page 34 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 34 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 15 of 93

            to. Define the limitations.
            Please let me know your thoughts.
            Thank you
            Donna

                                              REDACTED
            From: Karen Robinson [mailto:
            Sent: Wednesday, November 29, 2017 11:18 AM
            To: Donna Kelly <donna@wpath.org>
            Subject: contract language?
            Donna –
            Could you send me the section(s) or statement(s) in the contract that has caused concern?
            Thanks,
            Karen




                                                                                         JHU_000000024
                                                            14                                   App.032
(35 of 200), Page 35 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 35 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 16 of 93

             From:              Karen Robinson
             To:                Donna Kelly
             Cc:                Chanel Livingston
             Subject:           contract: JHU and WPATH
             Date:              Wednesday, May 2, 2018 2:47:00 PM
             Attachments:       WPATH JH SOC8 Contract.pdf


            Donna –
            Attached is signed contract – note that before this is finalized we need the ‘notices section’
            completed with details on to whom and where written notices are to be sent (see page 6).
            I have had productive and informative calls with chairs and chapter leads – and another next week.
            Thanks!
            Karen
            -----------------------
            Karen A. Robinson, PhD
            Director JHU Evidence-based Practice Center
            Associate Professor of Medicine, Epidemiology, and Health Policy and Management
            Johns Hopkins University
                            REDACTED




                                                                                          JHU_000000094
                                                                    15                            App.033
(36 of 200), Page 36 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 36 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 17 of 93


                                           Sponsored Research Agreement
                                             Johns Hopkins University

           This agreement (the “Agreement”) is entered into as of this First day of April, 2018 (the
           “Effective Date”), by and between Johns Hopkins University, on behalf of its School of
           Medicine, having an Office of Research Administration located at 733 North Broadway, Suite
           117 Baltimore, Maryland, 21205 (“JHU”), and the World Professional Association for
           Transgender Health, a private non-profit organization located at 2575 Northwest Parkway, Elgin,
           Illinois 60124 (“Sponsor”).

           WHEREAS, Sponsor wishes that JHU perform systematic reviews and other activities to support
           guideline development and such work is of mutual interest and benefit to the JHU and Sponsor;

           WHEREAS, Karen A. Robinson, PhD, Director, JHU Evidence-based Practice Center and
           Associate Professor of Medicine shall be JHU’s principal investigator in conducting the research
           for Sponsor (“Investigator”); and

           WHEREAS, the research will further JHU’s instructional, scholarship, and research objectives in
           a manner consistent with its status as a non-profit, tax-exempt, educational institution.

           NOW, THEREFORE, in consideration of the following mutual promises, covenants, and
           conditions and any sums to be paid, the parties hereto agree as follows:


           1.     STATEMENT OF WORK

           (a)     JHU agrees to use its reasonable efforts to support update and development of the
           Standards of Care for the Health of Transsexual, Transgender, and Gender Noncomforming
           People (“Study”), as described in the statement of work for this Study (attached as Exhibit A).
           JHU shall perform the Study in accordance with academic standards and all applicable laws and
           regulations.

           (b)     Sponsor acknowledges that JHU and/or its researchers may be engaged in similar
           research not financially supported by Sponsor or subject to this Agreement. Nothing in this
           Agreement shall be construed to limit the freedom of JHU and/or its researchers who are
           participants in this Agreement, whether paid under this Agreement or not, from engaging in
           similar research inquiries made independently under other grants, contracts, or agreements with
           parties other than the Sponsor, and Sponsor shall have no rights via this Agreement to the results
           of such similar research.

           2.     INVESTIGATOR

           This Study will be conducted under the direction of the Investigator identified above. In the
           event the Investigator should become unavailable to serve in that role, or shall no longer be
           employed by JHU, JHU shall have the right to designate a replacement principal investigator,
           subject to Sponsor’s reasonable approval. If the parties are unable to identify a mutually




                                                           1                           JHU_000000095
                                                          16                                   App.034
(37 of 200), Page 37 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 37 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 18 of 93


           acceptable replacement principal investigator within sixty (60) days of notification to Sponsor by
           JHU of a proposed replacement, then either party may terminate this Agreement in accordance
           with the termination provision of this Agreement.


           3.     PAYMENT

           (a)    In consideration of JHU conducting the Study hereunder, Sponsor shall pay JHU in the
           aggregate amount of One Hundred Ninety-Six Three Hundred Seven U.S. Dollars ($196,307).
           Payments shall be made in accordance with the following schedule:

                  A quarterly payment schedule based on milestones:
                  1. $49,076.75 upon initiation of project with signed contract
                  2. $49,076.75 upon submission of final PICO document outlining questions for review
                  3. $49,076.75 upon submission of the draft report of the systematic reviews
                  4. $49,076.75 upon submission of final report of systematic reviews


           (b)    Payments shall be made as follows:

                  Payable to: The Johns Hopkins University
                  Tax I.D. Number: XX-XXXXXXX

                  Payments by check shall be sent to:

                  Johns Hopkins University Central Lockbox
                  c/o Bank of America
                  12529 Collections Center Drive
                  Chicago, IL 60693

                  All electronic fund transfers should be sent to:

                  c/o Bank of America
                  100 S. Charles Street
                  Baltimore, Maryland 21201
                  Transit/routing/ABA number: REDACTED
                  Account number: REDACTED

                  All payments shall include the following reference information:

                  1. Name of JHU Investigator
                  2. Title of the Study



           4.     EQUIPMENT AND PROPERTY




                                                           2                           JHU_000000096
                                                          17                                  App.035
(38 of 200), Page 38 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 38 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 19 of 93



           Unless otherwise explicitly provided, title to and ownership of all equipment, supplies, and
           property purchased or manufactured by JHU under this Agreement will be in and remain with
           JHU, even after completion or termination of the Agreement.

           5.     AUDIT

           Authorized representatives of Sponsor or its designee shall have the right no more than once per
           contract year, upon reasonable and advance written notice, during regular business hours, and in
           accordance with JHU’s applicable policies and procedures, to examine and inspect JHU’s and
           the applicable Investigator’s records associated with this Study and inspect and copy all work
           products relating to this Study, subject to Section 6 of this Agreement.

           6.     PROPRIETARY INFORMATION AND CONFIDENTIALITY

           (a)     “Confidential Information” means all non-public, confidential, and/or proprietary
           information that is marked as “Confidential Information” as described below and which is
           disclosed by one party to the other, including but not limited to software, inventions (whether
           patentable or not), algorithms, diagrams, drawings, processes, research, product or strategic plans
           or collaborations or partnerships, financial information, or business models. Confidential
           Information, if in tangible or readable form, shall be marked as such at the time of disclosure and
           if disclosed orally, shall be reduced to writing, marked confidential, and addressed to the other
           party within ten (10) days after disclosure.

           (b)     Both JHU and Sponsor shall have the right to refuse to accept any Confidential
           Information proffered to it by the other. If necessary, the parties will exchange Confidential
           Information only under the provisions set forth herein. The party who receives Confidential
           Information (the “Receiving Party”) shall (i) hold the Confidential Information in confidence
           using the same care it affords its own confidential information of a similar nature, but not less
           than a reasonable degree of care; (ii) use the Confidential Information only for the performance
           of this Agreement; and (iii) restrict disclosure of the Confidential Information to employees
           whose duties justify the need to know the Confidential Information in furtherance of the
           performance of this Agreement and who are advised as to the confidential nature of the
           information and required to comply with the provisions of this Agreement. The Receiving Party
           shall not provide any third parties with access to the Confidential Information unless such third
           party has agreed to be bound by confidentiality and non-disclosure obligations in a form of an
           agreement reasonably acceptable to the party disclosing the Confidential Information (the
           “Disclosing Party”).

           (c)     Confidential Information shall not include any information disclosed that the Receiving
           Party can demonstrate (i) previously was in its possession, without violation of any obligation of
           confidentiality; (ii) was received from a third party without violation of any obligation of
           confidentiality; (iii) was publicly known and made generally available prior to such disclosure;
           (iv) becomes publicly known and made generally available, through no action or inaction of the
           Receiving Party, after such disclosure; or (v) was independently developed without use of any
           Confidential Information by employees or consultants of the Receiving Party.




                                                           3                           JHU_000000097
                                                          18                                   App.036
(39 of 200), Page 39 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 39 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 20 of 93



           (d)     If the Receiving Party is required to disclose Confidential Information by order of a court
           of competent jurisdiction, administrative agency or governmental body, or by subpoena,
           summons, or other legal process, the Receiving Party shall provide the Disclosing Party with
           prompt written notice of such required disclosure so that the Disclosing Party may seek a
           protective order or take other appropriate action, cooperate reasonably with Disclosing Party in
           connection with Disclosing Party’s efforts to seek such relief, and thereafter to disclose only the
           minimum information required to be disclosed in order to comply.

           (e)    Upon termination of this Agreement or the Disclosing Party’s request, Confidential
           Information shall be promptly returned to the Disclosing Party or destroyed, with such
           destruction confirmed in writing. The Receiving Party may retain one archival copy of such
           Confidential Information, for the purpose of fulfilling its obligations under this Agreement.

           (f)     The obligations of confidentiality under this Section shall continue for a period of three
           (3) years following conclusion or early termination of this Agreement.


           7.      DATA USE AND PUBLICATIONS

           The term "Project Data" as used herein includes, among others, raw data, research data, records,
           reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or other
           graphical representations, and works of any similar nature (whether or not copyrighted) which
           are generated or specified to be delivered by the JHU evidence review team in connection with
           the Project under this Agreement. Notwithstanding anything to the contrary contained in this
           Agreement, WPATH shall retain the unrestricted right to use the Project Data, or any part thereof at any
           time, in any manner and for any purpose, including the publication of the Project Data and the
           communication of Project Data to third parties. No other parties other than the JHU evidence review team
           will have any access to the Project Data without written permission by WPATH. Prior to the publication
           of the Project Data or any part thereof by the JHU evidence review team, WPATH shall have thirty (30)
           days in which to review and comment on the proposed publication. The JHU evidence review team will
           give due regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential
           Information.



           8.      TERM AND TERMINATION

           (a) Unless earlier terminated in accordance with subsection (b) of this Section, the term
           of this agreement shall commence on the Effective Date and shall terminate on 31 March 2019.

           (b) This Agreement may be terminated if any of the following events occur: (i) for
           convenience by either party upon sixty (60) days written notice to the other party; (ii) either party
           materially breaches this Agreement, and the non-breaching party provides the breaching party
           with thirty (30) days advance written notice of termination and such breach is not remedied
           within such thirty (30) day period; (iii) Sponsor files for creditor protection under any section of
           the U.S. Bankruptcy Code; and/or (iv) a bankruptcy trustee or receiver is appointed for Sponsor.



                                                              4                            JHU_000000098
                                                             19                                    App.037
(40 of 200), Page 40 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 40 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 21 of 93


           Upon written notice, JHU shall proceed in an orderly fashion to limit or terminate any
           outstanding commitments and to conclude the work. All costs incurred by JHU associated with
           termination shall be allowable including, without limitation, all non-cancelable costs or
           commitments incurred or obligated and work performed prior to the effective date of
           termination, which shall include all appointment of research staff prior to the effective date of
           termination.


           9.     INDEMNIFICATION

           Sponsor (the “Indemnifying Party”) shall indemnify, defend, and hold harmless JHU, its trustees,
           officers, employees, students, agents, and representatives (collectively, the “JHU Indemnitees”)
           from and against any and all losses, liability, cost, and expenses, including attorney’s fees and
           costs, awards, judgments, damages, fines, penalties, claims, and causes of action (collectively,
           “Claims”) arising out of or related to the negligent acts or omissions or misconduct of the
           Indemnifying Party or any of its officers, directors, employees, agents, representatives,
           contractors, successors, assigns, or anyone acting on any of their behalf in connection with,
           arising from, or related to the performance of the Indemnifying Party’s obligations under this
           Agreement, including Claims for (i) personal injury, including death, and damage to property;
           (ii) the breach by the Indemnifying Party of any term, representation, warranty, or covenant
           under this Agreement; or (iii) any use by Indemnifying Party of the research data or results
           including use of any intellectual property generated in the research that is provided hereunder.
           JHU shall not be liable to Sponsor, its officers, employees, agents, representatives, contractors,
           successors, assigns, or anyone acting on any of their behalf for injuries or losses arising out of
           the use by the Sponsor of the Study’s research data or results.

           10.    NOTICES

           With the exception of Study funds paid by Sponsor pursuant to Section 3 hereof, all notices
           required or permitted to be given under this Agreement shall be in writing and shall be sent by
           certified or registered mail, postage prepaid, or by overnight courier, with proof of delivery by
           receipt, to the following address (or as either party shall designate by written notice to the other
           party):

                  If to Sponsor:
                  _____________________________
                  _____________________________
                  _____________________________
                  _____________________________

                  If to JHU:

                  original to:    Michael B. Amey
                                  Senior Associate Dean, Research Affairs
                                  Johns Hopkins University School of Medicine
                                  Office of Research Administration




                                                            5                             JHU_000000099
                                                            20                                   App.038
(41 of 200), Page 41 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 41 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 22 of 93


                                  733 North Broadway, Suite 117
                                  Baltimore, Maryland 21205

                  copy to: Investigator

           11.    INDEPENDENT CONTRACTORS

           JHU and Sponsor shall each be and remain an independent contractor with respect to all rights
           and obligations arising under this Agreement. Nothing contained in this Agreement shall be
           deemed or construed to create a relationship of employment, principal and agent, partnership, co-
           or joint employer, or joint venture. Sponsor shall not permit any of its officers, directors, agents,
           employees, representatives, contractors, successors, assigns, or anyone acting on their behalf to
           represent or hold out itself or themselves as employees, agents, or representatives of JHU or as
           authorized to make any commitment to incur any obligation on behalf of JHU.

           12.    USE OF OTHER PARTIES’ NAMES

           Sponsor shall not (a) issue a press release or make any other public statement that references this
           Agreement or discloses the Study results; or (b) use the names, logos, or trademarks (or
           derivatives thereof) of JHU, or its staff, contractors, or sub-contractors, for publicity or
           advertising purposes, except with the prior written consent of JHU, which consent may be
           withheld in JHU’s sole discretion. All requests for JHU approval shall be directed to the JHU
           Office of Communications. JHU shall not use the names, logos, or trademarks of Sponsor, or its
           staff, contractors, or sub-contractors, for publicity or advertising purposes, except with the prior
           consent of Sponsor. Notwithstanding the foregoing, Sponsor acknowledges and agrees that JHU
           and its Investigator may disclose the existence of the funding support from Sponsor in any
           publication of the research, and as required by law.

           13.    WARRANTY DISCLAIMERS

           JHU DISCLAIMS AND MAKES NO WARRANTIES OF ANY KIND, EITHER EXPRESS
           OR IMPLIED, AS TO ANY MATTER, INCLUDING BUT NOT LIMITED TO WARRANTY
           OR FITNESS FOR A PARTICULAR PURPOSE, MERCHANTABILITY, PATENTABILITY,
           OR THAT THE SPONSOR’S USE OF THE STUDY RESEARCH RESULTS WILL BE FREE
           FROM INFRINGEMENT OF PATENTS, COPYRIGHTS, TRADEMARKS, OR OTHER
           RIGHTS OF THIRD PARTIES.

           14.    EXPORT CONTROLS

           Both parties shall comply with the United States laws and regulations controlling the export of
           technical data, computer software, laboratory prototypes, and other commodities (including the
           Arms Export Control Act, as amended, and the Export Administration Act of 1979). JHU’s
           obligations hereunder are contingent on its ability to comply with applicable United States export
           and embargo laws and regulations. It is the expectation of JHU that the work done by JHU
           under this Agreement shall constitute fundamental research as defined under the export control
           laws and regulations. As an institution of higher learning, JHU does not wish to take receipt of




                                                            6                            JHU_000000100
                                                           21                                    App.039
(42 of 200), Page 42 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 42 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 23 of 93


           export controlled information except as may be knowingly and expressly agreed to in a writing
           signed by an authorized representative of JHU and for which JHU has made specific security
           arrangements. Sponsor agrees that it shall not provide or make accessible to JHU any export
           controlled materials (including, without limitation, equipment, information, and/or data) without
           first informing JHU of the export-controlled nature of the materials and obtaining from JHU’s
           Export Compliance Office prior written consent to accept such materials, as well as any specific
           instructions regarding the mechanism pursuant to which such materials should be passed to JHU.
           JHU may decide, in its sole discretion, that it is not willing accept such materials. Sponsor agrees
           to comply with any and all applicable United States export control laws and regulations, as well
           any and all embargoes and/or other restrictions imposed by the Treasury Department’s Office of
           Foreign Asset Controls.

           15.    SEVERABILITY

           If any provision or a portion of any provision of this Agreement is held to be invalid, illegal, or
           unenforceable by a court of competent jurisdiction, the validity, legality, and enforceability of
           the remaining provisions of this Agreement shall not be affected or impaired in any way.

           16.     SURVIVABILITY

           The terms of this Agreement which by their nature and for any reason are intended to survive
           and extend beyond the termination, cancellation, or expiration of this Agreement, shall remain in
           effect and be binding upon the parties beyond such time. Such terms shall include without
           limitation those that confer rights based on prior breaches or performance.

           17.     MODIFICATIONS

           No amendment, modification, or addition to this Agreement will be binding upon the parties
           hereto unless reduced to writing and signed by an authorized representative of each party.

           18.    GOVERNING LAW

           The laws of the State of Maryland, without giving effect to its choice of law provisions, shall
           govern all matters arising out of or relating to this Agreement, including, without limitation, its
           interpretation, construction, performance, and enforcement. Any legal suit, action, or proceeding
           arising out of or relating to this Agreement shall be brought in the Circuit Court for Baltimore
           City or in the United States District Court for the District of Maryland. Each of the parties
           waives, to the fullest extent permitted by law, any objection which it may now or later have to
           the exclusive jurisdiction of or the laying of venue in the Circuit Court for Baltimore City,
           Maryland or the United States District Court for the District of Maryland, including any
           objections based upon inconvenient forum. The parties agree that a final judgment in any such
           suit, action, or proceeding may be enforced in other jurisdictions as provided by law.

           19.    FORCE MAJEURE

           Neither party will be responsible for or liable to the other party for non-performance or delay in




                                                            7                            JHU_000000101
                                                            22                                   App.040
(43 of 200), Page 43 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 43 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 24 of 93


           performance of any terms or conditions of this Agreement due to acts or occurrences beyond the
           reasonable control of the nonperforming or delayed party. Such causes include, but are not
           limited to, acts of God, acts of government, embargoes, terrorism, wars, riots, strikes or other
           labor disputes, shortages of labor or materials, hurricanes, fires, floods, or any other
           circumstances of like character. The party whose performance is delayed or prevented shall
           promptly provide to the other party written notice of the existence of and the reason for such
           non-performance or delay, and shall work diligently to mitigate its effects and make best efforts
           to resume performance as soon as practicable.

           20.    ENTIRE AGREEMENT

           This Agreement, including any exhibits, attachments, and documents referenced herein, which
           are incorporated into this Agreement, constitutes the final agreement between the parties. It is the
           complete and exclusive expression of the parties’ agreement on the matters contained in this
           Agreement. All prior and contemporaneous negotiations and agreements between the parties on
           the matters contained in this Agreement are expressly merged into and superseded by this
           Agreement. In entering into this Agreement, neither party has relied upon any statement,
           representation, warranty, or agreement of the other party except for those expressly contained in
           this Agreement. There are no conditions precedent to the effectiveness of this Agreement other
           than those expressly stated in this Agreement.

           21.    HEADINGS

           The headings in this Agreement are for the convenience of reference only and are not substantive
           parts of this Agreement nor shall they affect its interpretation.


           22.   ASSIGNMENT AND DELEGATION

           Sponsor may not assign this Agreement nor assign any of its rights under this Agreement, except
           with the prior written consent of JHU. Sponsor may not delegate any part of its performance
           under this Agreement without the prior written consent of JHU, which may be withheld in its
           sole discretion. Any purported assignment of rights or delegation of performance in violation of
           this Section 24 is void.

           23     BINDING AGREEMENT ON SUCCESSORS

           This Agreement shall be binding upon each party’s successors and assigns.

           24     WAIVER

           Failure on the part of any party, in any or more than one instance, to insist upon the performance
           of any of the terms, covenants, or conditions of this Agreement or to exercise any right or
           privilege contained within this Agreement, or the waiver by any party of any breach of any of the
           terms, covenants, or conditions of this Agreement shall not be construed as thereafter waiving
           any such terms, covenants, conditions, rights, or privileges, but the same shall continue and




                                                           8                            JHU_000000102
                                                           23                                   App.041
(44 of 200), Page 442:22-cv-00184-LCB-CWB
               Case  of 200Case: 24-142, 08/16/2024, DktEntry:
                                               Document  560-17123.3, Page
                                                                  Filed    44 of 200
                                                                        05/27/24  Page 25 of 93




               remain in full force and effect, as if no such forbearance of waiver had occurred.


               25.    COUNTERPARTS

               This Agreement may be executed in multiple counterparts, and by either party on separate
               counterpart, including by facsimile or PDF delivery, each of which is deemed an original and
               all of which constitute one and the same agreement.


                      In Witness Whereof, the parties have caused this Agreement to be executed by their
               duly authorized representatives as of the Effective Date.



              JOHNS HOPKINS UNIVERSITY                              SPONSOR


              By:                                                  By:    /4(&,/
              Name: Stephen B. Fisher                              Nam:JZ)l       /�uQsorJ
              Title: Associate Director, ORA                       Title:  Aes
                                                                             IOcNT; IALPATl-1
              Date:                                                Date: ldARLH 3o} ;}JJ/o




             Read and Agreed to abide by the terms contained herein, but not as a party hereto:


             Investigator




                                                                                        JHU_000000103

                                                             24                                     App.042
(45 of 200), Page 45 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 45 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 26 of 93



            Exhibit A – Statement of Work

            JHU will provide services to support WPATH and SOC8:
            1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH
               Guideline Procedures Manual”.
            2) Orientation to the guideline development process and refinement of the scope. This includes:
                    a. presentation and discussion of systematic review and guideline development processes
                        with WPATH personnel, especially the guideline chairs and chapter leads
                    b. preliminary searching
                    c. identification of statements within chapters for which systematic reviews will be
                        conducted, and which will be ‘best practice statements’ based on consensus expert
                        opinion
            3) Conduct systematic reviews for the topics selected, including:
                    a. refinement of questions using PICO format (population, intervention, comparison,
                        outcome)
                    b. search for evidence
                    c. screen results
                    d. data extraction
                    e. data assessment and synthesis
                    f. grade certainty or confidence in evidence
                    g. presentation of results to guideline panel (e.g., report, evidence and summary tables,
                        in-person presentation to panel).
            4) Provide orientation and guidance to guideline panel in interpreting results of systematic
               reviews, in developing recommendation statements, and in grading the recommendation
               statements. This includes providing guidance on development of consensus-based or good
               practice statements.
            5) Provide critical feedback on statements and guideline document(s). * We understand need to,
               and will facilitate, the presentation of details on the process and, at least, some chapters at
               the WPATH World Congress.
            6) Provide assistance in submission of relevant guideline modules or chapters to the National
               Guideline Clearinghouse (guidelines.gov).




                                                                                           JHU_000000104
                                                             25                                    App.043
(46 of 200), Page 46 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 46 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 27 of 93

             From:           Karen Robinson
             To:             "vin.tangpricha@emory.edu"
             Subject:        FW: contract language
             Date:           Wednesday, March 7, 2018 2:11:36 PM


            Vin –
            Thanks very much for the discussion just now. As promised, I have included below the email I sent to
            Donna yesterday.
            I will work on sending back to you and Donna a new version of the contract with text about
            publications and use of data noting “our research team” (versus institution).
            Thanks,
            Karen
            From: Karen Robinson
            Sent: Tuesday, March 06, 2018 9:57 AM
            To: 'Donna Kelly' <donna@veritasmeetingsolutions.com>; Donna Kelly <donna@wpath.org>
            Subject: contract language
            Donna –
            I am about to have a call with Eli, Jon and Asa to discuss next steps. I hope that my team and I will be
            participating in the next steps.
            I am happy to have a call with you and/or board members to discuss the contract language. Briefly, I
            cannot and Hopkins will not, sign off on a contract with the proposed language from WPATH
            mandating approval of any publications of research we conduct. There are two reasons for this:
                 1. First, Hopkins as an academic institution, and I as a faculty member therein, will not sign
                      something that limits academic freedom in this manner. In other words, a sponsor cannot
                      change or suppress publication of research.
                 2. Second, I will not sign off on language that goes against current standards in systematic
                      reviews and in guideline development. It was my understanding that WPATH wanted to
                      move toward the current standards for guideline development. To do so, the review team
                      needs to be independent. (see IOM standards:
                      http://www.nationalacademies.org/hmd/Reports/2011/Finding-What-Works-in-Health-
                      Care-Standards-for-Systematic-Reviews/Standards.aspx and
                      http://www.nationalacademies.org/hmd/Reports/2011/Clinical-Practice-Guidelines-We-Can-
                      Trust/Standards.aspx).
            I hope we can come to agreement. In meantime, I will keep discussion this morning to general terms
            and not assume that I will continue to be involved.
            Thanks,
            Karen
            ------------------------
            Karen A. Robinson, PhD
            Director JHU Evidence-based Practice Center
            Associate Professor of Medicine, Epidemiology, and Health Policy and Management
            Johns Hopkins University
                        REDACTED




                                                                                             JHU_000000147
                                                                   26                                App.044
(47 of 200), Page 47 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 47 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 28 of 93


                                           Sponsored Research Agreement
                                             Johns Hopkins University

           This agreement (the “Agreement”) is entered into as of this ___ day of October, 2017 (the
           “Effective Date”), by and between Johns Hopkins University, on behalf of its School of
           Medicine, having an Office of Research Administration located at 733 North Broadway, Suite
           117 Baltimore, Maryland, 21205 (“JHU”), and the World Professional Association for
           Transgender Health, a private non-profit organization located at 2575 Northwest Parkway, Elgin,
           Illinois 60124 (“Sponsor”).

           WHEREAS, Sponsor wishes that JHU perform systematic reviews and other activities to support
           guideline development and such work is of mutual interest and benefit to the JHU and Sponsor;

           WHEREAS, Karen A. Robinson, PhD, Director, JHU Evidence-based Practice Center and
           Associate Professor of Medicine shall be JHU’s principal investigator in conducting the research
           for Sponsor (“Investigator”); and

           WHEREAS, the research will further JHU’s instructional, scholarship, and research objectives in
           a manner consistent with its status as a non-profit, tax-exempt, educational institution.

           NOW, THEREFORE, in consideration of the following mutual promises, covenants, and
           conditions and any sums to be paid, the parties hereto agree as follows:


           1.     STATEMENT OF WORK

           (a)     JHU agrees to use its reasonable efforts to support update and development of the
           Standards of Care for the Health of Transsexual, Transgender, and Gender Noncomforming
           People (“Study”), as described in the statement of work for this Study (attached as Exhibit A).
           JHU shall perform the Study in accordance with academic standards and all applicable laws and
           regulations.

           (b)     Sponsor acknowledges that JHU and/or its researchers may be engaged in similar
           research not financially supported by Sponsor or subject to this Agreement. Nothing in this
           Agreement shall be construed to limit the freedom of JHU and/or its researchers who are
           participants in this Agreement, whether paid under this Agreement or not, from engaging in
           similar research inquiries made independently under other grants, contracts, or agreements with
           parties other than the Sponsor, and Sponsor shall have no rights via this Agreement to the results
           of such similar research.

           2.     INVESTIGATOR

           This Study will be conducted under the direction of the Investigator identified above. In the
           event the Investigator should become unavailable to serve in that role, or shall no longer be
           employed by JHU, JHU shall have the right to designate a replacement principal investigator,
           subject to Sponsor’s reasonable approval. If the parties are unable to identify a mutually




                                                           1                           JHU_000001792
                                                          27                                   App.045
(48 of 200), Page 48 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 48 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 29 of 93


           acceptable replacement principal investigator within sixty (60) days of notification to Sponsor by
           JHU of a proposed replacement, then either party may terminate this Agreement in accordance
           with the termination provision of this Agreement.


           3.     PAYMENT

           (a)    In consideration of JHU conducting the Study hereunder, Sponsor shall pay JHU in the
           aggregate amount of One Hundred Ninety-Six Three Hundred Seven U.S. Dollars ($196,307).
           Payments shall be made in accordance with the following schedule:

                  A quarterly payment schedule based on milestones:
                  1. $49,076.75 upon initiation of project with signed contract
                  2. $49,076.75 upon submission of final PICO document outlining questions for review
                  3. $49,076.75 upon submission of the draft report of the systematic reviews
                  4. $49,076.75 upon submission of final report of systematic reviews


           (b)    Payments shall be made as follows:

                  Payable to: The Johns Hopkins University
                  Tax I.D. Number: XX-XXXXXXX

                  Payments by check shall be sent to:

                  Johns Hopkins University Central Lockbox
                  c/o Bank of America
                  12529 Collections Center Drive
                  Chicago, IL 60693

                  All electronic fund transfers should be sent to:

                  c/o Bank of America
                  100 S. Charles Street
                  Baltimore, Maryland 21201
                  Transit/routing/ABA number: 052001633
                  Account number: 003936830516

                  All payments shall include the following reference information:

                  1. Name of JHU Investigator
                  2. Title of the Study



           4.     EQUIPMENT AND PROPERTY




                                                           2                           JHU_000001793
                                                          28                                  App.046
(49 of 200), Page 49 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 49 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 30 of 93



           Unless otherwise explicitly provided, title to and ownership of all equipment, supplies, and
           property purchased or manufactured by JHU under this Agreement will be in and remain with
           JHU, even after completion or termination of the Agreement.

           5.     AUDIT

           Authorized representatives of Sponsor or its designee shall have the right no more than once per
           contract year, upon reasonable and advance written notice, during regular business hours, and in
           accordance with JHU’s applicable policies and procedures, to examine and inspect JHU’s and
           the applicable Investigator’s records associated with this Study and inspect and copy all work
           products relating to this Study, subject to Section 6 of this Agreement.

           6.     PROPRIETARY INFORMATION AND CONFIDENTIALITY

           (a)      “Confidential Information” means all non-public, confidential, and/or proprietary
           information that is marked as “Confidential Information” as described below and which is
           disclosed by one party to the other, including but not limited to software, inventions (whether
           patentable or not), algorithms, diagrams, drawings, processes, research, product or strategic plans
           or collaborations or partnerships, financial information, or business models. Confidential
           Information, if in tangible or readable form, shall be marked as such at the time of disclosure and
           if disclosed orally, shall be reduced to writing, marked confidential, and addressed to the other
           party within ten (10) days after disclosure.

           (b)     Both JHU and Sponsor shall have the right to refuse to accept any Confidential
           Information proffered to it by the other. If necessary, the parties will exchange Confidential
           Information only under the provisions set forth herein. The party who receives Confidential
           Information (the “Receiving Party”) shall (i) hold the Confidential Information in confidence
           using the same care it affords its own confidential information of a similar nature, but not less
           than a reasonable degree of care; (ii) use the Confidential Information only for the performance
           of this Agreement; and (iii) restrict disclosure of the Confidential Information to employees
           whose duties justify the need to know the Confidential Information in furtherance of the
           performance of this Agreement and who are advised as to the confidential nature of the
           information and required to comply with the provisions of this Agreement. The Receiving Party
           shall not provide any third parties with access to the Confidential Information unless such third
           party has agreed to be bound by confidentiality and non-disclosure obligations in a form of an
           agreement reasonably acceptable to the party disclosing the Confidential Information (the
           “Disclosing Party”).

           (c)     Confidential Information shall not include any information disclosed that the Receiving
           Party can demonstrate (i) previously was in its possession, without violation of any obligation of
           confidentiality; (ii) was received from a third party without violation of any obligation of
           confidentiality; (iii) was publicly known and made generally available prior to such disclosure;
           (iv) becomes publicly known and made generally available, through no action or inaction of the
           Receiving Party, after such disclosure; or (v) was independently developed without use of any
           Confidential Information by employees or consultants of the Receiving Party.




                                                           3                           JHU_000001794
                                                           29                                  App.047
(50 of 200), Page 50 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 50 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 31 of 93



           (d)     If the Receiving Party is required to disclose Confidential Information by order of a court
           of competent jurisdiction, administrative agency or governmental body, or by subpoena,
           summons, or other legal process, the Receiving Party shall provide the Disclosing Party with
           prompt written notice of such required disclosure so that the Disclosing Party may seek a
           protective order or take other appropriate action, cooperate reasonably with Disclosing Party in
           connection with Disclosing Party’s efforts to seek such relief, and thereafter to disclose only the
           minimum information required to be disclosed in order to comply.

           (e)    Upon termination of this Agreement or the Disclosing Party’s request, Confidential
           Information shall be promptly returned to the Disclosing Party or destroyed, with such
           destruction confirmed in writing. The Receiving Party may retain one archival copy of such
           Confidential Information, for the purpose of fulfilling its obligations under this Agreement.

           (f)     The obligations of confidentiality under this Section shall continue for a period of three
           (3) years following conclusion or early termination of this Agreement.


           7.      DATA USE AND PUBLICATIONS

           The term "Project Data" as used herein includes, among others, raw data, research data, records,
           reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or other
           graphical representations, and works of any similar nature (whether or not copyrighted) which
           are generated or specified to be delivered by the JHU evidence review team in connection with
           the Project under this Agreement. Notwithstanding anything to the contrary contained in this
           Agreement, WPATH shall retain the unrestricted right to use the Project Data, or any part thereof at any
           time, in any manner and for any purpose, including the publication of the Project Data and the
           communication of Project Data to third parties. No other parties other than the JHU evidence review team
           will have any access to the Project Data without written permission by WPATH. Prior to the publication
           of the Project Data or any part thereof by the JHU evidence review team, WPATH shall have thirty (30)
           days in which to review and comment on the proposed publication. The JHU evidence review team will
           give due regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential
           Information.



           8.      TERM AND TERMINATION

           (a) Unless earlier terminated in accordance with subsection (b) of this Section, the term
           of this agreement shall commence on the Effective Date and shall terminate on _________.

           (b) This Agreement may be terminated if any of the following events occur: (i) for
           convenience by either party upon sixty (60) days written notice to the other party; (ii) either party
           materially breaches this Agreement, and the non-breaching party provides the breaching party
           with thirty (30) days advance written notice of termination and such breach is not remedied
           within such thirty (30) day period; (iii) Sponsor files for creditor protection under any section of
           the U.S. Bankruptcy Code; and/or (iv) a bankruptcy trustee or receiver is appointed for Sponsor.



                                                              4                            JHU_000001795
                                                             30                                     App.048
(51 of 200), Page 51 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 51 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 32 of 93


           Upon written notice, JHU shall proceed in an orderly fashion to limit or terminate any
           outstanding commitments and to conclude the work. All costs incurred by JHU associated with
           termination shall be allowable including, without limitation, all non-cancelable costs or
           commitments incurred or obligated and work performed prior to the effective date of
           termination, which shall include all appointment of research staff prior to the effective date of
           termination.


           9.     INDEMNIFICATION

           Sponsor (the “Indemnifying Party”) shall indemnify, defend, and hold harmless JHU, its trustees,
           officers, employees, students, agents, and representatives (collectively, the “JHU Indemnitees”)
           from and against any and all losses, liability, cost, and expenses, including attorney’s fees and
           costs, awards, judgments, damages, fines, penalties, claims, and causes of action (collectively,
           “Claims”) arising out of or related to the negligent acts or omissions or misconduct of the
           Indemnifying Party or any of its officers, directors, employees, agents, representatives,
           contractors, successors, assigns, or anyone acting on any of their behalf in connection with,
           arising from, or related to the performance of the Indemnifying Party’s obligations under this
           Agreement, including Claims for (i) personal injury, including death, and damage to property;
           (ii) the breach by the Indemnifying Party of any term, representation, warranty, or covenant
           under this Agreement; or (iii) any use by Indemnifying Party of the research data or results
           including use of any intellectual property generated in the research that is provided hereunder.
           JHU shall not be liable to Sponsor, its officers, employees, agents, representatives, contractors,
           successors, assigns, or anyone acting on any of their behalf for injuries or losses arising out of
           the use by the Sponsor of the Study’s research data or results.

           10.    NOTICES

           With the exception of Study funds paid by Sponsor pursuant to Section 3 hereof, all notices
           required or permitted to be given under this Agreement shall be in writing and shall be sent by
           certified or registered mail, postage prepaid, or by overnight courier, with proof of delivery by
           receipt, to the following address (or as either party shall designate by written notice to the other
           party):

                  If to Sponsor:
                  _____________________________
                  _____________________________
                  _____________________________
                  _____________________________

                  If to JHU:

                  original to:    Michael B. Amey
                                  Senior Associate Dean, Research Affairs
                                  Johns Hopkins University School of Medicine
                                  Office of Research Administration




                                                            5                             JHU_000001796
                                                            31                                    App.049
(52 of 200), Page 52 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 52 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 33 of 93


                                  733 North Broadway, Suite 117
                                  Baltimore, Maryland 21205

                  copy to: Investigator

           11.    INDEPENDENT CONTRACTORS

           JHU and Sponsor shall each be and remain an independent contractor with respect to all rights
           and obligations arising under this Agreement. Nothing contained in this Agreement shall be
           deemed or construed to create a relationship of employment, principal and agent, partnership, co-
           or joint employer, or joint venture. Sponsor shall not permit any of its officers, directors, agents,
           employees, representatives, contractors, successors, assigns, or anyone acting on their behalf to
           represent or hold out itself or themselves as employees, agents, or representatives of JHU or as
           authorized to make any commitment to incur any obligation on behalf of JHU.

           12.    USE OF OTHER PARTIES’ NAMES

           Sponsor shall not (a) issue a press release or make any other public statement that references this
           Agreement or discloses the Study results; or (b) use the names, logos, or trademarks (or
           derivatives thereof) of JHU, or its staff, contractors, or sub-contractors, for publicity or
           advertising purposes, except with the prior written consent of JHU, which consent may be
           withheld in JHU’s sole discretion. All requests for JHU approval shall be directed to the JHU
           Office of Communications. JHU shall not use the names, logos, or trademarks of Sponsor, or its
           staff, contractors, or sub-contractors, for publicity or advertising purposes, except with the prior
           consent of Sponsor. Notwithstanding the foregoing, Sponsor acknowledges and agrees that JHU
           and its Investigator may disclose the existence of the funding support from Sponsor in any
           publication of the research, and as required by law.

           13.    WARRANTY DISCLAIMERS

           JHU DISCLAIMS AND MAKES NO WARRANTIES OF ANY KIND, EITHER EXPRESS
           OR IMPLIED, AS TO ANY MATTER, INCLUDING BUT NOT LIMITED TO WARRANTY
           OR FITNESS FOR A PARTICULAR PURPOSE, MERCHANTABILITY, PATENTABILITY,
           OR THAT THE SPONSOR’S USE OF THE STUDY RESEARCH RESULTS WILL BE FREE
           FROM INFRINGEMENT OF PATENTS, COPYRIGHTS, TRADEMARKS, OR OTHER
           RIGHTS OF THIRD PARTIES.

           14.    EXPORT CONTROLS

           Both parties shall comply with the United States laws and regulations controlling the export of
           technical data, computer software, laboratory prototypes, and other commodities (including the
           Arms Export Control Act, as amended, and the Export Administration Act of 1979). JHU’s
           obligations hereunder are contingent on its ability to comply with applicable United States export
           and embargo laws and regulations. It is the expectation of JHU that the work done by JHU
           under this Agreement shall constitute fundamental research as defined under the export control
           laws and regulations. As an institution of higher learning, JHU does not wish to take receipt of




                                                            6                            JHU_000001797
                                                            32                                   App.050
(53 of 200), Page 53 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 53 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 34 of 93


           export controlled information except as may be knowingly and expressly agreed to in a writing
           signed by an authorized representative of JHU and for which JHU has made specific security
           arrangements. Sponsor agrees that it shall not provide or make accessible to JHU any export
           controlled materials (including, without limitation, equipment, information, and/or data) without
           first informing JHU of the export-controlled nature of the materials and obtaining from JHU’s
           Export Compliance Office prior written consent to accept such materials, as well as any specific
           instructions regarding the mechanism pursuant to which such materials should be passed to JHU.
           JHU may decide, in its sole discretion, that it is not willing accept such materials. Sponsor agrees
           to comply with any and all applicable United States export control laws and regulations, as well
           any and all embargoes and/or other restrictions imposed by the Treasury Department’s Office of
           Foreign Asset Controls.

           15.    SEVERABILITY

           If any provision or a portion of any provision of this Agreement is held to be invalid, illegal, or
           unenforceable by a court of competent jurisdiction, the validity, legality, and enforceability of
           the remaining provisions of this Agreement shall not be affected or impaired in any way.

           16.     SURVIVABILITY

           The terms of this Agreement which by their nature and for any reason are intended to survive
           and extend beyond the termination, cancellation, or expiration of this Agreement, shall remain in
           effect and be binding upon the parties beyond such time. Such terms shall include without
           limitation those that confer rights based on prior breaches or performance.

           17.     MODIFICATIONS

           No amendment, modification, or addition to this Agreement will be binding upon the parties
           hereto unless reduced to writing and signed by an authorized representative of each party.

           18.    GOVERNING LAW

           The laws of the State of Maryland, without giving effect to its choice of law provisions, shall
           govern all matters arising out of or relating to this Agreement, including, without limitation, its
           interpretation, construction, performance, and enforcement. Any legal suit, action, or proceeding
           arising out of or relating to this Agreement shall be brought in the Circuit Court for Baltimore
           City or in the United States District Court for the District of Maryland. Each of the parties
           waives, to the fullest extent permitted by law, any objection which it may now or later have to
           the exclusive jurisdiction of or the laying of venue in the Circuit Court for Baltimore City,
           Maryland or the United States District Court for the District of Maryland, including any
           objections based upon inconvenient forum. The parties agree that a final judgment in any such
           suit, action, or proceeding may be enforced in other jurisdictions as provided by law.

           19.    FORCE MAJEURE

           Neither party will be responsible for or liable to the other party for non-performance or delay in




                                                            7                            JHU_000001798
                                                            33                                   App.051
(54 of 200), Page 54 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 54 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 35 of 93


           performance of any terms or conditions of this Agreement due to acts or occurrences beyond the
           reasonable control of the nonperforming or delayed party. Such causes include, but are not
           limited to, acts of God, acts of government, embargoes, terrorism, wars, riots, strikes or other
           labor disputes, shortages of labor or materials, hurricanes, fires, floods, or any other
           circumstances of like character. The party whose performance is delayed or prevented shall
           promptly provide to the other party written notice of the existence of and the reason for such
           non-performance or delay, and shall work diligently to mitigate its effects and make best efforts
           to resume performance as soon as practicable.

           20.    ENTIRE AGREEMENT

           This Agreement, including any exhibits, attachments, and documents referenced herein, which
           are incorporated into this Agreement, constitutes the final agreement between the parties. It is the
           complete and exclusive expression of the parties’ agreement on the matters contained in this
           Agreement. All prior and contemporaneous negotiations and agreements between the parties on
           the matters contained in this Agreement are expressly merged into and superseded by this
           Agreement. In entering into this Agreement, neither party has relied upon any statement,
           representation, warranty, or agreement of the other party except for those expressly contained in
           this Agreement. There are no conditions precedent to the effectiveness of this Agreement other
           than those expressly stated in this Agreement.

           21.    HEADINGS

           The headings in this Agreement are for the convenience of reference only and are not substantive
           parts of this Agreement nor shall they affect its interpretation.


           22.   ASSIGNMENT AND DELEGATION

           Sponsor may not assign this Agreement nor assign any of its rights under this Agreement, except
           with the prior written consent of JHU. Sponsor may not delegate any part of its performance
           under this Agreement without the prior written consent of JHU, which may be withheld in its
           sole discretion. Any purported assignment of rights or delegation of performance in violation of
           this Section 24 is void.

           23     BINDING AGREEMENT ON SUCCESSORS

           This Agreement shall be binding upon each party’s successors and assigns.

           24     WAIVER

           Failure on the part of any party, in any or more than one instance, to insist upon the performance
           of any of the terms, covenants, or conditions of this Agreement or to exercise any right or
           privilege contained within this Agreement, or the waiver by any party of any breach of any of the
           terms, covenants, or conditions of this Agreement shall not be construed as thereafter waiving
           any such terms, covenants, conditions, rights, or privileges, but the same shall continue and




                                                            8                           JHU_000001799
                                                           34                                   App.052
(55 of 200), Page 55 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 55 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 36 of 93


           remain in full force and effect, as if no such forbearance of waiver had occurred.


           25.    COUNTERPARTS

           This Agreement may be executed in multiple counterparts, and by either party on separate
           counterpart, including by facsimile or PDF delivery, each of which is deemed an original and all
           of which constitute one and the same agreement.


                  In Witness Whereof, the parties have caused this Agreement to be executed by their duly
           authorized representatives as of the Effective Date.



           JOHNS HOPKINS UNIVERSITY                             SPONSOR


           By:    _________________________                     By:     _________________________

           Name: Stephen B. Fisher                              Name: _________________________

           Title: Associate Director, ORA                       Title: __________________________

           Date: _________________________                      Date: _________________________




           Read and Agreed to abide by the terms contained herein, but not as a party hereto:

           _________________________
           Investigator




                                                           9                            JHU_000001800
                                                           35                                   App.053
(56 of 200), Page 56 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 56 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 37 of 93




                                 WORtD PROFESSIONAL ASSOCIATION =oR TRANSGENDER HEALTH




              Policy & Procedures Regarding the use of WPATH SOC8 data

              Background to the Policy

              In April 2018 WPATH commissioned John Hopkins University (JHU) to
              support the development of the 8th edition of the Standards of Care for the
              Health of Transsexual, Transgender, and Gender Nonconforming People
              (SOC8). WPATH entered into a Sponsored Research Agreement with Johns
              Hopkins University on behalf of its School of Medicine with Dr Karen A.
              Robinson, Director at JHU Evidence-based Practice Center as principal
              investigator in conducting the research for WPATH. WPATH contracted Dr
              Robinson and her team to perform systematic literature reviews and other
              activities to support the development of the 8th edition of SOC.

              The contract between WPATH and JHU states the following regarding Data
              use and Publications: “the term "Data" principally includes raw data,
              research data, records, reports, notes, tables, writing, sound recordings,
              pictorial reproduction, drawings or other graphical representations, and
              works of any similar nature (whether or not copyrighted) which are
              generated or specified to be delivered by Dr Robinson and her team in
              connection with the update and development of the SOC8”.

              “Notwithstanding anything to the contrary contained in the contract between
              WPATH and JHU, WPATH shall retain the unrestricted right to use the
              Data, or any part thereof at any time, in any manner and for any purpose,
              including the publication of the Data and the communication of Data to third
              parties. No other parties other than Dr Robinson and her team will have any
              access to the Data without written permission by WPATH. Prior to the
              publication of the Data or any part thereof by Dr Robinson and her team,
              WPATH shall have thirty (30) days in which to review and comment on the
              proposed publication. Dr Robinson and her team will give due regard to
              WPATH's comments. WPATH has the right to request the deletion of any
              content within materials intended for publication by Dr Robinson and her
              team*”.

              WPATH Policy Use of Data for SOC8
              Approved by WPATH Board of Directors
                                                                                         JHU_000001904
                                                          36                                 App.054
(57 of 200), Page 57 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 57 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 38 of 93




              Since the start of the contract between WPATH and JHU Dr Robinson and
              her team have provided systematic literature reviews for the development of
              statements of the following chapters: Assessment, Primary Care,
              Endocrinology, Surgery, Reproductive Medicine, and Voice Therapy. Dr
              Robinson and team have also provided guidance regarding the methodology
              of the SOC8 and feedback for some of the statements.

              Aim of the Policy

              WPATH commissioned and financed an update and the development of the
              SOC8 for the benefit of transgender healthcare in order to promote health,
              research, education, respect, dignity, and equality for trans people globally.

              Therefore, the aim is of this policy is to develop a process to ensure that any
              manuscripts developed from the systematic literature reviews commissioned
              by WPATH benefit transgender healthcare and promote health, research,
              education, respect, dignity, and equality for transgender people globally.

              A decision-making process to give access to the Data should be underpinned
              by a number of good practice directives. Hence, WPATH grants access to
              the data to any interested party, which:

                 a. has the intention to use the Data for the benefit of advancing
                    transgender health in a positive manner and;
                 b. has the intention to publish the Data in reputable, academic, peer-
                    reviewed journals and;
                 c. involves the Work Group Leader of the Chapter or, alternatively, a
                    designated representative of that specific SOC8 Chapter, or
                    alternatively the Chair or Co-Chairs of the SOC8 in the design,
                    drafting of the article, and the final approval of the article and;
                 d. involves at least one member of the transgender community in the
                    design, drafting of the article, and the final approval of the article
                    and**;
                 e. adheres to the WPATH Language Policy***.

              Pathway to approval for use of WPATH Data

              WPATH grants approval to use the Data for publication to any interested
              party, when:
              WPATH Policy Use of Data for SOC8
              Approved by WPATH Board of Directors
                                                                             JHU_000001905
                                                     37                             App.055
(58 of 200), Page 58 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 58 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 39 of 93


                  a. the directives outlined under the aim of this policy have been fulfilled
                     and;
                  b. the author(s) have acknowledged that WPATH has sponsored the
                     acquisition of the data in the publication and;
                  c. the author(s) have acknowledged that the authors are solely
                     responsible for the content of the manuscript, and the manuscript does
                     not necessarily reflect the view of WPATH in the publication and;
                  d. The publication (“manuscript”) has been approved by WPATH via a
                     designated approval process.

                  Designated approval process for publication of the Data

                  a. Author(s) submit publication to WPATH
                  b. It is WPATH Executive Committee’s responsibility to ensure that the
                     manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of
                     the SOC8, and the members of the WPATH Board of Directors within
                     7 days after receipt of the manuscript.
                  c. It is WPATH Executive Committee’s responsibility to ensure that a
                     vote is held within 14 days after the dissemination of the manuscript
                     to the Chair and Co-Chairs of the SOC8 and Board members.
                  d. It will be a blind vote and approval is granted to author(s) for
                     publication by majority vote. The Chair and Co-Chairs of the SOC8
                     and Board members all have one equal vote. In case of a bind, the
                     WPATH President will have the deciding vote.
                  e. It is the President’s responsibility to respond to the author(s) with
                     approval or disapproval within thirty (30) days of submission of the
                     manuscript to WPATH.
                  f. In case of disapproval, the President may decide to hold a special
                     meeting with the Chair and Co-Chairs of the SOC8 and Board
                     members to discuss the manuscript and the reasons for not approving
                     publication.



              *      This will be referred to as “Confidential Information”, which means
                     all non-public, confidential, and/or proprietary information that is
                     marked as “Confidential Information” as described below and which
                     is disclosed by one party to the other, including but not limited to
                     software, inventions (whether patentable or not), algorithms,
                     diagrams, drawings, processes, research, product or strategic plans or
              WPATH Policy Use of Data for SOC8
              Approved by WPATH Board of Directors
                                                                             JHU_000001906
                                                     38                             App.056
(59 of 200), Page 59 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 59 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 40 of 93


                    collaborations or partnerships, financial information, or business
                    models. Confidential Information, if in tangible or readable form,
                    shall be marked as such at the time of disclosure and if disclosed
                    orally, shall be reduced to writing, marked confidential, and addressed
                    to the other party within ten (10) days after disclosure.
              **    See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017).
                    The need of patient involvement in transgender healthcare research.
                    Journal of Sexual Medicine, 14(12), 1494-1495.
                    Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M.
                    P., Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S.,
                    & Veale, J. (2018). Transgender and gender diverse people’s
                    involvement in transgender health research. International Journal of
                    Transgenderism, 19(4), 357-358 or
                    https://www.tandfonline.com/doi/full/10.1080/15532739.2018.154306
                    6
              ***   See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutch, M.,
                    Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
                    transgender health. International Journal of Transgenderism, 18(1), 1-
                    6 or
                    https://www.tandfonline.com/doi/full/10.1080/15532739.2016.126212
                    7




              WPATH Policy Use of Data for SOC8
              Approved by WPATH Board of Directors
                                                                           JHU_000001907
                                                     39                          App.057
(60 of 200), Page 60 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 60 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 41 of 93


           Checklist for JHU SOC8 systematic review papers

           Title of Paper: Hormone Therapy, Mental Health, and Quality of Life among Transgender
           People: A Systematic Review

           Supporting Chapter: initial question part of questions from Hormone Chapter

           Proposed Authors: Kellan E. Baker, MPH, Lisa M. Wilson, ScM, Ritu Sharma, BSc, Vadim
           Dukhanin, MD, MHS, Kristen McArthur, BA, Karen A. Robinson, PhD


           Acknowledged Authors: None

            Yes or No           This paper provides data that advances the knowledge in the field of
                                transgender health in a positive way

            YesJ or No          This paper will be published in a reputable, academic, peer-reviewed
                                journal
                                Journal proposed for first submission The Lancet Diabetes &
                                Endocrinology
            YesJ or No          Involves the work group leader of the chapter or alternatively a
                                designated representative of that specific SOC8 Chapter in the design,
                                drafting of the article and final approval of the article
                                Name of persons involved chapter members provided original list of
                                questions for reviews
            YesJ or No          Involves at least one member of the transgender community in the
                                design, drafting of the article and final approval of the article chapter
                                members provided original list of questions for reviews
                                Name of person if not open about trans status, if not open about trans
                                status then enter N/A
            Yes or No
               I                Adheres to the WPATH language policy




                                                                                     JHU_000001908
                                                         40                                  App.058
(61 of 200), Page 61 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 61 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 42 of 93


                                                                      Journal of the Endocrine Society, 2021, Vol. 5, No. 4, 1–16
                                                                                                   doi:10.1210/jendso/bvab011
                                                                                                                                          ENDOCRINE
                                                                                                                       Meta-Analysis        SOCIETY




        Meta-Analysis

        Hormone Therapy, Mental Health, and
        Quality of Life Among Transgender People:
        A Systematic Review




                                                                                                                                                                           Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
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        1
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        Abbreviations: BDI, Beck Depression Inventory; ENIGI, European Network for the Investigation of Gender Incongruence;
        GnRH, gonadotropin-releasing hormone; HADS, Hospital Anxiety and Depression Scale; QOL, quality of life; RCT, randomized
        controlled trial; SF-36, Short Form-36 Health Survey; WPATH, World Professional Association for Transgender Health.
        Received: 5 October 2020; Editorial Decision: 25 January 2021; First Published Online: 2 February 2021; Corrected and Typeset:
        19 February 2021.


        Abstract
        We sought to systematically review the effect of gender-affirming hormone therapy on
        psychological outcomes among transgender people. We searched PubMed, Embase, and
        PsycINFO through June 10, 2020 for studies evaluating quality of life (QOL), depres-
        sion, anxiety, and death by suicide in the context of gender-affirming hormone therapy
        among transgender people of any age. We excluded case studies and studies reporting
        on less than 3 months of follow-up. We included 20 studies reported in 22 publications.
        Fifteen were trials or prospective cohorts, one was a retrospective cohort, and 4 were
        cross-sectional. Seven assessed QOL, 12 assessed depression, 8 assessed anxiety, and 1
        assessed death by suicide. Three studies included trans-feminine people only; 7 included
        trans-masculine people only, and 10 included both. Three studies focused on adoles-
        cents. Hormone therapy was associated with increased QOL, decreased depression, and
        decreased anxiety. Associations were similar across gender identity and age. Certainty
        in this conclusion is limited by high risk of bias in study designs, small sample sizes,
        and confounding with other interventions. We could not draw any conclusions about
        death by suicide. Future studies should investigate the psychological benefits of hor-
        mone therapy among larger and more diverse groups of transgender people using study
        designs that more effectively isolate the effects of hormone treatment.
        Key Words: Transgender, hormone therapy, sex hormones, mental health, systematic review




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                                                                                                   41                                                 App.059
(62 of 200), Page 62 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 62 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 43 of 93
       2                                                                        Journal of the Endocrine Society, 2021, Vol. 5, No. 4


       Transgender people are those whose gender identity is dif-      and improvements in quality of life (QOL) among trans-
       ferent from the sex they were assigned at birth. Estimates      gender people [12-17]. Most of these reviews did not re-
       of the size of the transgender population vary depending        quire a minimum duration of hormone therapy [14-17].
       on how the data are collected [1]. In studies that rely on      One review that did impose a minimum follow-up require-
       clinical records, estimates range between 1 and 30 people       ment is 10 years old [12]. The other that required a min-
       per 100 000 (0.001% to 0.03%) [2]. Studies that focus           imum of 3 months of therapy included only uncontrolled
       instead on self-report among nonclinical populations find       prospective cohorts, which resulted in a sample of only
       estimates that range between 0.1% and 2% [2].                   3 studies [13]. A comprehensive review without a min-
           Many transgender people seek medical services to af-        imum follow-up period assessed gender-affirming hormone
       firm their gender identity. According to the Standards of       therapy and surgeries only in adolescents [17]. By requiring
       Care for Transsexual, Transgender, and Gender Non-              a minimum duration of hormone treatment but consid-
       Conforming People maintained by the World Professional          ering all ages and a variety of study designs, we sought




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       Association for Transgender Health (WPATH), gender-             to update and more completely summarize the growing
       affirming medical care is different for each individual and     evidence base regarding the relationship between gender-
       may include a variety of services and procedures, such as       affirming hormone therapy and psychological outcomes in
       psychological support, hormone therapy, and surgeries [3].      transgender people.
       Hormone therapy, which typically involves estrogens and
       anti-androgens for transgender women and other trans-
       feminine people and testosterone for transgender men and        Search Strategy and Selection Criteria
       other trans-masculine people, is a common component of          This review is one of a series of systematic reviews on
       medical gender affirmation [4]. Because hormone treat-          gender-affirming care conducted for WPATH to inform the
       ment can have a powerful effect on physical appearance,         eighth revision of the Standards of Care. The protocol is
       it is often a priority for transgender people seeking med-      registered on PROSPERO (CRD42018115379) [18], and
       ical gender affirmation [5]. Gender-affirming hormone           we followed the Preferred Reporting Items for Systematic
       therapy can be managed for most patients by primary care        Reviews and Meta-Analyses (PRISMA) guidelines in re-
       providers, as it typically involves long-term maintenance       porting our findings [19].
       on doses similar to those used for cisgender patients with          We searched PubMed, Embase, and PyscINFO from in-
       conditions such as hypogonadism [6, 7]. Some clinicians         ception to October 2018 and updated the search through
       require a minimum period of psychological counseling be-        June 10, 2020, for studies assessing QOL, depression, anx-
       fore hormone therapy can be initiated, while others provide     iety, and death by suicide among transgender participants
       hormone therapy on the basis of informed consent [8].           of any age in the context of gender-affirming hormone
           The need for gender-affirming care is often character-      therapy [20]. We also reviewed the reference lists of pre-
       ized using psychiatric diagnoses such as gender dysphoria,      vious reviews and hand-searched the International Journal
       which replaced gender identity disorder in the fifth edi-       of Transgenderism. Using DistillerSR [21], 2 reviewers in-
       tion of the Diagnostic and Statistical Manual of Mental         dependently screened titles, abstracts, and full-text articles.
       Disorders (DSM-5) [9]. The 11th International Classification    Differences were resolved through consensus adjudication.
       of Diseases (ICD-11) replaces these terms with a diagnosis          We included studies that evaluated the psychological ef-
       called gender incongruence (codes: HA60, HA61, HA6Z),           fects of any testosterone, estrogen, or anti-androgen for-
       which is located in a new chapter on sexual health. These       mulation used for gender affirmation. We also considered
       changes clarify that the target of gender-affirming medical     gonadotropin-releasing hormone (GnRH) analogues used
       interventions is not the person’s gender identity itself but    as anti-androgens or for puberty delay. Study participants
       rather the clinically significant distress that can accompany   must have been on hormone therapy for at least 3 months
       a misalignment between gender identity and sex assigned         in order to reflect a minimum time for expected onset of
       at birth [10]. Some countries have further underscored          effects [3]. Health care provider supervision was not re-
       that transgender identity is not a pathology by recognizing     quired. We excluded studies that did not state therapy
       gender affirmation as fundamental to the human right to         type and duration, including the range for cross-sectional
       self-definition and removing requirements that transgender      studies. We included studies regardless of language (the
       people seeking gender-affirming medical care present with       search terms were in English) and country of origin, and
       a diagnosis such as gender dysphoria [11].                      we accepted any study design except case reports.
           Several previous reviews have indicated that gender-            We created standardized forms for data extraction using
       affirming hormone therapy is associated with psychological      the Systematic Review Data Repository system. The data
       benefits that include reductions in depression and anxiety      extracted included participant demographics; study design


                                                                                                    JHU_000001910
                                                                       42                                            App.060
(63 of 200), Page 63 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 63 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 44 of 93
       Journal of the Endocrine Society, 2021, Vol. 5, No. 4                                                                         3

       and methods; hormone therapy type, dose, and duration;             study’s adolescent population changed substantially in the
       potential confounders such as gender-affirming surgery             period between the 2 publications. Similarly, Asscheman
       status; outcome scales [20]; and psychological outcomes.           (2011) [44] reported on an extension of Asscheman (1989)
       From studies that used the Short Form-36 Health Survey             [43]; we counted these as a single study but extracted data
       (SF-36) to measure QOL, we extracted scores in all do-             separately. In Table 1 and in the subsequent tables for each
       mains [22]. For studies that used measures with depression         outcome, studies are ordered first by study design (RCTs,
       or anxiety subscales, we extracted only the subscale scores        before-after trials, prospective cohorts, retrospective co-
       corresponding to the psychological outcomes of interest            horts, and cross-sectional studies); within these categories,
       (eg, the depression subscale of the Minnesota Multiphasic          studies are presented in the following order according to
       Personality Inventory [MMPI]). We extracted comparisons            how the study results were reported: adult transgender
       with cisgender controls or general population norms only           women only, adult transgender men only, adult transgender
       when longitudinal findings in a transgender population or          women and transgender men together, and transgender




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       comparisons with an untreated transgender control group            adolescents (no study reported separate results by gender
       were not reported. We used WebPlotDigitizer to extract             identity for transgender youth). Where multiple studies
       data reported only in figures [23].                                shared the same study design and population, they are add-
           Two reviewers independently assessed risk of bias [20].        itionally ordered chronologically.
       For randomized controlled trials (RCTs), we used the re-               The time frame covered in the included studies began in
       vised Cochrane tool [24]. For non-randomized studies, we           1972 [43], but most studies dated from post-2000. Eight
       used the Cochrane Risk of Bias Assessment Tool for Non-            studies were conducted in Italy [27-29, 31, 32, 36, 39, 41];
       Randomized Studies of Interventions (ROBINS-I) [25].               2 each in Belgium [37, 48], the Netherlands [34, 35, 43, 44],
       One reviewer graded strength of evidence for each outcome          the United States [30, 47], and Spain [38, 45]; and 1 in the
       using the Agency for Healthcare Research and Quality               United Kingdom [33], Turkey [42], and France [46]. One
       Methods Guide for Conducting Comparative Effectiveness             study recruited participants from Switzerland and Germany
       Reviews [26]. We considered the directionality and magni-          [40]. One study was part of the European Network for the
       tude of effects reported in cross-sectional studies as add-        Investigation of Gender Incongruence (ENIGI), which is a
       itional context for our evaluation of evidence from trials         research collaborative between clinics providing gender-
       and prospective and retrospective cohorts. Each strength of        affirming care to transgender people in Ghent (Belgium),
       evidence assessment was confirmed by a second reviewer.            Amsterdam (Netherlands), Oslo (Norway), and Hamburg
           WPATH provided the research question and reviewed              (Germany). The ENIGI study included in this review drew
       the protocol, evidence tables, and report. WPATH had no            participants only from the Ghent clinic [37].
       role in study design, data collection, analysis, interpretation,       The study sizes ranged from 20 to 1331, although most
       or drafting. The corresponding author had full access to           had fewer than 60 participants. Fourteen studies reported
       all the data and had final responsibility for the decision to      on testosterone formulations in adult transgender men
       submit for publication. The authors are responsible for all        [27, 29, 31-33, 36, 39-46, 48]. These formulations were
       content, and statements in this report do not necessarily re-      typically injectable testosterone cypionate or enanthate,
       flect the official views of or imply endorsement by WPATH.         although some studies used long-acting injectable testos-
                                                                          terone undecanoate or daily transdermal gels. Ten studies
                                                                          reported on estrogen formulations in adult transgender
       Results                                                            women, usually in conjunction with an anti-androgen
       We retrieved 1753 nonduplicate studies for the broader             such as cyproterone acetate or spironolactone [28, 31, 33,
       systematic review project of which this review was a part          36, 37, 39, 43-47]. Estrogen formulations included trans-
       (Fig. 1). After screening and full-text review for the specific    dermal, oral, or injectable estradiol (commonly estradiol
       research question on the psychological effects of gender-          valerate) or conjugated estrogens. Three studies reported
       affirming hormone therapy, 20 studies reported in 22 publi-        on the psychological effects of GnRH therapy for puberty
       cations were included (Table 1): 1 RCT [27], 2 before-after        delay among mixed-gender groups of transgender ado-
       trials [28, 29], 12 prospective cohorts reported in 13 pub-        lescents [30, 34, 35, 38]. No study reported on hormone
       lications [30-42], 1 retrospective cohort reported in 2 pub-       therapy among nonbinary people.
       lications [43, 44], and 4 cross-sectional studies [45-48]. De          All studies that reported information about recruit-
       Vries (2014) [35] reported on a subset of the participants         ment drew their participants largely or exclusively from
       in de Vries (2011) [34] who continued in care. We counted          specialized clinics dedicated to providing gender-affirming
       these publications as a single study but extracted and re-         care for transgender people. These clinics were typically part
       ported data separately because the characteristics of the          of larger systems such as university hospitals. Clinic-based


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                                                                          43                                           App.061
(64 of 200), Page 64 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 64 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 45 of 93
       4                                                                                           Journal of the Endocrine Society, 2021, Vol. 5, No. 4



                                    Records identified
                                    through electronic                 Records identified
                                    database searching                   through hand
                                        (n=2416)                       searching (n= 13 8)




                                                ~~
                                          Records after duplicates removed
                                                      (n=l 753)
                 Screening




              D



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                                                  Records screened                                   Records excluded
                                                     (n=l753)                                           (n=1304)




                                                                                              Full-text articles excluded (n=23Zl*
                                             Full-text articles assessed for                  • Did not include transgender people, or information
                                                       eligibility                              could not be extracted separately (6)
                                                        (n=449)                               • No hormone therapy medications (36)
                                                                                              • No outcome of interest (116)
                                                                                              • Hormone therapy duration less than 3 months or not
                                                                                                specified (70)
                                                                                              • Drug type not reported (16)
                                               Studies included for data                      • Case report (4)
                                                      abstraction                             • No original data (15)
                                                        (n=212)                               • No human data(!)
                                                                                              • Other reason (73)




                                                                                                 Relevant to outcomes other than
                                               Studies included for final
                                                                                                psychological outcomes (including
                                                        analysis
                                                                                                         quality oflife)
                                             (n=20 studies published in 22
                                                                                                             (n=l90)
                                                        articles)




                             • Total exceeds the number of citations in the exclusion box, because citations could be excluded for more than one reason



       Figure 1. PRISMA flow diagram.


       studies often applied strict eligibility criteria that included                  underwent gender-affirming surgeries during the study
       a period of psychiatric evaluation and a formal diagnosis                        period [29, 33, 35, 43-45, 48].
       of gender dysphoria before hormone therapy was initi-
       ated. Some studies also reported that psychological coun-
       seling was either available or required during the course                        Quality of Life
       of hormone therapy. In many cases, hormone therapy was                           Seven studies, including 1 RCT [27], 2 before-after
       considered a prerequisite for gender-affirming surgeries.                        trials [28, 29], 2 prospective cohorts [30, 39], and 2
       The type and timing of gender-affirming surgeries and the                        cross-sectional studies [46, 48], assessed QOL (Table 2).
       proportion of participants for whom hormone therapy                              An RCT found an improvement of approximately 5.5
       and surgeries were assessed simultaneously varied widely:                        points on a 10-point measure of life satisfaction across
       some studies assessed only participants who had not had                          3 groups of transgender men (n = 15 each) after 1 year
       any type of gender-affirming surgery [27, 28, 30-32, 34, 36,                     of testosterone treatment (P < 0.05) [27]. A before-after
       38-40, 42, 46, 47], while in others some or all participants                     trial similarly reported that life satisfaction scores almost


                                                                                                                           JHU_000001912
                                                                                         44                                                   App.062
                     Table 1. Studies Reporting Effects of Gender-Affirming Hormone Therapy on Psychological Outcomes Among Transgender People

                     Author, year         Study design             Start    Transgender   Overall   Age in years                 Baseline HT status   Outcomes           GAS status               Risk of
                     Location                                      year     population    N                                                                                                       bias
                     Study name

                     Pelusi, 2014 [27]    Randomized           NR           Men              45     Mean: 29.5                   No previous HT       QOL                No GAS before            High
                        Italy                controlled triala                                                                                                             or during study
                     Gava, 2016 [28]      Before-after trial   NR           Women            40     Mean: 3.2 (range, 19–55)     No previous HT       QOL, Depression    No GAS before            Low
                        Italy                                                                                                                                              or during study
                     Gava, 2018 [29]      Before-after triala      NR       Men              50     Mean: 30.1 (range, 21–42)    No previous HT       QOL                72% (n = 36) had         Serious
                        Italy                                                                                                                                              gonadectomy
                                                                                                                                                                           during study
                     Fuss, 2015 [37]
                        Belgium
                                           Prospective cohort 2010          Women            20     Mean: 33.9 (range, 17–48)    No previous HT       Anxiety            NR                       Serious
                     ENIGI
                         (NCT01072825)
                                                                                                                                                                                                              Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                     Costantino, 2013 [32] Prospective cohort 2001          Men              50     Mean: 29.8                   No previous HT       Depression         No GAS before            Serious
                         Italy                                                                                                                                             or during study
                     Motta, 2018 [41]      Prospective cohort 2013          Men              52     Mean: 28.3                   No previous HT       Anxiety            NR                       Moderate
                        Italy
                     Turan, 2018 [42]      Prospective cohortb NR           Men              37     Mean: 24.6                   No previous HT       Depression,        No GAS before            Moderate
                        Turkey                                                                                                                          Anxiety            or during study




45
                     Metzger, 2019 [40]    Prospective cohortb 2013         Men              23     Mean: 27.2 (range, 18–51)    No previous HT       Depression         No GAS before            Moderate
                        Switzerland,                                                                                                                                       or during study
                        Germany
                     Colizzi, 2014 [31]    Prospective cohort 2008          Women and       107     Mean: 29.2                   No previous HT       Depression,        No GAS before             Low
                         Italy                                                men                                                                       Anxiety             or during study
                     Manieri, 2014 [39]    Prospective cohort NR            Women and        83     Mean: 32.7 (women), 30.2     No previous HT       QOL                No GAS before             Moderate
                        Italy                                                 men                     (men)                                                                 or during study
                     Fisher, 2016 [36]     Prospective cohort 2012          Women and        54     Mean: 32.5 (women), 26.3     No previous HT       Depression         No GAS before             Low
                        Italy                                                 men                     (men)                                                                 or during study
                     Defreyne, 2018 [33]   Prospective cohort 2012          Women and       155     Median: 27 (range, 18–52)    No previous HT       Depression,        Some had GAS during       Serious
                        UK                                                    men                                                                        Anxiety            study; % and type NR
                     Asscheman, 1989 [43] Retrospective        1972         Women and       425     Median: 32 (women, range,   Previous HT for at    Death by suicide   78% (n = 235) of          Serious
                        Netherlands           cohortb,d                       men                     16–67); 25.4 (men, range,    least 6 months                           transgender women had
                                                                                                      16–54)                                                                GAS during study; data
                                                                                                                                                                                                                                                                       (65 of 200), Page 65 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 65 of 200




                                                                                                                                                                            NR for transgender
                                                                                                                                                                            men




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                          Table 1. Continued
                                                                                                                                                                                                                                           6


                          Author, year              Study design           Start      Transgender      Overall     Age in years                      Baseline HT status       Outcomes               GAS status                 Risk of
                          Location                                         year       population       N                                                                                                                        bias
                          Study name

                          Asscheman, 2011 [44]      Retrospective          1975       Women and        1331        Mean: 31.4 (women, range,   Previous HT for at             Death by suicide       87% (n = 834) of           Serious
                             Netherlands               cohortb,d                        men                          16–76); 26.1 (men, range,    least 1 year                                         transgender women
                                                                                                                     16–57)                                                                            and 94% (n = 343) of
                                                                                                                                                                                                       transgender men had
                                                                                                                                                                                                       GAS during study
                          Leavitt, 1980 [47]   Cross-sectional             1976       Women               41       Range, 18–35                      54% (n = 22)             Depression             No previous GAS            Serious
                             US                                                                                                                         on HT
                          Wierckx, 2011 [48]   Cross-sectionalb            2009       Men                 47       Mean: 37 (range, 22–54)           100% on HT               QOL                    100% had GAS, but not       Serious
                             Belgium                                                                                                                                                                    within previous year
                          Gómez-Gil, 2012 [45] Cross-sectional             NR         Women and          187       Mean: 29.9 (range, 15–61)         64% (n = 120)            Depression,            42% (n = 79) of all         Serious
                             Spain                                                      men                                                            on HT                     Anxiety                participants and 64%
                                                                                                                                                                                                        (n = 77) of participants
                                                                                                                                                                                                        on HT had previous
                                                                                                                                                                                                        GAS
                          Gorin-Lazard, 2012        Cross-sectionalb       NR         Women and           61       Mean: 34.7                        72% (n = 44) on HT QOL                          No previous GAS             Serious
                             [46] France                                                 men




46
                          de Vries, 2011 [34]       Prospective cohort     2000       Girls and boys      70       Mean: 14.8 (range, 11.3–18.6) No previous HT               Depression,            No GAS before              Moderate
                             Netherlands                                                                                                                                         Anxiety                or during study
                          de Vries, 2014 [35]       Prospective cohortb,c 2000        Girls and boys      55       Mean: 14.8 (range, 11.5–18.5) No previous HT               Depression,            100% had GAS               Serious
                             Netherlands                                                                                                                                         Anxiety                during study
                          Achille, 2020 [30]        Prospective cohort     2013       Girls and boys      50       Mean: 16.2                        No previous HT           QOL, Depression        No GAS before              Moderate
                             US                                                                                                                                                                         or during study
                          López de Lara,            Prospective cohortb 2018          Girls and boys      23       Mean: 16 (range, 14-18)           No previous HT           Depression,            No GAS before              Moderate
                             2020 [38]                                                                                                                                           Anxiety                or during study
                             Spain

                          Abbreviations: ENIGI, European Network for the Investigation of Gender Incongruence; GAS, gender-affirming surgery; HT, hormone therapy; NR, not reported; QOL, quality of life.
                          a
                            25 participants were included in both Pelusi [27] and Gava (2018) [29]
                          b
                            Included a cisgender control group or a comparison to general population norms
                          c
                           All participants were also included in de Vries (2011) [34]
                          d
                            An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011) [44]
                                                                                                                                                                                                                                                                                                   (66 of 200), Page 66 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 66 of 200




          JHU_000001914
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                          Table 2. Effects of Gender-Affirming Hormone Therapy on Quality of Life Among Transgender People

                          Author, year               Transgender      Treatment /                 QOL measures        Length of               Findings
                          Study design               population       comparison (n)                                  treatment

                          Pelusi, 2014 [27]          Men              Testoviron depot (15)       VAS (general        54 weeks                Mean QOL scores increased from 2.8 to 8.5 (P < 0.05) in the testoviron depot
                             RCTa                                        vs testosterone gel        life                                        arm, from 3.2 to 8.9 (P < 0.05) in the testosterone gel arm, and from 2.6 to 8.0
                                                                         (15) vs testosterone       satisfaction)                               (P < 0.05) in the testosterone undecanoate arm.d There was no difference across
                                                                         undecanoate (15)                                                       arms.
                          Gava, 2016 [28]            Women            Cyproterone acetate         VAS (general        12 months               Mean QOL scores did not change in either arm. No comparisons across arms were
                            Before-after trial                           + estradiol (20) vs        life                                        reported.
                                                                         leuprolide acetate         satisfaction)
                                                                         + estradiol (20)           SF-36
                          Gava, 2018 [29]            Men              Testosterone                VAS (general        5 years                 Mean QOL scores increased from 4.3 ± 3.1 to 8.1 ± 1.8 (P < 0.001) in the
                            Before-after triala                          undecanoate (25)c          satisfaction)                               testosterone undecanoate arm and from 4.3 ± 3.8 to 8.3 ± 1.7 (P < 0.001) in the
                                                                         vs testosterone                                                        testosterone enanthate arm. No comparisons across arms were reported.
                                                                         enanthate (25)c
                          Manieri, 2014 [39]         Women            HT (56)                     WHOQOL              12 months               Mean QOL scores increased from 62.5 to 72.2 (P < 0.05).d
                                                                                                                                                                                                                                          Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                             Prospective cohort
                          Manieri, 2014 [39]         Men              HT (27)                     WHOQOL              12 months               Mean QOL scores did not change.
                             Prospective cohort
                          Wierckx, 2011 [48]         Men              HT (47)c                    SF-36               At least 3 years        Mean QOL scores on the VT and MH subscales were lower for transgender




47
                             Cross-sectionalb                                                                                                   men than cisgender men (VT subscale: 62.1 ± 20.7 vs 71.9 ± 18.3, P = 0.002;
                                                                                                                                                MH subscale: 72.6 ± 19.2 vs 79.3 ± 16.4, P = 0.020). There were no other
                                                                                                                                                differences between transgender men and either cisgender men or cisgender
                                                                                                                                                women.
                          Gorin-Lazard, 2012      Women and           HT (44) vs no HT            SF-36               Median:                 Mean QOL scores were generally higher in the group receiving HT vs the group
                            [46] Cross-sectionalb   men                 (17)                                            20 months               not receiving HT (MCS: 51.0 ± 7.7 vs 39.8 ± 12.7, P = 0.003; MH subscale:
                                                                                                                        (range,                 76.4 ± 14.1 vs 59.1 ± 19.6, P = 0.004; RE subscale: 88.6 ± 22.7 vs 54.9 ± 40.7,
                                                                                                                        12–42 months)           P = 0.001; SF subscale: 83.2 ± 23.3 vs 69.9 ± 24.2, P = 0.026). There were no
                                                                                                                                                differences in the other subscales.
                          Achille, 2020 [30]         Girls and        GnRH treatment +            Q-LES-Q-SF          12 months               Mean QOL scores did not change.
                             Prospective cohort         boys            HT (47)

                          Abbreviations: GnRH, gonadotropin-releasing hormone; HT, hormone therapy; MCS, Mental Component Summary; MH, mental health; QOL, quality of life; RCT, randomized controlled trial; RE, role functioning/emo-
                          tional; SF, social functioning; SF-36, Short Form-36 Health Survey; VAS, visual analog scale; VT, vitality; WHOQOL, World Health Organization Quality of Life measure.
                          a
                            10 participants on testosterone enanthate and 15 participants on testosterone undecanoate were included in both Pelusi [27] and Gava (2018) [29]
                          b
                                                                                                                                                                                                                                                                                                   (67 of 200), Page 67 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 67 of 200




                            Included a cisgender control group or a comparison to general population norms
                          c
                            Included participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported
                          d
                            No standard deviations reported




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(68 of 200), Page 68 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 68 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 49 of 93


            8                                                                            Journal of the Endocrine Society, 2021, Vol. 5, No. 4


            doubled among transgender men (n = 50) over 5 years [29].           almost by half among adolescents (n = 41) after a mean of
            A prospective study found a 16% improvement in QOL                  1.88 years of treatment with GnRH analogues to delay pu-
            scores among transgender women (n = 56) after 1 year of             berty (P = 0.004) [34]. The overall improvement after sev-
            treatment (P < 0.05) but no change among transgender                eral subsequent years of testosterone or estrogen therapy in
            men (n = 27) [39]. Another before-after trial reported no           this cohort (n = 32) was smaller, however, resulting in no
            difference in SF-36 scores among 2 groups of transgender            significant change from baseline [35]. No study found that
            women (n = 20 each) after 1 year [28]. Among adolescents,           hormone therapy increased depression. We conclude that
            a mixed-gender prospective cohort (n = 50) showed no dif-           hormone therapy may decrease depression among trans-
            ference in QOL scores after a year of endocrine interven-           gender people. The strength of evidence for this conclusion
            tions, which included combinations of GnRH analogues                is low due to concerns about study designs, small sample
            and estrogen or testosterone formulations [30]. No study            sizes, and confounding.
            found that hormone therapy decreased QOL scores. We




                                                                                                                                                  Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
            conclude that hormone therapy may improve QOL among
            transgender people. The strength of evidence for this con-          Anxiety
            clusion is low due to concerns about bias in study designs,         Eight studies, including 7 prospective cohorts [31, 33-35, 37,
            imprecision in measurement because of small sample sizes,           38, 41, 42] and 1 cross-sectional study [45], assessed anx-
            and confounding by factors such as gender-affirming                 iety (Table 4). One prospective study found that Symptom
            surgery status.                                                     Checklist 90-Revised scores indicating a probable anxiety
                                                                                disorder among a mixed-gender group of adults (n = 107)
                                                                                improved from borderline to normal over 12 months
            Depression                                                          (P < 0.001) [31]. Another prospective study, however, did
            Twelve studies, including 1 before-after trial [28], 9 pro-         not find a difference in HADS anxiety scores among either
            spective cohorts [30-36, 38, 40, 42], and 2 cross-sectional         transgender men (n = 64) or transgender women (n = 91)
            studies [45, 47], assessed depression (Table 3). A pro-             after 1 year [33], and a third study reported no change in
            spective study found that the proportion of transgender             the number of transgender men (6/52, 12%) with a diag-
            men and transgender women (n = 107) showing symptoms                nosed anxiety disorder after 7 months [41]. Likewise, 2
            of depression decreased from 42% to 22% over 12 months              other prospective studies found no difference in anxiety
            of treatment (P < 0.001) [31]. In 2 other prospective co-           scores among transgender men (n = 37) after 24 weeks
            horts, Beck Depression Inventory (BDI-II) scores improved           of treatment [42] or transgender women (n = 20) after
            by more than half among both transgender men (n = 26)               12 months [37], although this latter finding represented no
            and transgender women (n = 28) after 24 months of                   change from a baseline median score of 0 (answering “no”
            therapy (P < 0.001) [36] and improved from 15.7 ± 12.3 to           to the question, “do you feel anxious?”) on an unvalidated
            8.1 ± 6.2 among transgender men (n = 23) after 6 months             3-point scale. Among adolescents, 1 prospective study saw
            (P < 0.001) [40]. A fourth prospective study reported im-           mean anxiety scores in a mixed-gender group (n = 23) im-
            provements of 1.05 points (95% CI: −1.87, −0.22) and 1.42           prove from 33.0 ± 7.2 to 18.5 ± 8.4 after 1 year (P < 0.001)
            points (95% CI: −2.61, −0.24) on the 21-point Hospital              [38], but another reported no changes in anxiety after ap-
            Anxiety and Depression Scale (HADS) among 91 trans-                 proximately 2 years of puberty delay treatment with GnRH
            gender women and 64 transgender men after 12 months                 analogues and 4 years of hormone therapy (n = 32) [35].
            (P = 0.013 and P = 0.019, respectively) [33]. A before-after        No study found that hormone therapy increased anxiety.
            trial, however, found no change in BDI-II scores among 2            We conclude that hormone therapy may decrease anxiety
            groups of transgender women (n = 20 each) after 1 year              among transgender people. The strength of evidence for
            [28]. Two prospective studies reported no difference among          this conclusion is low due to concerns about study designs,
            transgender men (n = 37) after 24 weeks [42] or among               small sample sizes, and confounding.
            transgender men (n = 50) after 12 months [32], although in
            the latter study this outcome did not change from a base-
            line median of 0.0 (“not at all depressed”) on an unval-            Death by Suicide
            idated 4-point scale. Among adolescents, 2 mixed-gender             One retrospective study reported in 2 publications assessed
            prospective cohorts (n = 50 and n = 23, respectively)               death by suicide (Table 5) [43, 44]. The first publication re-
            showed improvements in depression scores after 1 year               ported that 3 transgender women in the Amsterdam gender
            of treatment with GnRH analogues and estrogen or tes-               dysphoria study cohort (n = 303) died by suicide between
            tosterone formulations (both P < 0.001) [30, 38]. Another           1972 and 1986 [43]. The authors calculated the number
            prospective study reported that BDI scores improved                 of suicide deaths expected in an age-matched stratum of


                                                                                                             JHU_000001916

                                                                           48                                              App.066
                          Table 3. Effects of Gender-Affirming Hormone Therapy on Depression Among Transgender People

                          Author, year            Transgender   Treatment /           Depression         Length of treatment   Findings
                          Study design            population    comparison (n)        measures

                          Gava, 2016 [28]         Women         Cyproterone acetate   BDI-II             12 months             Mean depression scores did not change in either arm. No comparisons across arms
                             Before-after trial                   + estradiol (20)                                               were reported.
                                                                  vs Leuprolide
                                                                  acetate +
                                                                  estradiol (20)
                          Fisher, 2016 [37]       Women         HT (28)               BDI-II             24 months             Mean depression score decreased from 10.12 to 4.58 (P < 0.001).d, e
                             Prospective
                             cohort
                          Defreyne, 2018          Women         HT (91)c              HADS               1 year                Median depression score decreased by 1.05 (95% CI: −1.87, −0.22) on a 21-point
                             [33]                                                       (depression                              scale (P = 0.013).
                             Prospective                                                subscale)
                             cohort
                          Costantino, 2013        Men           HT (50)               Ad hoc             12 months             Depression score did not change from a median of 0.0 at baseline (IQR: 0.0, 1.0).
                                                                                                                                                                                                                   Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                             [32]                                                        questionnaire
                             Prospective
                             cohort
                          Fisher, 2016 [36]       Men           HT (26)               BDI-II             24 months             Mean depression score decreased from 9.31 to 4.25 (P < 0.001).d, e




49
                             Prospective
                             cohort
                          Defreyne,               Men           HT (64)c              HADS               1 year                Median depression score decreased by 1.42 (95% CI: −2.61, −0.24) on a 21-point
                             2018 [33]                                                  (depression                              scale (P = 0.019).
                             Prospective                                                subscale)
                             cohort
                          Turan, 2018 [42]        Men           HT (37)               SCL-90-R           24 weeks              Mean depression score did not change.
                          Prospective                                                   (depression
                             cohortb                                                    subscale)
                          Metzger, 2019 [40]      Men           HT (23)               BDI-II             6 months              Mean depression score decreased from 15.7 ± 12.3 to 8.1 ± 6.2 (P < 0.001).
                             Prospective
                             cohortb
                          Colizzi, 2014 [31]      Women and     HT (107)              Zung SDS           12 months             Mean Zung SDS score improved from 48.40 ± 10.5 to 39.98 ± 10.79 (P < 0.001),
                             Prospective            men                                 SCL-90-R                                 and the proportion with Zung SDS scores indicating mild, moderate, or
                             cohort                                                     (depression                              severe depression (vs no depression) decreased from 42% to 22% (χ 2 = 19.05,
                                                                                                                                                                                                                                                                            (69 of 200), Page 69 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 69 of 200




                                                                                        subscale)                                P < 0.001). Mean SCL-90-R score decreased from 0.83 ± 0.74 to 0.51 ± 0.49
                                                                                                                                 (P < 0.001), which represents an improvement from possible borderline
                                                                                                                                 depression to no depression.
                          Leavitt, 1980 [47]      Women         HT (22) vs No HT      MMPI               At least 12 months    Mean depression score was lower in the group receiving HT vs the group not




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                             Cross-sectional                      (19)                  (depression                              receiving HT (53.1 ± 14.7 vs 65.7 ± 11.2, P = 0.004).
                                                                                        subscale)
                                                                                                                                                                                                                   9
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                          Table 3. Continued
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                          Author, year            Transgender       Treatment /               Depression             Length of treatment      Findings
                          Study design            population        comparison (n)            measures

                          Gómez-Gil, 2012         Women and         HT (120)c vs No           HADS                   Mean: 11.0 years      Mean depression score was lower in the group receiving HT vs the group not
                            [45]                    men               HT (67)c                  (depression             (women, range,       receiving HT (3.3 ± 3.2 vs 5.2 ± 4.2, P = 0.002).f The proportion with scores
                            Cross-­sectional                                                    subscale)               1–46 years);         indicating depression (vs no depression) was larger in the group not receiving
                                                                                                                        4.7 years (men,      HT (31% vs 8%, χ 2 = 16.46, P = 0.001).f
                                                                                                                        range, 1–22 years)
                          de Vries, 2011 [34]     Girls and         GnRH treatment            BDI                    1.88 years            Mean depression score decreased from 8.31 ± 7.12 to 4.95 ± 6.72 (P = 0.004).
                             Prospective             boys             (41)
                             cohort
                          de Vries, 2014 [35]     Girls and         GnRH treatment +          BDI                    5.9 years                Mean depression score did not change.
                             Prospective             boys             HT (32)c
                             cohorta,b
                          Achille, 2020 [30]      Girls and         GnRH treatment +          CESD-R, PHQ-9          12 months                Mean CESD-R score decreased from 21.4 to 13.9 (P < 0.001); d a score of <16
                             Prospective             boys             HT (47)                   (modified for                                   indicates no clinical depression. Mean PHQ-9 score decreased from 9.0 to 5.4
                             cohort                                                             adolescents)                                    (P < 0.001).d
                          López de Lara,          Girls and         GnRH treatment +          BDI-II                 1 year                   Mean depression score decreased from 19.3 ± 5.5 to 9.7 ± 3.9 (P < 0.001).
                             2020 [38]               boys             HT (23)
                             Prospective
                             cohortb




50
                          Abbreviations: BDI/BDI-II, Beck Depression Inventory; GAS, gender-affirming surgery; GnRH, gonadotropin-releasing hormone; HADS, Hospital Anxiety and Depression Scale; HT, hormone therapy; IQR, interquartile
                          range; MMPI, Minnesota Multiphasic Personality Inventory; NA, not applicable; SCL-90-R, Symptom Checklist 90-Revised; Zung SDS, Zung Self-Rating Depression Scale.
                          a
                            All participants were also included in de Vries (2011) [34]
                          b
                            Included a cisgender control group or a comparison to general population norms
                          c
                            Included participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported
                          d
                            No standard deviations reported
                          e
                            Adjusted for age, gender role, and surgery status
                          f
                            Adjusted for age, gender, and education level
                                                                                                                                                                                                                                                                                                    (70 of 200), Page 70 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 70 of 200




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App.068
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(71 of 200), Page 71 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 71 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 52 of 93


            Journal of the Endocrine Society, 2021, Vol. 5, No. 4                                                                                                11

            Table 4. Effects of Gender-Affirming Hormone Therapy on Anxiety Among Transgender People

            Author, year               Transgender Treatment /   Anxiety measures                 Length of        Findings
                                       population comparison (n)                                  treatment

            Fuss, 2015 [37]            Women          HT (20)c          Ad hoc questionnaire 12 months             Anxiety score did not change from a median
               Prospective cohort                                                                                    of 0.0 at baseline.
            Defreyne, 2018 [33]        Women          HT (91)c          HADS (anxiety             1 year           Median anxiety score did not change.
               Prospective cohort                                         subscale)
            Defreyne, 2018 [33]        Men            HT (64)c          HADS (anxiety             1 year           Median anxiety score did not change.
               Prospective cohort                                         subscale)
            Motta, 2018 [41]           Men            HT (46)c          DSM                       7 months         Proportion diagnosed with an anxiety
               Prospective cohort                                                                                     disorder (6/46, 12%) did not change.
            Turan, 2018 [42]           Men            HT (37)           SCL-90-R (anxiety         24 weeks         Mean anxiety score did not change.




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               Prospective cohortb                                        subscale)
            Colizzi, 2014 [31]         Women and HT (107)               SCL-90-R (anxiety         12 months       Mean SCL-90-R score decreased from
               Prospective cohort        men                              subscale) Zung                            1.05 ± 0.95 to 0.54 ± 0.56 (P < 0.001),
                                                                          SAS                                       which represents an improvement from
                                                                                                                    borderline anxiety disorder to no anxiety
                                                                                                                    disorder. Mean Zung SAS score improved
                                                                                                                    from 44.91 ± 9.59 to 37.90 ± 8.97
                                                                                                                    (P < 0.001), and the proportion with
                                                                                                                    Zung SAS scores indicating mild,
                                                                                                                    moderate, or severe anxiety (vs no
                                                                                                                    anxiety) decreased from 50% to 17%
                                                                                                                    (χ 2 = 33.03, P < 0.001).
            Gómez-Gil, 2012 [45]       Women and HT (120)c vs  HADS (anxiety                      Mean:           Mean HADS and SADS scores were lower
              Cross-sectional            men       No HT (67)c   subscale) SADS                      11.0 years     in the group receiving HT vs the group
                                                                                                     (women,        not receiving HT (6.4 ± 3.7 vs 9.0 ± 4.0,
                                                                                                     range,         P = 0.001; 8.5 ± 7.8 vs 11.0 ± 7.3,
                                                                                                     1-46 years);   P = 0.038, respectively).d The proportion
                                                                                                     4.7 years      with scores indicating anxiety (vs no
                                                                                                     (men,          anxiety) was higher in the group not
                                                                                                     range,         receiving HT (χ 2 = 14.46, P < 0.001).d
                                                                                                     1-22 years)
            de Vries, 2011 [34]        Girls and      GnRH          STAI (trait subscale)         1.88 years      Mean anxiety score did not change.
               Prospective cohort         boys          treatment
                                                        (41)
            de Vries, 2014 [35]    Girls and          GnRH          STAI (trait subscale)         5.9 years        Mean anxiety score did not change.
               Prospective            boys              treatment +
               cohorta,b                                HT (32)c
            López de Lara, 2020    Girls and          GnRH          STAI (trait subscale)         1 year           Mean anxiety score decreased from
               [38]                   boys              treatment +                                                  33.0 ± 7.2 to 18.5 ± 8.4 (P < 0.001).
               Prospective cohortb                      HT (23)

            Abbreviations: BAI, Beck Anxiety Inventory; DSM, Diagnostic and Statistical Manual of Mental Disorders; GAS, gender-affirming surgery; GnRH, gonadotropin-
            releasing hormone; HADS, Hospital Anxiety and Depression Scale; HT, hormone therapy; IQR, interquartile range; SADS, Social Avoidance and Distress Scale;
            SCL-90-R, Symptom Checklist 90-Revised; STAI, State-Trait Anxiety Inventory; Zung SAS, Zung Self-Rating Anxiety Scale.
            a
              All participants were also included in de Vries (2011) [34]
            b
              Included a cisgender control group or a comparison to general population norms
            c
             Included participants who have undergone gender-affirming surgery/surgeries, or surgery status not reported
            d
              Adjusted for age, gender, and education level



            the general male Dutch population over this period to                          The age- and sex-stratified standardized mortality ratios
            be 0.208. No data were reported for transgender men                            were 5.70 (95% CI: 4.93, 6.54) and 2.22 (95% CI: 0.53,
            (n = 122). An update to this study reported 17 deaths by                       6.18), respectively. The risk of bias for this study was ser-
            suicide among transgender women (n = 966) and 1 among                          ious due to the difficulty of identifying appropriate com-
            transgender men (n = 365) between 1975 and 2007 [44].                          parison groups and uncontrolled confounding by surgery



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(72 of 200), Page 72 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 72 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 53 of 93


                              12                                                                                                                                                                                                                                                                                                                               Journal of the Endocrine Society, 2021, Vol. 5, No. 4


                                                                                                                                                                                                                                                                                                                                                      status and socioeconomic variables such as unemployment.




                                                                                                                                                                     2007. The age-stratified SMR compared to the general Dutch




                                                                                                                                                                     2007. The age-stratified SMR compared to the general Dutch
                                                                                                                                      Median: 18.6 years (range, 17 transgender women (2%) died by suicide between 1975 and
                                                                                                                                      Median: 4.4 years (range, 3 transgender women (1%) died by suicide between 1972 and
                                                                                                                                                                                                                                                                                                                                                      We cannot draw any conclusions on the basis of this single




                                                                                                                                      Median: 18.4 years (range, 1 transgender man (0.3%) died by suicide between 1975 and
                                                                                                                                      Median: 3.6 years (range, No deaths by suicide among transgender men were reported
                                                                                                                                                                                                                                                                                                                                                      study about whether hormone therapy affects death by sui-

                                                                                                                                                                     1986. The adjusted number of suicide deaths expected
                                                                                                                                                                     among the general Dutch male population was 0.208.
                                                                                                                                                                                                                                                                                                                                                      cide among transgender people.




                                                                                                                                                                     female population was 2.22 (95% CI: 0.53, 6.18).
                                                                                                                                                                     male population was 5.70 (95% CI: 4.93, 6.54).
                                                                                                                                                                                                                                                                                                                                                      Discussion
                                                                                                                                                                                                                                                                                                                                                      This systematic review of 20 studies found evidence that
                                                                                                                                                                                                                                                                                                                                                      gender-affirming hormone therapy may be associated with
                                                                                                                                                                                                                                                                                                                                                      improvements in QOL scores and decreases in depres-
                                                                                                                                                                                                                                                                                                                                                      sion and anxiety symptoms among transgender people.
                                                                                                                                                                     during the study period.

                                                                                                                                                                                                                                                                                                                                                      Associations were similar across gender identity and age.




                                                                                                                                                                                                                                                                                                                                                                                                                        Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
                                                                                                                                                                                                                                                                                                                                                      The strength of evidence for these conclusions is low due to
                                                                                                                                                                                                                                                                                                                                                      methodological limitations (Table 6). It was impossible to
                                                                                                                                                                                                                                                                                                                                                      draw conclusions about the effects of hormone therapy on
                                                                                                                                                                                                                                                                                                                                                      death by suicide.
                                                                                                                Findings




                                                                                                                                                                                                                                                                                                                                                          Uncontrolled confounding was a major limitation in
                                                                                                                                                                                                                                                                                                                                                      this literature. Many studies simultaneously assessed dif-
                                                                                                                                                                                                                                                                                                                                                      ferent types of gender-affirming care and did not control
                                                                                                                                        6 months to 13 years)




                                                                                                                                        6 months to 13 years)




                                                                                                                                                                                                                                                                                                                                                      for gender-affirming surgery status, making it difficult to
                                                                                                                Length of treatment




                                                                                                                                        0.7–44.5 years)




                                                                                                                                        4.7–42.6 years)




                                                                                                                                                                                                                                                                                                                                                      isolate the effects of hormone therapy. Others failed to re-
                                                                                                                                                                                                                                                                                                                                                      port complete information about surgery status. Additional
            Table 5. Effects of Gender-Affirming Hormone Therapy on Death by Suicide Among Transgender People




                                                                                                                                                                                                                                                                                                                                                      factors that may influence both access to care and psycho-
                                                                                                                                                                                                                                                                                                                                                      logical outcomes, including extent of social or legal gender
                                                                                                                                                                                                                                                                                                                                                      affirmation and exposure to determinants of health such
                                                                                                                                                                                                                                                                                                                                                      as discrimination, were typically not considered. In add-
                                                                                                                                                                                                                                    An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011) [44]
                                                                                                                                      Death by suicide (confirmed by



                                                                                                                                                                       Death by suicide (confirmed by




                                                                                                                                                                       Death by suicide (confirmed by
                                                                                                                                                                          medical report or physician

                                                                                                                                                                       Death by suicide (confirmation



                                                                                                                                                                          medical report or physician




                                                                                                                                                                                                                                                                                                                                                      ition, some evidence indicates that cyproterone acetate, a
                                                                                                                                                                                                                                    Includes participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported




                                                                                                                                                                                                                                                                                                                                                      common anti-androgen assessed in many studies alongside
                                                                                                                                                                                                                                                                                                                                                      estrogen therapy, may increase depression, which may be a
                                                                                                                                                                                                                                                                                                                                                      source of confounding [49].
                                                                                                                                         autopsy report)




                                                                                                                                                                          procedure NR)
                                                                                                                                                                          information)




                                                                                                                                                                          information)




                                                                                                                                                                                                                                                                                                                                                          Another source of potential bias was recruitment of
                                                                                                                                                                                                                                  Abbreviations: HT, hormone therapy; NR, not reported; SMR, standardized mortality ratio.




                                                                                                                                                                                                                                                                                                                                                      participants from specialized clinics that impose strict diag-
                                                                                                                Measures




                                                                                                                                                                                                                                                                                                                                                      nostic criteria as a prerequisite for gender-affirming care.
                                                                                                                                                                                                                                    Included a cisgender control group or a comparison to general population norms




                                                                                                                                                                                                                                                                                                                                                      The dual role of clinicians and researchers as both gate-
                                                                                                                                                                                                                                                                                                                                                      keepers and investigators may force transgender study
                                                                                                                comparison (n)




                                                                                                                                                                                                                                                                                                                                                      participants to over- or understate aspects of their mental
                                                                                                                Treatment /




                                                                                                                                                                                                                                                                                                                                                      health in order to access gender-affirming care [8]. Similarly,
                                                                                                                                      HT (303)c



                                                                                                                                                                       HT (966)c



                                                                                                                                                                                                    HT (122)c

                                                                                                                                                                                                                 HT (365)c




                                                                                                                                                                                                                                                                                                                                                      transgender clinic patients may feel that they cannot opt
                                                                                                                                                                                                                                                                                                                                                      out of research-related activities, which is a serious concern
                                                                                                                                                                                                                                                                                                                                                      for the validity of psychological outcome measurements.
                                                                                                                                                                                                                                                                                                                                                          Clinic-based recruitment also overlooks transgender
                                                                                                                Transgender
                                                                                                                population




                                                                                                                                                                                                                                                                                                                                                      people who cannot access these clinics for financial or
                                                                                                                                      Women



                                                                                                                                                                       Women




                                                                                                                                                                                                                                                                                                                                                      other reasons and misses those whose need for gender
                                                                                                                                                                                                    Men

                                                                                                                                                                                                                 Men




                                                                                                                                                                                                                                                                                                                                                      affirmation does not fit into current medical models. This
                                                                                                                                                                                                                                                                                                                                                      is a particular concern for nonbinary and other gender-
                                                                                                                                         Retrospective cohorta,b



                                                                                                                                                                          Retrospective cohorta,b



                                                                                                                                                                                                       Retrospective cohorta,b

                                                                                                                                                                                                       Retrospective cohorta,b




                                                                                                                                                                                                                                                                                                                                                      diverse people, for whom a model of gender affirmation
                                                                                                                                      Asscheman, 1989 [43]



                                                                                                                                                                       Asscheman, 2011 [44]



                                                                                                                                                                                                    Asscheman, 1989 [43]

                                                                                                                                                                                                    Asscheman, 2011 [44]




                                                                                                                                                                                                                                                                                                                                                      as a linear transition from one binary gender to another
                                                                                                                                                                                                                                                                                                                                                      is inaccurate [50].
                                                                                                                                                                                                                                                                                                                                                          Most studies used well-known scales for measuring
                                                                                                                Author, year




                                                                                                                                                                                                                                                                                                                                                      psychological outcomes. None of these scales, however,
                                                                                                                                                                                                                                                                                                                                                      have been specifically validated for use in transgender
                                                                                                                                                                                                                                                                                                                                                      populations [51]. Furthermore, many scales are normed
                                                                                                                                                                                                                                  b
                                                                                                                                                                                                                                  a



                                                                                                                                                                                                                                  c




                                                                                                                                                                                                                                                                                                                                                                                   JHU_000001920

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(73 of 200), Page 73 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 73 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 54 of 93
       Journal of the Endocrine Society, 2021, Vol. 5, No. 4                                                                                                13

       Table 6. Strength of Evidence of Studies that Evaluate the Psychological Effects of Hormone Therapy Among Transgender
       People

       Outcome                 Number of studies (n)                                           Strength of        Summarya
                                                                                               evidence

       Quality of life         1 randomized controlled trial [27] (45)b                        Lowe               Hormone therapy may improve quality of
                               2 before-after trials [28, 29] (65)b                                                 life among transgender people.g
                               2 prospective cohorts [30, 39] (133)
                               2 cross-sectional studies [46, 48] (108)
       Depression              1 before-after trial [28] (40)                                  Lowe               Hormone therapy may alleviate depression
                               9 prospective cohorts [30-36, 38, 40, 42] (569)c                                     among transgender people.g
                               2 cross-sectional [45, 47] (228)
       Anxiety                 7 prospective cohorts [31, 33-35, 37, 38, 41, 42] (464)c        Lowe               Hormone therapy may alleviate anxiety




                                                                                                                                                                    Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
                               1 cross-sectional [45] (187)                                                          among transgender people.g
       Death by suicide        1 retrospective cohort [43, 44] (1756)d                         Insufficientf      There is insufficient evidence to draw a
                                                                                                                     conclusion about the effect of hormone
                                                                                                                     therapy on death by suicide among
                                                                                                                     transgender people.

       a
         Due to similarity of findings, the summary is the same for transgender men and transgender women and for adolescents and adults
       b
         25 participants are included in both Pelusi [27] and Gava (2018) [29] and are counted once
       c
         All 55 participants in de Vries (2014) [35] were also included among the 70 participants in de Vries (2011) [34] and are counted once
       d
         An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011), [44] so the unique sample size is smaller than indi-
       cated here
       e
         Evidence downgraded due to study limitations, including uncontrolled confounding, and imprecision because of small sample sizes
       f
         Evidence downgraded due to study limitations, including confounding and a lack of meaningful comparison groups, and imprecision in measurement of a rare
       event
       g
         The body of cross-sectional evidence tended to align with the conclusion


       separately for (presumed cisgender) men and women [52].                        hormone therapy and mental health outcomes in trans-
       Inconsistency in identification of appropriate general popu-                   gender populations should be prospective or use strong
       lation norms hinders comparisons between transgender                           quasi-experimental designs; consistently report type,
       and cisgender groups, which is a major related research                        dose, and duration of hormone therapy; adjust for pos-
       question that requires further investigation.                                  sible confounding by gender-affirming surgery status;
           Beyond methodological concerns in the studies we as-                       control for other variables that may independently in-
       sessed, our review has other limitations. First, it is likely                  fluence psychological outcomes; and report results sep-
       subject to publication bias, as we may have missed studies                     arately by gender identity. Despite the limitations of the
       not published in the peer-reviewed literature. Second, a                       available evidence, however, our review indicates that
       number of potentially relevant studies could not be in-                        gender-affirming hormone therapy is likely associated
       cluded because the authors did not report on a minimum                         with improvements in QOL, depression, and anxiety.
       of 3 months of treatment or did not clearly state the                          No studies showed that hormone therapy harms mental
       type and/or duration of therapy, including the range for                       health or quality of life among transgender people.
       cross-sectional studies [53-65]. Finally, even where out-                      These benefits make hormone therapy an essential com-
       come measurements were similar across studies, hetero-                         ponent of care that promotes the health and well-being
       geneity in study designs, study populations, intervention                      of transgender people.
       characteristics, and reporting of results (ie, some studies
       reported results separately by gender identity, while others
       did not), prevented us from quantitatively pooling results.
           More research is needed to further explore the rela-                       Acknowledgments
       tionship between gender-affirming hormone therapy and                            Financial Support: This review was partly funded by the World
       QOL, death by suicide, and other psychological outcomes,                       Professional Association for Transgender Health.
                                                                                        Author Contributions: R.S. developed and implemented the search
       especially among adolescents. Future studies should in-
                                                                                      strategy with input from K.B., L.W., and K.R. K.B., L.W., R.S., V.D.,
       vestigate these outcomes in larger groups of diverse
                                                                                      K.M., and K.R. screened and assessed studies, extracted data, and
       participants recruited outside clinical settings. Studies                      graded strength of evidence. K.B. wrote the report, which was re-
       assessing the relationship between gender-affirming                            viewed by all co-authors.




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(74 of 200), Page 74 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 74 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 55 of 93
       14                                                                                   Journal of the Endocrine Society, 2021, Vol. 5, No. 4


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              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 56 of 93
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(76 of 200), Page 76 of 200Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 76 of 200
              Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 57 of 93
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                                                                                                         JHU_000001924
                                                                           56                                             App.074
(77 of 200), Page 77 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 77 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 58 of 93


           Disclaimer:

           This review was partially funded by the World Professional Association for Transgender Health (WPATH).
           The authors of this manuscript are responsible for its content. Statements in the manuscript do not
           necessarily reflect the official views of or imply endorsement by WPATH.




                                                                                          JHU_000001925
                                                            57                                    App.075
(78 of 200), Page 78 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 78 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 59 of 93



                                 WPAT H
                                 WORLD PROFESSIONAL ASSOCIATION FOR TRANSGENDER KEALTH


                           www.wpath.org
                          wpath@wpath.org

                   phone: 1+(847) 752-5328                Policy & Procedures Regarding the Use of
                                                                     WPATH SOC8 Data
                      fax: 1+(224) 633-2166

                 1061 E Main Street Ste 300
                     East Dundee, IL 60118
                                                    Background to the Policy
                                   STAFF
                        Executive Director          In April 2018 WPATH commissioned John Hopkins University (JHU) to support
                            Sue O’Sullivan          the development of the 8th edition of the Standards of Care for the Health of
                           sue@wpath.org            Transsexual, Transgender, and Gender Nonconforming People (SOC8). WPATH
                                                    entered into a Sponsored Research Agreement with Johns Hopkins University on
               Executive Director of Global         behalf of its School of Medicine with Dr Karen A. Robinson, Director at JHU
                 Education & Development            Evidence-based Practice Center as principal investigator in conducting the
                               Donna Kelly          research for WPATH. WPATH contracted Dr Robinson and her team to perform
                         donna@wpath.org            systematic literature reviews and other activities to support the development of
                                                    the 8th edition of SOC.
                 Deputy Executive Director
                               Blaine Vella
                                                    The contract between WPATH and JHU states the following regarding Data use
                         blaine@wpath.org
                                                    and Publications: “the term "Data" principally includes raw data, research data,
         Educational Program Coordinator
                                                    records, reports, notes, tables, writing, sound recordings, pictorial reproduction,
                          Taylor O’Sullivan
                                                    drawings or other graphical representations, and works of any similar nature
                         taylor@wpath.org           (whether or not copyrighted) which are generated or specified to be delivered by
                                                    Dr Robinson and her team in connection with the update and development of the
              Assistant Associate Director          SOC8”.
                               Jamie Hicks
                          jamie@wpath.org           “Notwithstanding anything to the contrary contained in the contract between
                                                    WPATH and JHU, WPATH shall retain the unrestricted right to use the Data, or
                  EXECUTIVE COMMITTEE               any part thereof at any time, in any manner and for any purpose, including the
                                 President          publication of the Data and the communication of Data to third parties. No other
                   Vin Tangpricha, MD, PhD          parties other than Dr Robinson and her team will have any access to the Data
                            President-Elect         without written permission by WPATH. Prior to the publication of the Data or any
            Walter Pierre Bouman, MD, PhD           part thereof by Dr Robinson and her team, WPATH shall have thirty (30) days in
                                 Secretary          which to review and comment on the proposed publication. Dr Robinson and her
                          Randi Ettner, PhD         team will give due regard to WPATH's comments. WPATH has the right to
                                 Treasurer          request the deletion of any content within materials intended for publication by Dr
                 Baudewijntje Kreukels, PhD         Robinson and her team*”.
                            Past-President
            Gail Knudson, MD, MEd, FRCPC
                                                    Since the start of the contract between WPATH and JHU Dr Robinson and her
                                                    team have provided systematic literature reviews for the development of
                                                    statements of the following chapters: Assessment, Primary Care, Endocrinology,
                   BOARD OF DIRECTORS
                         Tamara Adrian, JD
                                                    Surgery, Reproductive Medicine, and Voice Therapy. Dr Robinson and team
                          Marci Bowers, MD          have also provided guidance regarding the methodology of the SOC8 and
                   Tone Maria Hansen, MSN           feedback for some of the statements.
                          Ren Massey, PhD
                  Asa Radix, MD, PhD, MPH
                       Loren Schechter, MD
                                                    Aim of the Policy
                         Jaimie Veale, PhD
                                                    WPATH commissioned and financed an update and the development of the
                    EPATH Representative            SOC8 for the benefit of transgender healthcare in order to promote health,
            Walter Pierre Bouman, MD, PhD
                                                    research, education, respect, dignity, and equality for trans people globally.
                  USPATH Representative
                     Erica Anderson, PhD            Therefore, the aim is of this policy is to develop a process to ensure that any
                                                    manuscripts developed from the systematic literature reviews commissioned by
            GEI Representative (Ex-Officio)
                           Lin Fraser, EdD

        Student Representative (Ex-Officio)
                Penelope Strauss, BA, MPH
                                                                                                               JHU_000002317
                                                                               58                                  App.076
(79 of 200), Page 79 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 79 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 60 of 93




                                 WORLD PROFESSIONAL ASSOCIATION i'OR TRANSGENDER fiEALTH


                           www.wpath.org
                          wpath@wpath.org

                                                     WPATH benefit transgender healthcare and promote health, research, education,
                   phone: 1+(847) 752-5328
                      fax: 1+(224) 633-2166
                                                     respect, dignity, and equality for transgender people globally.

                 1061 E Main Street Ste 300          A decision-making process to give access to the Data should be
                     East Dundee, IL 60118           underpinned by a number of good practice directives. Hence, WPATH
                                                     grants access to the data to any interested party, which:
                                   STAFF
                        Executive Director           a.       has the intention to use the Data for the benefit of advancing transgender
                            Sue O’Sullivan           health in a positive manner and;
                           sue@wpath.org             b.       has the intention to publish the Data in reputable, academic, peer-
                                                     reviewed journals and;
               Executive Director of Global          c.       involves the Work Group Leader of the Chapter or, alternatively, a
                 Education & Development             designated representative of that specific SOC8 Chapter, or alternatively the
                               Donna Kelly           Chair or Co-Chairs of the SOC8 in the design, drafting of the article, and the final
                         donna@wpath.org             approval of the article and;
                                                     d.       involves at least one member of the transgender community in the
                 Deputy Executive Director           design, drafting of the article, and the final approval of the article and**;
                               Blaine Vella          e.       adheres to the WPATH Language Policy***.
                         blaine@wpath.org

         Educational Program Coordinator
                                                     Pathway to Approval for Use of WPATH Data
                          Taylor O’Sullivan
                         taylor@wpath.org
                                                     WPATH grants approval to use the Data for publication to any interested party,
                                                     when:
              Assistant Associate Director
                               Jamie Hicks
                                                     a.       the directives outlined under the aim of this policy have been fulfilled
                          jamie@wpath.org
                                                     and;
                                                     b.       the author(s) have acknowledged that WPATH has sponsored the
                  EXECUTIVE COMMITTEE                acquisition of the data in the publication and;
                                 President           c.       the author(s) have acknowledged that the authors are solely responsible
                   Vin Tangpricha, MD, PhD           for the content of the manuscript, and the manuscript does not necessarily reflect
                            President-Elect          the view of WPATH in the publication and;
            Walter Pierre Bouman, MD, PhD            d.       The publication (“manuscript”) has been approved by WPATH via a
                                 Secretary           designated approval process.
                          Randi Ettner, PhD
                                 Treasurer           Designated approval process for publication of the Data
                 Baudewijntje Kreukels, PhD
                            Past-President           a.       Author(s) submit publication to WPATH
            Gail Knudson, MD, MEd, FRCPC             b.       It is WPATH Executive Committee’s responsibility to ensure that the
                                                     manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of the
                                                     SOC8, and the members of the WPATH Board of Directors within 7 days after
                   BOARD OF DIRECTORS
                                                     receipt of the manuscript.
                         Tamara Adrian, JD
                          Marci Bowers, MD
                                                     c.       It is WPATH Executive Committee’s responsibility to ensure that a vote is
                   Tone Maria Hansen, MSN            held within 14 days after the dissemination of the manuscript to the Chair and
                          Ren Massey, PhD            Co-Chairs of the SOC8 and Board members.
                  Asa Radix, MD, PhD, MPH            d.       It will be a blind vote and approval is granted to author(s) for publication
                       Loren Schechter, MD
                         Jaimie Veale, PhD
                                                     by majority vote. The Chair and Co-Chairs of the SOC8 and Board members all
                                                     have one equal vote. In case of a bind, the WPATH President will have the
                    EPATH Representative             deciding vote.
            Walter Pierre Bouman, MD, PhD            e.       It is the President’s responsibility to respond to the author(s) with
                                                     approval or disapproval within thirty (30) days of submission of the manuscript to
                  USPATH Representative
                     Erica Anderson, PhD             WPATH.

            GEI Representative (Ex-Officio)
                           Lin Fraser, EdD

        Student Representative (Ex-Officio)
                Penelope Strauss, BA, MPH
                                                                                                                 JHU_000002318
                                                                                 59                                 App.077
(80 of 200), Page 80 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 80 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 61 of 93



                                 WPAT H
                                 WORLD PROFESSIONAL ASSOCIATION ,QR TRANSGENDER HEALTH


                           www.wpath.org
                          wpath@wpath.org

                                                    f.      In case of disapproval, the President may decide to hold a special
                   phone: 1+(847) 752-5328
                      fax: 1+(224) 633-2166
                                                    meeting with the Chair and Co-Chairs of the SOC8 and Board members to
                                                    discuss the manuscript and the reasons for not approving publication.
                 1061 E Main Street Ste 300
                     East Dundee, IL 60118

                                   STAFF            *        This will be referred to as “Confidential Information”, which means all
                        Executive Director          non-public, confidential, and/or proprietary information that is marked as
                            Sue O’Sullivan          “Confidential Information” as described below and which is disclosed by one
                           sue@wpath.org            party to the other, including but not limited to software, inventions (whether
                                                    patentable or not), algorithms, diagrams, drawings, processes, research, product
               Executive Director of Global         or strategic plans or collaborations or partnerships, financial information, or
                 Education & Development            business models. Confidential Information, if in tangible or readable form, shall
                               Donna Kelly          be marked as such at the time of disclosure and if disclosed orally, shall be
                         donna@wpath.org            reduced to writing, marked confidential, and addressed to the other party within
                                                    ten (10) days after disclosure.
                 Deputy Executive Director
                               Blaine Vella         **       See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017). The
                         blaine@wpath.org           need of patient involvement in transgender healthcare research. Journal of
                                                    Sexual Medicine, 14(12), 1494-1495.
         Educational Program Coordinator
                                                    Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M. P.,
                          Taylor O’Sullivan
                                                    Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S., & Veale, J.
                         taylor@wpath.org
                                                    (2018). Transgender and gender diverse people’s involvement in transgender
                                                    health research. International Journal of Transgenderism, 19(4), 357-358 or
              Assistant Associate Director
                               Jamie Hicks
                                                    https://www.tandfonline.com/doi/full/10.1080/15532739.2018.1543066
                          jamie@wpath.org

                  EXECUTIVE COMMITTEE
                                 President          ***      See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutsch, M.,
                   Vin Tangpricha, MD, PhD          Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
                            President-Elect         transgender health. International Journal of Transgenderism, 18(1), 1-6 or
            Walter Pierre Bouman, MD, PhD           https://www.tandfonline.com/doi/full/10.1080/15532739.2016.1262127
                                 Secretary
                          Randi Ettner, PhD
                                 Treasurer
                 Baudewijntje Kreukels, PhD         Final Policy Approved June 11, 2020
                            Past-President
            Gail Knudson, MD, MEd, FRCPC



                   BOARD OF DIRECTORS
                         Tamara Adrian, JD
                          Marci Bowers, MD
                   Tone Maria Hansen, MSN
                          Ren Massey, PhD
                  Asa Radix, MD, PhD, MPH
                       Loren Schechter, MD
                         Jaimie Veale, PhD

                    EPATH Representative
            Walter Pierre Bouman, MD, PhD

                  USPATH Representative
                     Erica Anderson, PhD

            GEI Representative (Ex-Officio)
                           Lin Fraser, EdD

        Student Representative (Ex-Officio)
                Penelope Strauss, BA, MPH
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                                                                               60                                App.078
(81 of 200), Page 81 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 81 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 62 of 93


           Brief Summary Proposal to Support Guideline Development for World Professional Association for
           Transgender Health

           Karen A Robinson, Johns Hopkins University

           12 April 17

           We are excited about the potential opportunity to support guideline development for the World
           Professional Association for Transgender Health (WPATH). We understand that WPATH is seeking to
           update and revise the Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender
           Nonconforming People (Version 7, 2011), moving toward an evidence-based guideline. Briefly, we
           understand that support for this process would include:

                         1) Orientation to the process and refinement of the scope. This includes:
                                a. preliminary searching
                                b. presentation and discussion of systematic review and guideline development
                                    processes with WPATH personnel, especially the guideline chairs
                                c. identification of statements for which systematic reviews will be conducted
                         2) Conduct systematic reviews, including:
                                a. refinement of questions using PICO format (population, intervention,
                                    comparison, outcome)
                                b. search for evidence
                                c. screen results
                                d. data extraction
                                e. data synthesis
                                f. grade certainty or confidence in evidence
                                g. present results for guideline panel (e.g., report, tables, in-person presentation
                                    to panel)
                         3) Provide orientation and guidance to guideline panel in interpreting results of systematic
                            reviews and in developing recommendation statements
                         4) Provide critical feedback on statements and guideline document(s)

           Proposed Team and General Structure

           The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
           Evidence-based Practice Center (EPC) and has been a leader in the Cochrane Collaboration for more
           than 20 years. Dr. Robinson has worked with organizations in developing evidence-informed
           recommendations and policy. This includes serving on NRC and IOM panels (The National Academies),
           and conducting systematic reviews used by professional organizations, and government agencies (e.g.,
           USPSTF, CMS, OMAR). She also designed and implemented a process for the development and
           maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation
           2004-2013). Dr. Robinson is a member of G-I-N, serving on the steering group for GIN Tech. Dr. Robinson
           has specific experience in providing guidance and training for guideline panel members in the
           assessment of evidence (such as with GRADE) and development of recommendations, guided by the



                                                                                              JHU_000002515
                                                               61                                     App.079
(82 of 200), Page 82 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 82 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 63 of 93


           standards in systematic reviews and guideline development from the IOM, as well as from guideline
           appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and critically
           reviewing guideline documents, specifically ensuring clear links between the evidence and
           recommendation statements.

           This would not be considered an official EPC project as it will not be conducted through the AHRQ.
           However, we propose that this work be conducted by investigators and staff who are at or who have
           worked with the EPC. Under leadership from Dr. Robinson, the project would include an experienced
           EPC faculty member (Lisa M. Wilson, ScM), and would be managed by an experienced senior project
           manager within the EPC. Also available are EPC-affiliated medical librarians and statisticians with
           experience in supporting systematic review teams.

           For the full team option, we would engage investigators from the newly established Johns Hopkins
           Center for Transgender Health (JHCTH), a multidisciplinary center of excellence, established to reduce
           health care disparities and improve the overall health of the transgender community through world-
           class clinical care, research and medical education. The Center is led by medical director Devin O’Brien
           Coon, MD, MSE and clinical program director Paula Neira, MSN, RN, JD. Dr. Coon is a surgeon and
           researcher whose medical practice is solely focused on transgender health while Ms. Neira is a U.S.
           Naval Academy graduate, Navy veteran, nurse and lawyer who lead advocacy efforts for the repeal of
           the “don’t ask, don’t tell” policy and became the first transgender Navy veteran to have her discharge
           documentation updated to reflect her correct name. Health outcomes researcher and clinical
           informatician Brandyn Lau, MPH, CPH leads the research committee for the JHCTH. Mr. Lau, who also
           has experience working on systematic reviews through the EPC, will serve as a co-investigator, while Dr.
           O’Brien Coon and Ms. Neira will serve as advisors. We would also engage as a co-investigator Tonia C.
           Poteat, PhD from the Department of Epidemiology who has experience in conducting systematic reviews
           in this topic area, and is a physician assistant who has provided gender-affirming medical care for
           transgender adults since 1996. Finally, Adrian Dobbs, MD would also be invited to serve as an advisor
           providing expertise in the hormonal management of transgender patients. Further details on proposed
           personnel, including biosketches, are available upon request.

           We have extensive experience in conducting high quality systematic reviews, including updates, while
           adhering to strict timelines with deliverables. We also have experience in addressing challenges in
           evidence synthesis. For instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ
           EPC Program and has led workgroups developing guidance on integrating different types of evidence,
           such as existing reviews, into new systematic reviews.

           Estimated Cost

           The inclusion of the full team described above, assuming a one year budget year, would have total direct
           cost of about $291,000. The IDC rate is to be negotiated. We would welcome the opportunity to revise
           our budget estimate to meet different time or cost variables. For instance, relying more on the guideline
           panel members to provide input throughout the process versus internal experts could be an option to
           lower this estimate.




                                                                                            JHU_000002516
                                                             62                                     App.080
(83 of 200), Page 83 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 83 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 64 of 93




           Should we be considered further, we would appreciate the opportunity to submit questions or to have
           an additional phone call. In the event that this may be helpful in furthering your process, we include
           here some of our questions:

               •    Is there a plan to create a publication or other document outlining the process by which the
                    WPATH guideline panels develop recommendation statements? (We assume that this would
                    include outlining a different process for statements that have or do not have evidence for
                    support.)
               •    What materials are available from the 2011 guideline that is to be updated? i.e., are full-text
                    references available? are data abstraction files or table files available?

           We look forward to the opportunity to provide further details for consideration after the initial review of
           this summary proposal.


           Karen A. Robinson, PhD
           Director JHU Evidence-based Practice Center
           Associate Professor of Medicine, Epidemiology, and Health Policy and Management
           Johns Hopkins University
                        REDACTED
                   REDACTED
             REDACTED
              REDACTED




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                                                               63                                      App.081
(84 of 200), Page 84 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 84 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 65 of 93


           Brief Summary Proposal to Support Guideline Development for World Professional Association for
           Transgender Health

           Karen A Robinson, Johns Hopkins University

           26 April 17

           We are excited about the potential opportunity to support guideline development for the World
           Professional Association for Transgender Health (WPATH). We understand that WPATH is seeking to
           update and revise the Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender
           Nonconforming People (Version 7, 2011), moving toward an evidence-based guideline. We understand
           that the full-support option for this process would include (please see below for other options):

                         1) Orientation to the process and refinement of the scope. This includes:
                                a. preliminary searching
                                b. presentation and discussion of systematic review and guideline development
                                    processes with WPATH personnel, especially the guideline chairs
                                c. identification of statements for which systematic reviews will be conducted
                         2) Conduct systematic reviews, including:
                                a. refinement of questions using PICO format (population, intervention,
                                    comparison, outcome)
                                b. search for evidence
                                c. screen results
                                d. data extraction
                                e. data synthesis
                                f. grade certainty or confidence in evidence
                                g. present results for guideline panel (e.g., report, tables, in-person presentation
                                    to panel)
                         3) Provide orientation and guidance to guideline panel in interpreting results of systematic
                            reviews and in developing recommendation statements
                         4) Provide critical feedback on statements and guideline document(s)

           Proposed Team and General Structure

           The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
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           than 20 years. Dr. Robinson has worked with organizations in developing evidence-informed
           recommendations and policy. This includes serving on NRC and IOM panels (The National Academies),
           and conducting systematic reviews used by professional organizations, and government agencies (e.g.,
           USPSTF, CMS, OMAR). She also designed and implemented a process for the development and
           maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation
           2004-2013). Dr. Robinson is a member of G-I-N, serving on the steering group for GIN Tech. Dr. Robinson
           has specific experience in providing guidance and training for guideline panel members in the
           assessment of evidence (such as with GRADE) and development of recommendations, guided by the



                                                                                              JHU_000002518
                                                               64                                     App.082
(85 of 200), Page 85 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 85 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 66 of 93


           standards in systematic reviews and guideline development from the IOM, as well as from guideline
           appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and critically
           reviewing guideline documents, specifically ensuring clear links between the evidence and
           recommendation statements.

           This would not be considered an official EPC project as it will not be conducted through the AHRQ.
           However, we propose that this work be conducted by investigators and staff who are at or who have
           worked with the EPC. Under leadership from Dr. Robinson, the project would include an experienced
           EPC faculty member (Lisa M. Wilson, ScM), and would be managed by an experienced senior project
           manager within the EPC. Also available are EPC-affiliated medical librarians and statisticians with
           experience in supporting systematic review teams.

           For the full support option, we would engage investigators from the newly established Johns Hopkins
           Center for Transgender Health (JHCTH), a multidisciplinary center of excellence, established to reduce
           health care disparities and improve the overall health of the transgender community through world-
           class clinical care, research and medical education. The Center is led by medical director Devin O’Brien
           Coon, MD, MSE and clinical program director Paula Neira, MSN, RN, JD. Dr. Coon is a surgeon and
           researcher whose medical practice is solely focused on transgender health while Ms. Neira is a U.S.
           Naval Academy graduate, Navy veteran, nurse and lawyer who lead advocacy efforts for the repeal of
           the “don’t ask, don’t tell” policy and became the first transgender Navy veteran to have her discharge
           documentation updated to reflect her correct name. Health outcomes researcher and clinical
           informatician Brandyn Lau, MPH, CPH leads the research committee for the JHCTH. Mr. Lau, who also
           has experience working on systematic reviews through the EPC, will serve as a co-investigator, while Dr.
           O’Brien Coon and Ms. Neira will serve as advisors. We would also engage as a co-investigator Tonia C.
           Poteat, PhD from the Department of Epidemiology who has experience in conducting systematic reviews
           in this topic area, and is a physician assistant who has provided gender-affirming medical care for
           transgender adults since 1996. Finally, Adrian Dobbs, MD would also be invited to serve as an advisor
           providing expertise in the hormonal management of transgender patients. Further details on proposed
           personnel, including biosketches, are available upon request.

           We have extensive experience in conducting high quality systematic reviews, including updates, while
           adhering to strict timelines with deliverables. We also have experience in addressing challenges in
           evidence synthesis. For instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ
           EPC Program and has led workgroups developing guidance on integrating different types of evidence,
           such as existing reviews, into new systematic reviews.

           Estimated Cost

           Each estimate assumes a one year budget period and that the IDC rate is to be negotiated.

               1. Full Team/ Full Support Option: The inclusion of the full team described above for the full
                  support option (steps 1-4 above) would have total direct cost of about $291,000.
               2. Core Team only: Inclusion of core team only for conduct of systematic reviews, and effort for
                  front and back end activities (steps 1-4 above), is about $178,000 direct cost.



                                                                                           JHU_000002519
                                                             65                                    App.083
(86 of 200), Page 86 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 86 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 67 of 93


               3. Restricted Core Team only: Inclusion of core team only. Completion of step 2 only with limited
                  scope (e.g., one question/recommendation statement, use of existing reviews, etc.). Direct cost
                  estimated at about $136,000.

           Should we be considered further, we would appreciate the opportunity to submit questions or to have
           an additional phone call. In the event that this may be helpful in furthering your process, we include
           here some of our questions:

               •    Is there a plan to create a publication or other document outlining the process by which the
                    WPATH guideline panels develop recommendation statements? (We assume that this would
                    include outlining a different process for statements that have or do not have evidence for
                    support.)
               •    What materials are available from the 2011 guideline that is to be updated? i.e., are full-text
                    references available? Are data abstraction files or table files available?
               •    Does WPATH have a standard IDC rate?

           We look forward to the opportunity to provide further details for consideration after the initial review of
           this summary proposal.


           Karen A. Robinson, PhD
           Director JHU Evidence-based Practice Center
           Associate Professor of Medicine, Epidemiology, and Health Policy and Management
           Johns Hopkins University
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                                                               66                                      App.084
(87 of 200), Page 87 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 87 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 68 of 93

        Preliminary Activities Report for JHU Project “Support Guideline Development for World Professional
        Association for Transgender Health”

        Karen A Robinson, Johns Hopkins University

        27 Jan 19

        We signed the contract to conduct activities to support the development of Standards of Care (SOC) 8 with a
        start date of 1 April 2018 with an end date of 31 March 2019. The total cost (direct and indirect) was $196,307.

        We proposed the following tasks and have briefly noted below the status of each:

        1)    In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
             Procedures Manual”.
             - Guideline development methods document drafted (July 2018)
             - Conflict of Interest policy and disclosure of interest form drafted (Nov 2018)
             - Drafted Chapter Template, including guidance on and examples of text (July 2018)

        2) Orientation to the guideline development process and refinement of the scope. This includes:
               a. presentation and discussion of systematic review and guideline development processes with WPATH
                   personnel, especially the guideline chairs
           - provided overview of process during two calls with chairs and chapter leads (July 2018)
           - provided overview and assistance with scope in Buenos Aires (Nov 2018)

                 b. preliminary searching
             -   conducted preliminary searching (June 2018)
             -   provided a register of relevant articles, sorted by chapter (July 2018)

                 c. identification of statements within chapters for which systematic reviews will be conducted
             -   reviewed SOC7 and extracted statements that seemed to be recommendations. Provided listing, and
                 initial identification as to those needed systematic reviews, to Chairs and Chapters. (May 2018)

        3) Conduct systematic reviews for the topics selected, including:
              a. refinement of questions using PICO format (population, intervention, comparison, outcome)
              b. search for evidence
              c. screen results
              d. data extraction
              e. data synthesis
              f. grade certainty or confidence in evidence
              g. present results for guideline panel (e.g., report, tables, in-person presentation to panel)
           - received last set of questions from chapters in mid-December 2018
           - completed protocols for systematic reviews for adolescent, hormone, surgery and voice chapters
           - registering protocols on PROSPERO
           - In process of completing systematic reviews addressing 34 questions and 23 subquestions (plus those
              received in December)



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                                                                 67                                   App.085
(88 of 200), Page 88 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 88 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 69 of 93

        4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews and in
           developing recommendation statements. This includes providing guidance on development of consensus-
           based statements or good practice statements.
           - Provided written guidance on drafting recommendations (July 2018)
           - Provided a presentation in Buenos Aires for Chairs and Chapter leads; met individually with most
               chapters (Nov 2018)

        5) Provide critical feedback on statements and guideline document(s).
           - Provided critical feedback on statements received to date

        6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
           Clearinghouse (guidelines.gov).

        In addition to above, I have met regularly with the SOC8 Chairs (for instance, I drafted a ‘tracking sheet’ to track
        questions and recommendations received and other notes regarding status). I have also have joined chapter
        calls or had separate calls with Chapter Leads, as requested. All methods documents have been posted on the
        shared SOC8 drive.




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                                                                 68                                      App.086
(89 of 200), Page 89 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 89 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 70 of 93

        Brief Summary Proposal to Support Guideline Development for World Professional Association for
        Transgender Health

        Karen A Robinson, Johns Hopkins University

        23 June 17

        We are excited about the potential opportunity to support guideline development for the World Professional
        Association for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the
        Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version
        7, 2011), moving toward an evidence-based guideline.

        We propose the following tasks:

        1)   In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
             Procedures Manual”.
        2)   Orientation to the guideline development process and refinement of the scope. This includes:
                 a. presentation and discussion of systematic review and guideline development processes with WPATH
                     personnel, especially the guideline chairs
                 b. preliminary searching
                 c. identification of statements within chapters for which systematic reviews will be conducted
        3)   Conduct systematic reviews for the topics selected, including:
                 a. refinement of questions using PICO format (population, intervention, comparison, outcome)
                 b. search for evidence
                 c. screen results
                 d. data extraction
                 e. data synthesis
                 f. grade certainty or confidence in evidence
                 g. present results for guideline panel (e.g., report, tables, in-person presentation to panel)
        4)   Provide orientation and guidance to guideline panel in interpreting results of systematic reviews and in
             developing recommendation statements. This includes providing guidance on development of consensus-
             based statements or good practice statements.
        5)   Provide critical feedback on statements and guideline document(s).
        6)   Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
             Clearinghouse (guidelines.gov).

        Proposed Team and General Structure

        The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
        Evidence-based Practice Center (EPC) and has been a leader in the Cochrane Collaboration for more than 20
        years. Dr. Robinson has worked with organizations in developing evidence-informed recommendations and
        policy. This includes serving on NRC and IOM panels (The National Academies), and conducting systematic
        reviews used by professional organizations, and government agencies (e.g., USPSTF, CMS, OMAR). She also
        designed and implemented a process for the development and maintenance (including updating) of evidence-
        based guidelines for a large organization (CF Foundation 2004-2013). Dr. Robinson is a member of G-I-N, serving
        on the steering group for GIN Tech. Dr. Robinson has specific experience in providing guidance and training for



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                                                               69                                    App.087
(90 of 200), Page 90 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 90 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 71 of 93

        guideline panel members in the assessment of evidence (such as with GRADE) and development of
        recommendations, guided by the standards in systematic reviews and guideline development from the IOM, as
        well as from guideline appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and
        critically reviewing guideline documents, specifically ensuring clear links between the evidence and
        recommendation statements.

        This would not be considered an official EPC project as it will not be conducted through the AHRQ. However, we
        propose that this work be conducted by investigators and staff who are at or who have worked with the EPC.
        Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
        Wilson, ScM), and would be managed by an experienced senior project manager within the EPC. Also available
        are EPC-affiliated medical librarians and statisticians with experience in supporting systematic review teams.

        We have extensive experience in conducting high quality systematic reviews, including updates, while adhering
        to strict timelines with deliverables. We also have experience in addressing challenges in evidence synthesis. For
        instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led
        workgroups developing guidance on integrating different types of evidence, such as existing reviews, into new
        systematic reviews.

        We will rely on WPATH personnel, including guideline chairs, chapter leads and, as relevant, chapter committee
        members, as the domain experts. Their input will ensure that we are addressing the appropriate questions and
        producing reviews and report(s) that will be most useful in developing the guidelines. Input will be sought at the
        beginning of the work and, as needed, to address any domain-specific questions throughout the process.

        Estimated Cost

        We have prepared a budget for 16 months, assuming start date of 1 July 2017 to end of October 2018 (we
        understand need to present details on the process and some chapters at the WPATH World Congress). The
        direct cost for the 16 months is $223,385. The IDC (indirect cost; also called ‘facilities and administrative’ fee or
        overhead) is to be negotiated, pending allowable costs per sponsor. Travel costs, such as to attend meetings to
        provide orientation or report results, will be reimbursed separately. Final payment schedule to be negotiated;
        we would suggest quarterly.

        We look forward to the opportunity to provide further details or respond to any questions.

        Karen A. Robinson, PhD
        Director JHU Evidence-based Practice Center
        Associate Professor of Medicine, Epidemiology, and Health Policy and Management
        Johns Hopkins University
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(91 of 200), Page 91 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 91 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 72 of 93



                                Brief Summary Proposal to Support Guideline Development

                                for World Professional Association for Transgender Health




                                                       31 July 17




        Karen A. Robinson, PhD
        Director JHU Evidence-based Practice Center
        Associate Professor of Medicine, Epidemiology, and Health Policy and Management
        Johns Hopkins University
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           REDACTED




        Robinson, JHU

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(92 of 200), Page 92 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 92 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 73 of 93



        We are excited about the opportunity to support guideline development for the World Professional Association
        for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the Standards of
        Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version 7, 2011). We
        are particularly excited to help WPATH develop evidence-based guidelines by providing an independent
        evidence-review team to conduct rigorous, comprehensive, and transparent systematic reviews to inform the
        guideline recommendations.

        We propose the following services to support WPATH and SOC8:
        1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
           Procedures Manual”.
        2) Orientation to the guideline development process and refinement of the scope. This includes:
                a. presentation and discussion of systematic review and guideline development processes with WPATH
                    personnel, especially the guideline chairs and chapter leads
                b. preliminary searching
                c. identification of statements within chapters for which systematic reviews will be conducted, and
                    which will be ‘best practice statements’ based on consensus expert opinion
        3) Conduct systematic reviews for the topics selected, including:
                a. refinement of questions using PICO format (population, intervention, comparison, outcome)
                b. search for evidence
                c. screen results
                d. data extraction
                e. data assessment and synthesis
                f. grade certainty or confidence in evidence
                g. presentation of results to guideline panel (e.g., report, evidence and summary tables, in-person
                    presentation to panel).
        4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews, in
           developing recommendation statements, and in grading the recommendation statements. This includes
           providing guidance on development of consensus-based or good practice statements.
        5) Provide critical feedback on statements and guideline document(s). * We understand need to, and will
           facilitate, the presentation of details on the process and, at least, some chapters at the WPATH World
           Congress.
        6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
           Clearinghouse (guidelines.gov).

        Proposed Team and General Structure

        The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
        Evidence-based Practice Center (EPC) and has been a leader in Cochrane for more than 20 years. (Please see
        attached CV.) Dr. Robinson has worked with a number of multi-specialty organizations in developing evidence-
        informed recommendations and policy, including serving on NRC and IOM panels (The National Academies), and
        conducting systematic reviews used by professional organizations, and government agencies (e.g., CF
        Foundation, KDIGO, USPSTF, CMS, OMAR). She also designed and implemented a process for the development
        and maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation). Dr.
        Robinson, JHU

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                                                              72                                    App.090
(93 of 200), Page 93 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 93 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 74 of 93

        Robinson is a member of G-I-N (Guidelines International Network), serving on the steering group for G-I-N Tech.
        Dr. Robinson has specific experience in providing guidance and training for guideline panel members in the
        assessment of evidence (such as with GRADE) and the development of recommendations, guided by the
        standards guideline development from the IOM, as well as from guideline appraisal concepts, such as from
        AGREE and GLIA. She also has experience in drafting and critically reviewing guideline documents, specifically
        ensuring clear links between the evidence and recommendation statements.

        Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
        Wilson, ScM). Ms. Wilson is a Research Associate, Health Policy & Management and has been at the EPC for over
        10 years; she has managed and led 19 EPC evidence reviews. (Please see CV.) Ms. Wilson has also conducted
        research to improve systematic review methodology. Ms. Wilson was a key team player, taking the lead on
        several sections, for our work with the KDIGO guidelines.

        The project would be managed by an experienced senior project manager, with the assistance of an experienced
        Research Assistant. Additionally, we plan to engage graduate students to assist with tasks such as screening and
        data extraction. Also available are EPC-affiliated medical librarians and statisticians with experience in
        supporting systematic review teams.

        We have extensive experience in conducting high quality systematic reviews, while adhering to strict timelines
        with deliverables. We also have experience in addressing challenges in evidence synthesis. For instance, Dr.
        Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led workgroups
        developing guidance on integrating different types of evidence, such as existing reviews, into new systematic
        reviews.

        As we have done with some of our prior work, we will rely on WPATH personnel, including guideline chairs,
        chapter leads and, as relevant, chapter committee members, as the domain experts. Their input will ensure that
        we are addressing the appropriate questions and producing reviews and report(s) that will be most useful in
        developing the guidelines. Input will be sought at the beginning of the work and, as needed, to address any
        domain-specific questions throughout the process.

        Estimated Cost

        We have prepared a budget for 12 months, assuming start date of 1 September 2017, with direct cost $178,461.
        We understand that WPATH has a policy of not paying more than 10% IDC (indirect cost; also called ‘facilities
        and administrative’ fee or overhead) so total proposed budget is $196,307. Travel costs, such as to attend
        meetings to provide orientation or report results, will be reimbursed separately. As in the prior proposals
        submitted, we would be open to discussing ways to lower the total budget, such as limiting the number or scope
        of the reviews, or limiting the services provided.

        We suggest a quarterly payment schedule based on milestones, for example:
           1. upon initiation of project with signed contract
           2. upon submission of final PICO document outlining questions for review
           3. upon submission of the draft report of the systematic reviews
           4. upon submission of final report of systematic reviews

        We look forward to the opportunity to provide further details or to respond to any questions.

        Robinson, JHU

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                                                              73                                     App.091
(94 of 200), Page 94 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 94 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 75 of 93



        Please find attached CVs for Dr. Robinson and Ms. Wilson.




        Robinson, JHU

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                                                             74              App.092
(95 of 200), Page 95 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 95 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 76 of 93




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                 Policy & Procedures Regarding the Use of WPATH SOC8 Data
                                            Revised August 2020

              This policy will be shared with every SOC8 member in order to inform them
              of the process of SOC8 Data Use and to allow each SOC8 member to apply
              to access the existing SOC8 data as described below

              Background to the Policy

              In April 2018 WPATH commissioned John Hopkins University (JHU) to
              support the development of the 8th edition of the Standards of Care for the
              Health of Transsexual, Transgender, and Gender Nonconforming People
              (SOC8). WPATH entered into a Sponsored Research Agreement with John
              Hopkins University on behalf of its School of Medicine with Dr Karen A.
              Robinson, Director at JHU Evidence-based Practice Center as principal
              investigator in conducting the research for WPATH. WPATH contracted Dr
              Robinson and her team to perform systematic literature reviews and other
              activities to support the development of the 8th edition of SOC.

              The contract between WPATH and JHU states the following regarding Data
              use and Publications: “the term "Data" principally includes raw data,
              research data, records, reports, notes, tables, writing, sound recordings,
              pictorial reproduction, drawings or other graphical representations, and
              works of any similar nature (whether or not copyrighted) which are
              generated or specified to be delivered by Dr Robinson and her team in
              connection with the update and development of the SOC8”.

              “Notwithstanding anything to the contrary contained in the contract between
              WPATH and JHU, WPATH shall retain the unrestricted right to use the
              Data, or any part thereof at any time, in any manner and for any purpose,
              including the publication of the Data and the communication of Data to third
              parties. No other parties other than Dr Robinson and her team will have any
              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


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                                                    75                               App.093
(96 of 200), Page 96 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 96 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 77 of 93


              access to the Data without written permission by WPATH. Prior to the
              publication of the Data or any part thereof by Dr Robinson and her team,
              WPATH shall have thirty (30) days in which to review and comment on the
              proposed publication. Dr Robinson and her team will give due regard to
              WPATH's comments. WPATH has the right to request the deletion of any
              content within materials intended for publication by Dr Robinson and her
              team”.
              Since the start of the contract between WPATH and JHU Dr Robinson and
              her team have provided systematic literature reviews for the development of
              statements of the following chapters: Assessment, Primary Care,
              Endocrinology, Surgery, Reproductive Medicine, and Voice Therapy. Dr
              Robinson and team have also provided guidance regarding the methodology
              of the SOC8 and feedback for some of the statements.

              Aim of the Policy

              WPATH commissioned and financed an update and the development of the
              SOC8 for the benefit of transgender healthcare in order to promote health,
              research, education, respect, dignity, and equality for trans people globally.

              Therefore, the aim is of this policy is to develop and to describe a process to
              ensure that any manuscripts developed from the systematic literature reviews
              commissioned by WPATH benefit transgender healthcare and promote
              health, research, education, respect, dignity, and equality for transgender
              people globally.

              A decision-making process to give access to the Data should be underpinned
              by a number of good practice directives. Hence, WPATH grants access to
              the data to any interested party, which:

                 a. has the intention to use the Data for the benefit of advancing
                    transgender health in a positive manner and;
                 b. has the intention to publish the Data in reputable, academic, peer-
                    reviewed journals and;
                 c. involves the Work Group Leader of the Chapter or, alternatively, a
                    designated representative of that specific SOC8 Chapter, or
                    alternatively the Chair or Co-Chairs of the SOC8 in the design,
                    drafting of the article, and the final approval of the article and;

              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


                                                                             JHU_000003196
                                                    76                              App.094
(97 of 200), Page 97 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 97 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 78 of 93


                 d. involves at least one member of the transgender community in the
                    design, drafting of the article, and the final approval of the article
                    and**;
                 e. adheres to the WPATH Language Policy and/or similar
                    publications***.




              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


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                                                    77                               App.095
                                                            Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 79 of 93
                                                            Pathway to approval for use of WPATH Data
                                                                                                                                                         App.096




                                                            WPATH grants approval to use the Data for publication to any interested
                                                            party, when:
                                                               a. the directives outlined under the aim of this policy have been fulfilled
                                                                   and;
                                                               b. the author(s) have acknowledged that WPATH has sponsored the
                                                                   acquisition of the data in the publication and;
                                                               c. the author(s) have acknowledged that the authors are solely
                                                                   responsible for the content of the manuscript, and the manuscript does
                                                                   not necessarily reflect the view of WPATH in the publication and;
                                                               d. The publication (“manuscript”) has been approved by WPATH via a
Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 98 of 200




                                                                   designated approval process.
                                                               Designated approval process for publication of Data (see Figure 1)
                                                                                                  WPATH shares proposal
                                                                                                                              WPATH EC ensures vote
                                                                 Submission publication           with Chair & Co-Chairs,
                                                                                                                              within 30 days after the
                                                                                          •
                                                                 proposal to WPATH and               BOD, & Chapter


                                                                                                                             •■ •
                                                                                                                               dissemination of the
                                                                   link to SOC8 chapter           members; to identify 1
                                                                                                                                     proposal.
                                                                                                     Chapter member




                                                                                                                               •
                                                                                                                               President responds to
                                                                                          When manuscript draft ready for
                                                                                                                                the author regarding
                                                                                           publication, author will submit
                                                                                                                              outcome of vote within
                                                                                          publication to WPATH for similar
                                                                                                                              60 days of submission of
                                                                                                  approval process
                                                                                                                              the proposal to WPATH.
                                                            Figure 1 - Designated approval process for publication of Data
                                                               1. The lead author submits a proposal of the publication to WPATH with
                                                                  the following headings: Background; Aim(s); Method; Results;
(98 of 200), Page 98 of 200




                                                            WPATH Policy Use of Data for SOC8 – Version 2
                                                            Approved by WPATH Board of Directors – August 2020
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(99 of 200), Page 99 of 200 Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 99 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 80 of 93


                    Conclusion (Maximum 1 page and states which SOC8 chapter the
                    publication is linked to);
                 2. It is WPATH’s responsibility that the proposal is shared with the
                    Chair and Co-Chairs of the SOC8, the members of the WPATH Board
                    of Directors and all members of the SOC8 chapter linked to the
                    proposed publication within 14 days after receipt of the proposal. The
                    aim will be to identify an individual (s) from the chapter (maximum 2
                    individuals if a publication concerns more than one chapter) who will
                    work with the lead author(s) of the proposed publication (unless the
                    lead author is already working with one or more Working Group
                    members); it is the responsibility of the Working Group as a whole to
                    identify and to nominate one of their members, either by vote or
                    general consensus within the Working Group.
                 3. WPATH will keep a record of the possible proposals with deadlines
                    for draft submissions - in order to avoid the development of multiple
                    papers with the same aims using the same data;
                 4. It is WPATH Executive Committee’s responsibility to ensure that a
                    vote is held within 30 days after the dissemination of the proposal.
                 5. It will be a blind vote and approval to write the paper is granted to the
                    author(s) by majority vote. In case of a tie, the WPATH President
                    will have the deciding vote.
                 6. It is the President’s responsibility to respond to the author(s) with
                    approval or disapproval within fifty-six (56) days of submission of the
                    proposal to WPATH.
                 7. Once the manuscript draft is ready for publication, the lead author will
                    submit the publication to WPATH
                 8. It is WPATH Executive Committee’s responsibility to ensure that the
                    manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of
                    the SOC8, and the members of the WPATH Board of Directors within
                    7 days after receipt of the manuscript.
                 9. It is WPATH Executive Committee’s responsibility to ensure that a
                    vote is held within 14 days after the dissemination of the manuscript
                    to the Chair and Co-Chairs of the SOC8 and Board members.
                 10.It will be a blind vote and approval is granted to author(s) for
                    publication by majority vote. The Chair and Co-Chairs of the SOC8
                    and Board members all have one equal vote. In case of a tie, the
                    WPATH President will have the deciding vote.


              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


                                                                             JHU_000003199
                                                    79                             App.097
(100 of 200), Page 100 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 100 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 81 of 93


                 11.It is the President’s responsibility to respond to the author(s) with
                    approval or disapproval within thirty (30) days of submission of the
                    manuscript to WPATH.
                 12.In case of disapproval, the President may decide to hold a special
                    meeting with the Chair and Co-Chairs of the SOC8 and Board
                    members to discuss the manuscript and the reasons for not approving
                    publication.
                 13.There may be cases where it will be in the benefit of the SOC8
                    development process to publish the manuscript before the SOC8 has
                    been completed, but there may be cases when the manuscript will only
                    be approved for submission after the SOC8 has been published,
                    acknowledging that the data for the manuscript may need to be
                    refreshed.




              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


                                                                         JHU_000003200
                                                    80                          App.098
(101 of 200), Page 101 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 101 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 82 of 93


              *     This will be referred to as “Confidential Information”, which means
                    all non-public, confidential, and/or proprietary information that is
                    marked as “Confidential Information” as described below and which
                    is disclosed by one party to the other, including but not limited to
                    software, inventions (whether patentable or not), algorithms,
                    diagrams, drawings, processes, research, product or strategic plans or
                    collaborations or partnerships, financial information, or business
                    models. Confidential Information, if in tangible or readable form,
                    shall be marked as such at the time of disclosure and if disclosed
                    orally, shall be reduced to writing, marked confidential, and addressed
                    to the other party within ten (10) days after disclosure.
              **    See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017).
                    The need of patient involvement in transgender healthcare research.
                    Journal of Sexual Medicine, 14(12), 1494-1495.
                    Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M.
                    P., Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S.,
                    & Veale, J. (2018). Transgender and gender diverse people’s
                    involvement in transgender health research. International Journal of
                    Transgenderism, 19(4), 357-358 or
                    https://www.tandfonline.com/doi/full/10.1080/15532739.2018.154306
                    6
              ***   See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutch, M.,
                    Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
                    transgender health. International Journal of Transgenderism, 18(1), 1-
                    6 or
                    https://www.tandfonline.com/doi/full/10.1080/15532739.2016.126212
                    7
                    See T’Sjoen, G., Radix, A., Motmans, J. (2020). Language & Ethics
                    in Transgender Health. Journal of Sexual Medicine. Advanced online
                    publication. doi.org/10.1016/j.jsxm.2020.05.017




              WPATH Policy Use of Data for SOC8 – Version 2
              Approved by WPATH Board of Directors – August 2020


                                                                           JHU_000003201
                                                    81                           App.099
(102 of 200), Page 102 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 102 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 83 of 93



                                Brief Summary Proposal to Support Guideline Development

                                for World Professional Association for Transgender Health




                                                       31 July 17




        Karen A. Robinson, PhD
        Director JHU Evidence-based Practice Center
        Associate Professor of Medicine, Epidemiology, and Health Policy and Management
        Johns Hopkins University
                     REDACTED
             REDACTED
          REDACTED
           REDACTED




        Robinson, JHU

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                                                          82                                App.100
(103 of 200), Page 103 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 103 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 84 of 93



        We are excited about the opportunity to support guideline development for the World Professional Association
        for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the Standards of
        Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version 7, 2011). We
        are particularly excited to help WPATH develop evidence-based guidelines by providing an independent
        evidence-review team to conduct rigorous, comprehensive, and transparent systematic reviews to inform the
        guideline recommendations.

        We propose the following services to support WPATH and SOC8:
        1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
           Procedures Manual”.
        2) Orientation to the guideline development process and refinement of the scope. This includes:
                a. presentation and discussion of systematic review and guideline development processes with WPATH
                    personnel, especially the guideline chairs and chapter leads
                b. preliminary searching
                c. identification of statements within chapters for which systematic reviews will be conducted, and
                    which will be ‘best practice statements’ based on consensus expert opinion
        3) Conduct systematic reviews for the topics selected, including:
                a. refinement of questions using PICO format (population, intervention, comparison, outcome)
                b. search for evidence
                c. screen results
                d. data extraction
                e. data assessment and synthesis
                f. grade certainty or confidence in evidence
                g. presentation of results to guideline panel (e.g., report, evidence and summary tables, in-person
                    presentation to panel).
        4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews, in
           developing recommendation statements, and in grading the recommendation statements. This includes
           providing guidance on development of consensus-based or good practice statements.
        5) Provide critical feedback on statements and guideline document(s). * We understand need to, and will
           facilitate, the presentation of details on the process and, at least, some chapters at the WPATH World
           Congress.
        6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
           Clearinghouse (guidelines.gov).

        Proposed Team and General Structure

        The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
        Evidence-based Practice Center (EPC) and has been a leader in Cochrane for more than 20 years. (Please see
        attached CV.) Dr. Robinson has worked with a number of multi-specialty organizations in developing evidence-
        informed recommendations and policy, including serving on NRC and IOM panels (The National Academies), and
        conducting systematic reviews used by professional organizations, and government agencies (e.g., CF
        Foundation, KDIGO, USPSTF, CMS, OMAR). She also designed and implemented a process for the development
        and maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation). Dr.
        Robinson, JHU

                                                                                            JHU_000003203
                                                              83                                    App.101
(104 of 200), Page 104 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 104 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 85 of 93

        Robinson is a member of G-I-N (Guidelines International Network), serving on the steering group for G-I-N Tech.
        Dr. Robinson has specific experience in providing guidance and training for guideline panel members in the
        assessment of evidence (such as with GRADE) and the development of recommendations, guided by the
        standards guideline development from the IOM, as well as from guideline appraisal concepts, such as from
        AGREE and GLIA. She also has experience in drafting and critically reviewing guideline documents, specifically
        ensuring clear links between the evidence and recommendation statements.

        Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
        Wilson, ScM). Ms. Wilson is a Research Associate, Health Policy & Management and has been at the EPC for over
        10 years; she has managed and led 19 EPC evidence reviews. (Please see CV.) Ms. Wilson has also conducted
        research to improve systematic review methodology. Ms. Wilson was a key team player, taking the lead on
        several sections, for our work with the KDIGO guidelines.

        The project would be managed by an experienced senior project manager, with the assistance of an experienced
        Research Assistant. Additionally, we plan to engage graduate students to assist with tasks such as screening and
        data extraction. Also available are EPC-affiliated medical librarians and statisticians with experience in
        supporting systematic review teams.

        We have extensive experience in conducting high quality systematic reviews, while adhering to strict timelines
        with deliverables. We also have experience in addressing challenges in evidence synthesis. For instance, Dr.
        Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led workgroups
        developing guidance on integrating different types of evidence, such as existing reviews, into new systematic
        reviews.

        As we have done with some of our prior work, we will rely on WPATH personnel, including guideline chairs,
        chapter leads and, as relevant, chapter committee members, as the domain experts. Their input will ensure that
        we are addressing the appropriate questions and producing reviews and report(s) that will be most useful in
        developing the guidelines. Input will be sought at the beginning of the work and, as needed, to address any
        domain-specific questions throughout the process.

        Estimated Cost

        We have prepared a budget for 12 months, assuming start date of 1 September 2017, with direct cost $178,461.
        We understand that WPATH has a policy of not paying more than 10% IDC (indirect cost; also called ‘facilities
        and administrative’ fee or overhead) so total proposed budget is $196,307. Travel costs, such as to attend
        meetings to provide orientation or report results, will be reimbursed separately. As in the prior proposals
        submitted, we would be open to discussing ways to lower the total budget, such as limiting the number or scope
        of the reviews, or limiting the services provided.

        We suggest a quarterly payment schedule based on milestones, for example:
           1. upon initiation of project with signed contract
           2. upon submission of final PICO document outlining questions for review
           3. upon submission of the draft report of the systematic reviews
           4. upon submission of final report of systematic reviews

        We look forward to the opportunity to provide further details or to respond to any questions.

        Robinson, JHU

                                                                                             JHU_000003204
                                                              84                                     App.102
(105 of 200), Page 105 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 105 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 86 of 93



        Please find attached CVs for Dr. Robinson and Ms. Wilson.




        Robinson, JHU

                                                                       JHU_000003205
                                                             85              App.103
(106 of 200), Page 106 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 106 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 87 of 93




                                 WORLD PROFESSIONAL ASSOCIATION FOR TRANSGENDER fiEALTH


                          www.wpath.org
                         wpath@wpath.org

                   phone: 1+(847) 752-5328          August 26, 2020
                      fax: 1+(224) 633-2166
                                                    Dear Karen:
                1061 E Main Street Ste 300
                    East Dundee, IL 60118
                                                    We hope this email finds you well.
                                   STAFF
                        Executive Director          On behalf of the Executive Committee, the SOCv8 Chair and Co-Chairs of
                            Sue O’Sullivan          WPATH, we wanted to be sure to respond to you in writing prior to the 30 days
                           sue@wpath.org
                                                    deadline of the current 2 submitted manuscripts to WPATH.
              Executive Director of Global
                Education & Development             In addition, we want to set out in writing to you how we would like you and
                              Donna Kelly           your team at JHU to proceed with writing and publishing future manuscripts
                        donna@wpath.org             from the WPATH SOCv8 data.
                Deputy Executive Director
                              Blaine Vella          The last 2 manuscripts were submitted for review on 27 July 2020. While the
                        blaine@wpath.org            manuscripts have been under review, there have been many concerns noted
                                                    regarding these papers by our Board of Directors and SOCv8 Chair and Co-
         Educational Program Coordinator            Chairs.
                          Taylor O’Sullivan
                         taylor@wpath.org
                                                    In essence, the 2 manuscripts were evaluated on as per our Policy & Procedures
              Assistant Associate Director          Regarding the Use of WPATH SOC8 Data and the outcome of this evaluation was
                               Jamie Hicks          that the 2 manuscripts do not adhere to our Policy & Procedures Regarding the
                          jamie@wpath.org
                                                    Use of WPATH SOC8 Data. This was due to point c of the Aim section: “involves
                 EXECUTIVE COMMITTEE
                                                    the Work Group Leader of the Chapter or, alternatively, a designated
                                President           representative of that specific SOC8 Chapter, or alternatively the Chair or Co-
                  Vin Tangpricha, MD, PhD           Chairs of the SOC8 in the design, drafting of the article, and the final approval of
                           President-Elect          the article”.
           Walter Pierre Bouman, MD, PhD
                                Secretary
                         Randi Ettner, PhD          We have discussed as a group how we can help you and your team addressing
                                Treasurer           these issues in order for the two papers to be ready for submission.
                Baudewijntje Kreukels, PhD
                           Past-President
           Gail Knudson, MD, MEd, FRCPC
                                                    As per the Policy & Procedures Regarding the Use of WPATH SOC8 Data you will
                                                    need to reach out to the Work Group Leader of the Chapters related to the 2
                                                    manuscripts and ask him/her/they to identify one person within the chapter
                                                    group to work with your team in order for the manuscripts to be finalised.
                                                    Should you have difficulties getting into contact with a Work Group Leader, the
                                                    SOCv8 Chair or Co-Chairs will be available to assist. This will ensure that the
                                                    quality of the manuscripts fulfils adequate standards of form and content in
                                                    trans health care; and is conform our Policy. It would be reasonable for this
                                                    expert to be listed as a co-author of the manuscript.

                                                    In order to guaranty a quicker process for the development of future
                                                    publications that use the WPATH SOCv8 data, the Policy has been adapted in
                                                    order to include an approval process at an earlier stage. If anyone involved in
                                                    the SOCv8 process, including yourself, would like to write a publication using the



                                                                                                               JHU_000003732
                                                                                86                                 App.104
(107 of 200), Page 107 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 107 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 88 of 93



                                 WPAT H
                                 WORLD PROFESSIO:-JALASSOCIATION "OR TRANSGENDER HEALTH


                          www.wpath.org
                         wpath@wpath.org

                   phone: 1+(847) 752-5328          SOCv8 data they should follow a designated approval process (please see Figure
                      fax: 1+(224) 633-2166         1 below).

                1061 E Main Street Ste 300          We have revised our Policy & Procedures Regarding the Use of WPATH SOCv8
                    East Dundee, IL 60118
                                                    Data to ensure that further publication of WPATH SOCv8 is carried out in an
                                   STAFF            orderly fashion; and that the Policy & Procedures are adhered to in full. We do
                        Executive Director          hope that this process would encourage collaboration between your team and
                            Sue O’Sullivan          members of the SOCv8, who are the experts in their field, as this will be of
                           sue@wpath.org
                                                    benefit to everyone.
              Executive Director of Global
                Education & Development             We would like to organise a Zoom meeting between us and yourself so the
                              Donna Kelly           content of this letter can be discussed. Therefore, we would like to request that
                        donna@wpath.org             the 2 manuscripts are put "on hold" for submission, until we are able to meet
                                                    with you (via ZOOM video call).
                Deputy Executive Director
                              Blaine Vella
                        blaine@wpath.org            Please let Blaine know of your availability for the next two weeks, August 31 –
                                                    September 4, between 10am ET – 4pm ET, and September 7 – 11, between
         Educational Program Coordinator            10am ET – 4pm ET, so that we can send a doodle to the EC and co-chairs to
                          Taylor O’Sullivan
                         taylor@wpath.org
                                                    participate in our discussion.

              Assistant Associate Director          We appreciate your understanding that these papers have a significant impact
                               Jamie Hicks          on JHU, WPATH, the work completed so far, and the eventual completion and
                          jamie@wpath.org
                                                    release of the SOCv8. Great time, expertise, and care has been spent and we
                 EXECUTIVE COMMITTEE
                                                    want to ensure that all our combined work is duly recognized, applied, and
                                President           captured effectively.
                  Vin Tangpricha, MD, PhD
                           President-Elect          Please confirm that you have received this email in good order and will defer
           Walter Pierre Bouman, MD, PhD
                                                    the submission until our call and the subsequent outcome of such call.
                                Secretary
                         Randi Ettner, PhD
                                Treasurer           Thank you and best regards,
                Baudewijntje Kreukels, PhD
                           Past-President
           Gail Knudson, MD, MEd, FRCPC
                                                    WPATH EXECUTIVE COMMITTEE
                                                    Vin Tangpricha, MD, PhD – President
                                                    Walter Pierre Bouman, MD, PhD – President Elect
                                                    Randi Ettner, PhD – Secretary
                                                    Baudewijntje Kreukels, PhD – Treasurer
                                                    Gail Knudson, MD, MEd, FRCPC – Immediate Past President


                                                    Enc.                  Policy & Procedures Regarding the Use of WPATH SOC8 Data
                                                                          (version 2)


                                                    Designated approval process for publication of Data (Figure 1)




                                                                                                               JHU_000003733
                                                                                87                                App.105
(108 of 200), Page 108 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 108 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 89 of 93




                                  WORLD PROFESSIONAL ASSOCIATION SOR TRANSGENDER HEALTH


                           www.wpath.org
                          wpath@wpath.org

                    phone: 1+(847) 752-5328
                       fax: 1+(224) 633-2166
                                                     Figure 1 - Designated approval process for publication of Data
                 1061 E Main Street Ste 300
                     East Dundee, IL 60118

                                    STAFF
                                                                                           WPATH shares proposal
                         Executive Director            Submission publication              with Chair & Co-Chairs,
                                                                                                                       WPATH EC ensures vote
                                                                                                                       within 30 days after the
                             Sue O’Sullivan            proposal to WPATH and              BOD, & Chapter members;
                                                                                                                        dissemination of the
                                                         link to SOC8 chapter               to identify 1 Chapter
                            sue@wpath.org                                                                                     proposal.
                                                                                                  member

               Executive Director of Global
                 Education & Development
                               Donna Kelly
                         donna@wpath.org                                                                              President responds to the
                                                                                   When manuscript draft ready for
                                                                                                                      author regarding outcome
                                                                                    publication, author will submit
                                                                                                                       of vote within 60 days of
                 Deputy Executive Director                                         publication to WPATH for similar
                                                                                                                           submission of the
                                                                                           approval process
                               Blaine Vella                                                                              proposal to WPATH.
                         blaine@wpath.org

          Educational Program Coordinator
                           Taylor O’Sullivan
                          taylor@wpath.org

               Assistant Associate Director
                                Jamie Hicks
                           jamie@wpath.org

                  EXECUTIVE COMMITTEE
                                 President
                   Vin Tangpricha, MD, PhD
                            President-Elect
            Walter Pierre Bouman, MD, PhD
                                 Secretary
                          Randi Ettner, PhD
                                 Treasurer
                 Baudewijntje Kreukels, PhD
                            Past-President
            Gail Knudson, MD, MEd, FRCPC




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                                                                                88                                             App.106
(109 of 200), Page 109 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 109 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 90 of 93

             From:           Karen Robinson
             To:             Lisa Wilson; Kellan Baker; Kristen McArthur; Vaadeem Dukhanin
             Subject:        FYI FW: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
             Date:           Wednesday, October 21, 2020 8:44:39 AM
             Attachments:    image003.png
                             Policy & Procedures Regarding the Use of WPATH SOC8 Data Final Approved Aug 2020.pdf


            All –

            I think some of you know but, with this last message from WPATH and a canceled call, I wanted to be
            sure you were all aware of the situation.

            Please work diligently to get manuscripts (re)submitted and let me know if you receive messages
            from members of WPATH or journal editorial boards.

            I am happy to have a Zoom call to talk through any concerns or questions you may have – just let me
            know and we will get something in the calendar.

            Thanks for all of your hard work on this project!

            Thanks,
            Karen


            From: Karen Robinson
            Sent: October 20, 2020 8:23 PM
            To: WPATH EC <wpathec@wpath.org>; Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>; Eli Coleman
            <dreli@umn.edu>; Asa Radix <asa.radix@gmail.com>; Blaine Vella <blaine@wpath.org>
            Cc: Stephen Fisher REDACTED ; Stefanie Gregory REDACTED
            Subject: FW: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
            Importance: High

            All –

            I am concerned about this message sent to the members of SOC8 Working Group Members as it
            suggests that there continues to be incorrect interpretation regarding data ownership and
            publications. WPATH approval for our publications is not required under the terms of the
            agreement, the WPATH policy was not incorporated into the executed agreement so it is not binding
            on us, and the JHU institution policies on academic freedom and intellectual property prohibit such
            restrictions/approvals regarding publication.

            It seems as though the misunderstanding may be based on the sentence in section 7 of contract that
            states that WPATH “retains the unrestricted right to use to Project Data … including the publication
            of the Project Data and the communication of Project Data to third parties.” Retains the right is not
            the same as ownership, and it also does not preclude JHU from also having those same rights in the
            Project Data.




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                                                                    89                                              App.107
(110 of 200), Page 110 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 110 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 91 of 93

            We have the right to publish and any JHU publications arising out of the work conducted as part of
            this contract are not subject to approval by WPATH nor subject to any policy of WPATH. We will
            continue to send draft manuscripts to WPATH for review and will give any comments received due
            regard.

            I feel like I have made these statements several times in email and phone conversations, beginning
            when the contract was being negotiated in 2018. I suggest that a call might be useful and I have
            copied in individuals from our Office of Research Administration and Office of General Counsel.

            Thanks,
            Karen

            -------------
            Karen A. Robinson, PhD
            Professor of Medicine, Epidemiology, and Health Policy & Management
            Director, Johns Hopkins University Evidence-based Practice Center
            Johns Hopkins University
               REDACTED
              REDACTED
             REDACTE
             REDACTED




            From: Jamie Hicks <jamie@wpath.org>
            Sent: October 20, 2020 11:39 AM
            To: Blaine Vella <blaine@wpath.org>
            Cc: WPATH EC <wpathec@wpath.org>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Eli Coleman
            <dreli@umn.edu>; asa.radix@gmail.com
            Subject: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
            Importance: High




                  External Email - Use Caution      




                                                                                          JHU_000012045
                                                            90                                    App.108
(111 of 200), Page 111 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 111 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 92 of 93




                                PAT H
             WORLD PROFESSIONAL ASSOCIATION FOR TRANSGENDER f-lEALTl-l


            Dear SOC8 Working Group Members,

            Thank you very much for your hard work on the SOC8. Many of the chapters are going through
            Delphi at present whilst many chapters also are finalizing the text of their chapters and/or
            recommendation statements. This is an exciting accomplishment! We are hoping to see completed
            chapters in early 2021.

            We are writing you today to inform you of an update of our Policies & Procedures regarding the
            WPATH SOC8 Data. As you know, WPATH commissioned a number of systematic reviews to be
            conducted by John Hopkins University. These systematic reviews are the property of WPATH. We
            would like to see as many systematic review manuscripts as possible to be published (ideally in our
            official journal, International Journal of Transgender Health). We want to let you know that if you or
            any other of your chapter members are interested in contributing a manuscript based on one of the
            systematic reviews, there is a policy on how to request a copy of the reviews and permission to
            publish these reviews. Please see the attached policy approved by the WPATH board that provides
            the details on how to initiate this process.

            As a final note, we offer our apologies regarding the tardiness of this message and the recently
            developed Policy & Procedures Regarding the Use of WPATH SOC8 Data. We were caught on the
            wrong foot when the John Hopkins University Team informed us of wanting to publish 3 papers
            based on the SOC8 data.
            Subsequently, we developed the attached Policy, which was ratified by the Board of Directors and
            the SOC8 Chair and Co-Chairs.

            One paper from the John Hopkins University Team has recently been published online in the
            International Journal of Transgender Health, whilst two papers have not received the green light to
            be published. It is paramount that any publication based on the WPATH SOC8 data is thoroughly
            scrutinized and reviewed to ensure that publication does not negatively affect the provision of
            transgender healthcare in the broadest sense.

            We hope that you find the Policy & Procedures Regarding the Use of WPATH SOC8 Data helpful. We
            thank you very much again for your support of the SOC8 revision.

            Sincerely,

            Vin Tangpricha
            Gail Knudson
            Randi Ettner


                                                                                            JHU_000012046
                                                             91                                     App.109
(112 of 200), Page 112 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 112 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 93 of 93

            Baudewijntje Kreukels
            Walter Bouman
            On behalf of WPATH



            Enc.        Policy & Procedures Regarding the Use of WPATH SOC8 Data



            Jamie
            Jamie Hicks
            She/her/hers
            Assistant Associate Director
            1061 East Main Street
            Suite 300
            East Dundee, IL 60118




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                                                            92                         App.110
(113 of 200), Page 113 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 113 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 1 of 131




                          EXHIBIT 174
                          REDACTED




                                                                             App.111
(114 of 200), Page 114 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 114 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 2 of 131




              Name of the Chapter Committee

               Institution

              Statements of recommendations with possible direct evidence requiring systematic reviews by
                              'steam

                 1. Our committee has submitted all potential systematic review questions to

                             Yes                    No               0 NIA (no systematic review needed)
                 2. Our committee is working to finalize potential systematic review questions t o -


                       0Yes                                              NIA (no systematic review needed)

                 3. If no, please explain and indicate when you will be able to finalize and submit t o -
                               these?

                             3.a. Expected dale to finalize:

                             3.b. Expected date to send the review questions to

                             3.c. Reason why statements have not been finalized or sent:




              Statements of recommendation with no direct evidence (not requiring systematic reviews by
                              'steam)

                 4. Our committee has reached consensus and finalized all other best practice
                    recommendations

                       0Ycs

                 5. If your committee is still working on reaching consensus and finalizing your best practice
                    recommendations.


                             Estimate time of completion:


                 6. Have you used the list of publications sent by                     's team for your chapter?

                       0Yes                         No

                    Comment:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                    BO EAL_WPATH_000990


                                                                 1                                     App.112
(115 of 200), Page 115 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 115 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 3 of 131




                 7. Have you started writing explanatory paragraphs to your recommendations'!

                       ✓    Yes

                    Comment:



                 8. Have you used the statements from the SOC-7 as sent b y ~ team?

                      0Yes

                    Comment:



                 9. What kind of support do you feel you need to complete your tasks?




                 10. Would a face-to-face meeting of some or all of your committee members be helpful to you
                     in completing your tasks?

                            Yes                                         D Maybe          Comment

                 11. Are you planning to publish a "background paper" in T.JT related to your chapter?

                            Yes                                         Comment

                 12. Please provide any other comments or suggestions for moving forward.




                 13. Please add any particular concern that you have about the content of your chapter:
                    Our concerns, echoed by the social justice lawyers we spoke with, is that evidence-based review reveals little or
                    no evidence and puts us in an untenable position in terms of affecting policy or winning lawsuits.




                 14. Any other comments:




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                                                                    2                                           App.113
(116 of 200), Page 116 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 116 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 4 of 131




                                                 3                           App.114
(117 of 200), Page 117 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 117 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 5 of 131




                                                 4                           App.115
(118 of 200), Page 118 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 118 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 6 of 131




                                   WPATH Policy for Disclosures of Interests and
                                           Mana ement of Conflicts


              The World Professional Association for Transgender Health (WPATH) develops the Standards of Care
              (SOC) for the health of Transsexual, Transgender and Gender Nonconforming People. Appointment to
              the SOC8 Committee as a Chair, Methodologist, Chapter Lead or Chapter Member is subject to approval
              of the WPATH Board.

              Interests must be disclosed using the WPATH Disclosure Form. The Disclosure Form collects
              information about financial relationships with entities with direct interest in the SOC8 as well as any non-
              financial interests such as previously published opinions, institutional relationships, advocacy or policy
              positions, or specialty practice that may relate to the topics in SOC8.

              Management of Conflicts of Interest
              The WPATH Board reviews and assesses disclosure forms. Management of conflicts may include
              prohibiting membership in SOC8, open discussion with other chapter or SOC8 members, and/or recusal
              from decisions specific to disclosed interests.

               Completed and signed forms should be submitted for review of the WPATH Board to
                Please complete and sign by December 22, 2018.



              Name:

              Complete Mailing Address:

              Email Addres

              Telephone Number (Daytime):

              Current Employer/Affiliation: UCSF

              Chapter(s): USPATH




                 •    Check "No" if no disclosure exists.
                 •    Check "Yes" - please provide the requested information next to each item where "Yes"
                      was checked.




              For each of the items listed in Section 2, consider stocks, bonds, and other financial
              activities and investments including partnerships (but excluding broadly diversified
              mutual funds and any investment or financial interest valued at less than $5,000 USD).




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                         BOEAL_WPATH_001011

                                                                  5                                        App.116
(119 of 200), Page 119 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 119 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 7 of 131




                                    Item                          No   Yes   Describe relationship, including name
                                                                                     of entity and amount.
              2.1 Do you or your partner/spouse or
              minor children or dependents own directly
              or indirectly (e.g., through a trust or an
              individual account in a pension or profit-
                                                                  0    □
              sharing plan) any stocks, bonds or other
              financial investments that may in any way
              gain or lose financially from SOC8?
              2.2 Do you or your partner/spouse or
              minor children or dependents hold or are
              you currently applying for any patents
                                                                  ✓
                                                                       □
              related to the content of SOC8?
              2.3 Have you or your partner/spouse or
              minor children or dependents received                          NIH
              research grants or contracts (restricted or                    California HIV/AIDS Research
              unrestricted) from an organization that has              0     Program
                                                                             PCORI
              interests or activities related to the content of
              SOC8?                                                          HRSA
              2.4 Have you or your partner/spouse or
              minor children or dependents received                          Planned Parenthood
              reimbursements, fees or salary from an                         Inland Empire Health Plan
              organization that has interests or activities
              related to the content of SOC8? (e.g., as a
                                                                  □    0
              board member, advisor, consultant, payment
              for manuscript, speakers' bureaus, travel,
              expert testimony)?
              2.5 Do you or your partner/spouse or
              minor children or dependents have any               0    □
              other financial interests related to SOCS?




                                     Item                         No Yes              Describe Interest
               3.1 Have you or your partner/spouse or
                                                                             I have over 30 peer-reviewed
               minor children or dependents ever
               authored, coauthored, or publicly provided         □    0 transgender
                                                                         publications in the field of
               an opinion related to the topics in SOCS?                              health, and most if not
               3.2 To the best of your knowledge, do
               you or your partner/spouse or minor
               children or dependents work for, or are
                                                                  ✓
                                                                       □
               you a member of an organization with a
               stated position (e.g., position statement,




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  BOEAL_WPATH_001012

                                                                  6                                 App.117
(120 of 200), Page 120 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 120 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-24 Filed 05/27/24 Page 8 of 131




                                                     WPATH
                                                     WORl.D f'ROffSSIONAL .ASSOCIATION FOR TRANSGENDER HE.ALTH


                                       Item                                       No Yes                              Describe Interest
               blog, editorial, legislature or legal testimony,
               or related document related to SOC8?
               3.3 Could recommendations in SOCS
               conflict with policies you have promoted or
               are obli ed to follow?
               3.4 Do you have a primary specialty or
                                                                                                            Primary Care
               subs ecialt ?
               3.5 Do you prescribe or otherwise
                                                                                 □ 0 academic transQender medicine
               recommend a test, therapy, treatment or                                                      I am the Medical Director for an
                 ro ram to be considered in SOC8?
               3.6 Do you or your partner/spouse or
               minor children or dependents have any                                                        I do not understand this question.
               other non-financial interests related to                                                     Everyone involved in the SOC
               SOC8?                                                                                        process has a non-financial interest
               3. 7Are you or your partner/spouse or
               minor children or dependents employed
               by an organization/company or work in a                           D 0
               field that is likely to be directly influenced by
               content in SOC8?




              I certify that the information above is true and complete. Further, I agree to update and
              resubmit this form if I enter into any new financial or non-financial relationships/roles
              related to SOCB.

              Print Nam

              Signature:

              Date:
                           1/20/2019




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                  BOEAL_WPATH_001013

                                                                               7                                                    App.118
(121 of 200), Page 121 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 121 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 1 of 228




                          EXHIBIT 176
                          REDACTED




                                                                             App.119
(122 of 200), Page 122 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 122 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 108 of 228




                  Request for emergency Board meeting
                  From:        "Deutsch, Madeline" <madeline.deutsch-
                  To:
                  Cc:          "madeline.deutsc          <madeline.deutsch-
                  Date:        Mon, 25 Oct202115:46:16-0400

                  Hello -      I'd like to request an emergency Board meeting as soon as possible to discuss
                  matters relating to a recent article in which Dr. Erica Anderson was quoted.

                  Best,

                  Maddie

                  **************************************
                  Maddie Deutsch, MD, MPH
                  Medical Director, UCSF Gender Affirming Health Program
                  Associate Professor of Clinical Family & Community Medicine
                  University of California - San Francisco

                  President-Elect, US Professional Association for Transgender Health




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                   BO EAL_WPATH_ 105132


                                                                  107                                 App.120
(123 of 200), Page 123 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 123 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 114 of 228




                                                    UNITED STATES PROFESSIONAL ASSOCIATIOtl FOR TRANSGENDER HEALTf-



               www.wpath.org/uspath       November 2, 2021
                   uspath@wpath.org

               phone: 1+(847) 752-5328    Erica Anderson, PhD
                  fax: 1+(224) 633-2166   USPATH President

                                STAFF

                                          CON Fl DENTIAL

                                                                             Via email

                                          Dr. Anderson:

              EXECUTIVE COMMITTEE
                                          This letter concerns an article published on October 4, 2021, linked here.
                             President    in which you were interviewed and quoted. In the article you were
                   Erica Anderson, PhD
                                          identified as being a member of the WPATH Board of Directors, a position
             Immediate Past-President     you held in service to the USPATH Board, as a part of your role as the
               Joshua Safer, MD, FACP
                                          President of USPATH.
                       President-Elect
            Madeline Deutsch, MD, MPH
                                          In the article, you are quoted as saying:


                                          ""It is my considered opinion that due to some of the - Jet's see, how to
                                          say it? what word to choose? - due to some of the, I'll call it just 'sloppy,'
                                          sloppy healthcare work, that we're going to have more young adults who
                                          will regret having gone through this process. And that is going to earn me
                                          a lot of criticism from some colleagues, but given what I see - and I'm
                                          sorry, but it's my actual experience as a psychologist treating gender
                                          variant youth - I'm worried that decisions will be made that will later be
                                          regretted by those making them.""


                                          You have been a member of the US PATH Board of Directors and
                                          Executive Committee in your roles as President-Elect, and then President,
                                          since 2019. At no point during your tenure in these roles have you
                                          initiated a dialogue about your concerns, created an exploratory
                                          committee or task force, or suggested any other process to investigate
                                          this matter in a manner consistent with our organization's values of
                                          open, scientific discourse, nor have you otherwise expressed this concern
                                          to the Executive Committee or the Board. You made no proposal or




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                     BOEAL_WPATH_ 105164

                                                                     113                                               App.121
(124 of 200), Page 124 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 124 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 115 of 228




                                                    UNITED STATES PROFESSIONAL ASSOCIATIOtl FOR TRANSGENDER HEALTf-



               www.wpath.org/uspath       attempt to have a symposium or discussion on this matter at the
                   uspath@wpath.org
                                          upcoming 2021 USPATH Conference. A search was conducted and no
               phone: 1+(847) 752-5328    publications or editorials in the peer-reviewed literature on your stated
                  fax: 1+(224) 633-2166
                                          concerns regarding this subject with you listed as an author or co-author
                                STAFF     were found, and to our knowledge you are not now, nor have you ever
                                          been, an investigator or co-investigator on any research study concerning
                                          the care of transgender and gender diverse youth. We intended to
                                          discuss this matter with you at the October 8, 2021, Board meeting,
                                          however you asked that it be removed from the agenda, and then
                                          informed us during the meeting that you had to leave early.

              EXECUTIVE COMMITTEE
                                          You granted an interview in the lay press with an author with known
                             President
                                          biases regarding the care of transgender and gender diverse youth,
                   Erica Anderson, PhD
                                          during a period of intense politicization and when litigation is in progress
             Immediate Past-President
                                          in multiple US jurisdictions, where legislation aims to prohibit such care
               Joshua Safer, MD, FACP
                                          by statute. You did not discuss this interview or forthcoming article with
                       President-Elect
                                          the Board in advance. Such actions sidestep and politicize the scientific
            Madeline Deutsch, MD, MPH
                                          process and demonstrate poor judgment in the discharge of your role as
                                          Board President.


                                          As such the USPATH Board of Directors is serving you with this formal
                                          letter of reprimand for such actions as described above.


                                          Regards


                                          USPATH Board of Directors




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                     BOEAL_WPATH_ 105165

                                                                     114                                               App.122
(125 of 200), Page 125 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 125 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 153 of 228




                  Re: Important Info re: Recent Washington Post Article
                  From:
                  To:
                  Cc:      marcib                          c h e c h t e - stephen.rosenth~Eli
                           Coleman
                  Date:    Wed, 01 Dec 2021 11 :29:19 -0500

                  Unfortunately, I'm about to start with my first client. Maybe we can connect briefly later.

                  Sent from my iPhone


                    On Dec 1, 2021, at 8:27 AM,                                        wrote:



                    Hi Laura
                    I am not clear what you are referring to in some of this email and would like to discuss with you
                    rather than assume as per an email. I tried calling you, but went to voicemail. My cell i -




                   -All best



                    From: Dr. Laura Edwards-Leeper<
                    Sent: Wednesday, December 1, 202111:20 AM
                    To
                                                                            Stephen.Rosenthal-Eli
                    Coleman
                    Subject: Fwd: Important Info re: Recent Washington Post Article

                    Hi

                    Thanks so much for your prompt response and assistance. I hardly slept last night (again)
                    because this is weighing on me so much. I actually received an email from one of the top
                    doctors in WPATH after I sent you the email, thanking me for the piece and sharing how much
                    these issues are also concerning him. Because I feel that time is of the essence, I've decided to
                    go ahead and send what I wrote to the people included on this email, as I know them all
                    personally. I'll leave it to you to share it with the other WPATH leaders. My fear is that if WPATH
                    continues to muzzle clinicians and relay the message to the public that they have no right to
                    know about the debate, WPATH will become the bad guy and not the trusted source; it will
                    undo all public credibility.

                    Thanks,
                    Laura

                    Laura Edwards-Leeper, PhD (she/her/hers)




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BO EAL_WPATH_ 105279

                                                                    152                                          App.123
(126 of 200), Page 126 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 126 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 154 of 228




                    Website: http://www.drlauraedwardsleeper.com/

                    Notification of Privacy Risk       Please be advised that email transmissions are capable of beingintercepted, so any confidential
                    information that is sent or received cannot have its privacy guaranteed. By requesting an emailed response lo your medical
                    inquiry, you are acknowledging that you are aware of the risks to your (or your patient's) privacy and indicating that you will take
                    responsibility for any related consequences.

                    Statement of Confidentiality        This email (and its attachments) may contain privileged or Confidential information. This
                    information is intended for exclusive use by the person (or agency) to whom it is addressed. Any use of this information (including
                    review, retransmission, or dissemination) is prohibited, except by the intended recipients. If you received this email in error, please
                    notify the sender by reply email; in addition, destroy all copies and delete the material from any computer. Thank you. [In
                    accordance with the Electronic Communications Privacy Act, 18 U.S.C.§§2510-2521.]




                    ---------- Forwarded message---------
                    From:
                    Date: Wed, Dec 1, 2021 at 5:03 AM
                    Subject: Re: Important Info re: Recent Washington Post Article
                    To:


                    Dear Laura

                    Thank you for sending, I will read again more thoroughly and forward to the appropriate people,
                    please give me some time.

                    Best regards




                       On Dec 1, 2021, at 1:30 AM, Dr. Laura Edwards-Leeper
                                                             wrote:



                       Hi-




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BO EAL_WPATH_ 105280

                                                                                   153                                                            App.124
(127 of 200), Page 127 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 127 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 155 of 228




                     I'm reaching out because I'm not sure who at WPATH I should contact. I figured you could
                     point me in the right direction or pass this on to the appropriate people.

                     As I'm sure you know, Erica Anderson and I recently had an Op Ed published in the
                     Washington Post. We worked on this for 6 months and submitted it in early September. It
                     has been a long and careful process. We had several colleagues give us feedback along the
                     way, as we are well aware that it is an extremely sensitive topic and wanted to approach it
                     in the most balanced and careful way possible. The last thing either of us want to do is hurt
                     trans people, and it is because of the harm we see happening that we wrote the piece.
                     Given that we are both incredibly supportive of WPATH and the SOC, we were sure to make
                     one of our main points in the article be that providers should be following the WPATH SOC.
                     I believe we accomplished that. I think the timing of the piece is actually perfect, given that
                     SOC 8 is coming out soon.

                     I wanted to let the WPATH leadership know that while we are aware that there are some
                     colleagues who are upset with us for doing this, we have received tremendous support for
                     taking a stand, speaking up, and highlighlighting the importance of providers following the
                     SOC. It seems that many health care providers and the general public seem to understand
                     that doing so is critical for the well-being of gender dysphoric youth.

                     I only recently started a Twitter account and I have received 1,478 likes on my page alone
                     for the article, with 587 retweets and 143 comments (as of right now). The comments on
                     the WA Post page were nearing 400 before they shut it off after just a couple of days, and I
                     would estimate 95% were positive. I have had more emails that I can keep up with from
                     people around the world, thanking us for doing the piece. These have come from many,
                     MANY parents, MANY trans people, MANY LGB people, and MANY health care providers
                     (mental and medical). Countless providers have shared that they have been afraid to speak
                     up about their concerns, but they are now going to start doing so. There is a listserve I'm on
                     (mostly pediatric trans medical doctors) and I've had medical and mental health providers
                     from that group privately message, thanking me and telling me they are too afraid to share
                     their feelings with the entire group. That group largely seems to be a dangerous echo
                     chamber that is unable to engage in constructive and critical dialogue about the state of
                     the field, which is incredibly worrisome. Jeffrey Flier, the previous dean of Harvard Medical
                     School re-tweeted the article and wrote "An outstanding, balanced article that incorporates
                     medical science, empathy, and courage." This has been the sentiment of so many others.

                     I fear that WPATH's recent stance to shut down this conversation was a huge mistake and is
                     resulting in very bad PR for the organization. If there is anything that people will fight to the
                     end for, it's their kids. It would be one thing if these were simply right-wing, religious
                     conservatives, but these parents are highly educated, liberal, and left-leaning. The majority
                     report that they will fully support their child if medical transition is in their best interest,
                     but they are furious that they cannot find providers who are following the SOC, and they
                     are in disbelief that WPATH is trying to censor the conversation.

                     Parents and others (many trans adults and detransitioners) have reached out to me to ask
                     how they can relay their concerns about what is happening in the field with WPATH. I can
                     direct them to comment on the SOCS public comments once that is released unless you
                     have a different suggestion.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105281

                                                                  154                                            App.125
(128 of 200), Page 128 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 128 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-26 Filed 05/27/24 Page 156 of 228




                     As the chair of the Child and Adolescent Committee and a member of BOTH the child and
                     adolescent SOC8 committees, I want to strongly urge WPATH leadership to carefully think
                     through the next step regarding this issue. The time is now to course correct before the
                     field completely implodes on itself.

                     I would be happy to discuss my thoughts and concerns further if that would be helpful.

                     Sincerely,
                     Laura Edwards-Leeper




                     Website: http://www.drlauraedwardsleeper.com/

                     Notification of Privacy Risk         Please be advised that email transmissions are capable of beingintercepted, so any
                     confidential information that is sent or received cannot have its privacy guaranteed. By requesting an emailed response to
                     your medical inquiry, you are acknowledging that you are aware of the risks to your (or your patient's) privacy and indicating
                     that you will take responsibility for any related consequences.

                     Statement of Confidentiality        This email (and its attachments) may contain privileged or Confidential information. This
                     information is intended for exclusive use by the person (or agency) to whom it is addressed. Any use of this information
                     (including review, retransmission, or dissemination) is prohibited, except by the intended recipients. If you received this
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       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BO EAL_WPATH_ 105282

                                                                                155                                                           App.126
(129 of 200), Page 129 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 129 of 200
                Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 1 of 193




                          EXHIBIT 180
                          REDACTED




                                                                             App.127
(130 of 200), Page 130 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 130 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 12 of 193




                   Re: Near Near Final SOCS Hormone Chapter 1 week review
                   From:
                   To:
                   Cc:
                                                HormoneSOC8 <hormonesoc8@wpath.org>
                   Date:    Thu, 04 Nov 2021 23:31 :28 -0400

                   Regarding -comments on my suggestions - it is unclear how suggestions to be more inclusive
                   result in a loss of meaning. I want to push back against the idea that being precise by adding endosex
                   will not be understood, as we can add a footnote definition or another way to make sure the meaning
                   is not lost. I would steer VERY clear from the word 'typical' when you mean endosex, i.e., not intersex.
                   This is the same push back against using cisgender which has now become a commonly understood
                   word.

                   I agree that estrogen and testosterone based regimens are not precise but they are certainly better
                   than masc/fem which creates yet another binary. I also agree that the regimens we prescribe are not
                   based on labels or identity, but rather the individual's embodiment goals which we are referring to in
                   the chapter. Does anyone have an alternative language suggestion?




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                   have received this e-mail in error, please immediately
                   notify the sender by return e-mail and delete this e-mail
                   from your computer system. Thank you.



                   On Mon, Nov 1, 2021 at 10:08 AM                                                wrote:

                     Most of the edits look great.



                     A couple of comments regarding ~uggestions to be more inclusive that I think result in a loss
                     of meaning. Re the "female" and "male" terms for ranges for hormones, puberty, etc.: I worry that
                     endosex will not be understood. Perhaps "typical" could be a qualifier that is more inclusive but
                     also clearer to a broader audience. Ditto for qualifying cis and cisgender where needed.




        CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                               BO EAL_WPATH_026200




                                                                      11                                             App.128
(131 of 200), Page 131 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 131 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 13 of 193




                    Re language to avoid saying masculinizing and feminizing, I think the suggested edits are not
                    precise. They aren't necessarily estrogen or testosterone regimens. We are moving people in
                    one direction or another on various spectra - and those are the words for the directions - which
                    are binary on some spectra. What's not binary is the degree of movement. I can't think of clearer
                    words for that. Someone non-binary identifying who comes in for medical care is still usually
                    looking for a regimen that adds to typical male or typical female features. And that is how we label
                    the treatment. It's not all or none of course ... very customized and completely independent of
                    how someone labels themselves.




                   -
                    From:
                    Date: Sunday, October 31, 2021 at 7:50 PM

                            - - - - - - - - - -




                    Subject: Re: Near Near Final SOCS Hormone Chapter 1 week review




                    Here are my edits - using the draft-sent.



                    There are several language nuances that I want to make sure we are consistent about - some are
                    in regard to excluding nonbinary people and others are excluding intersex people - when we are
                    not intending to do so.



                    Also, goodness, "an early pubertal designated male at birth" is not only a confusing mouthful, but
                    also ends up misgendering the person by using the term male to refer to them. So I came up with:
                    'a TGD adolescent with functioning testes in the early stages of puberty." There are similar edits I
                    made in order to keep things consistent and clear.



                    -   I only made edits that I thought were critical.




                    ..
        CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                              BO EAL_WPATH_026201




                                                                      12                                            App.129
(132 of 200), Page 132 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 132 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 14 of 193




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                    the information contained herein is prohibited. If you
                    have received this e-mail in error, please immediately
                    notify the sender by return e-mail and delete this e-mail
                    from your computer system. Thank you.




                    On Sun, Oct 31, 2021 at 3:36 PM
                                                 wrote:

                      Hi everybody,



                      Great to see that we are in the final stretch!



                      I made some edits as well , including to table 2 rega rding hypertension and CV risk.



                      There were several referen ces missing on the list which I added. Please check to see that they
                      are correct.



                      Happy Halloween to those who celebrate it ©




        CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             BO EAL_WPATH_026202




                                                                       13                                         App.130
(133 of 200), Page 133 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 133 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 15 of 193




                      From:
                      Sent: Sunday, October 31, 2021 10:39 AM
                      To:
                      HormoneSOC8 <HormoneSOC8@wpath.org>
                      Subject: [External] Re: Near Near Final SOC8 Hormone Chapter 1 week review



                      Hi-hiall,



                      See attached for some recent reference additions, and some minor changes in the text.



                      1 reference was missing in the reference list.



                      All the best,




        CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                         BO EAL_WPATH_026203




                                                                       14                                     App.131
(134 of 200), Page 134 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 134 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 16 of 193




                      Van:
                      Verzonden: vrijdag 29 oktober 2021 23:53:22
                      Aan: ••••••HormoneSOC8
                      Onderwerp: Re: Near Near Final SOCS Hormone Chapter 1 week review



                      Looks great.



                      A trivial tweak: The first sentence of the first paragraph of text under the first recommendation
                      should end " ... sex recorded at birth." Or" ... sex designated at birth." I know ~ i l l want the
                      latter.



                      I also added a few references:



                           1. The new primary reference for the trans man who had his egg harvested while still
                              taking testosterone for successful childbirth.
                           2. My review in JCI of the concerns raised by •or recommendation #11.
                           3. The new primary reference for the Sinai study where we found no difference in VTE risk
                              between trans people suspending versus maintaining gender affirming hormone Rx
                              throughout the peri-surgical period (notably estrogens for primary vaginoplasty).




                     -
                      From:
                      Date: Friday, October 29, 2021 at 8:20 AM
                      To: HormoneSOC8 <HormoneSOC8@wpath.org>
                      Subject: Near Near Final SOCS Hormone Chapter 1 week review




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                                                                    15                                             App.132
(135 of 200), Page 135 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 135 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 17 of 193




                      Dear Hormone Chapter Members,

                      We are almost at the finish line! The chapter has undergo reference checkers,
                      language editing and review by the co-chairs. This is almost ready to be
                      finalized.



                      Please see the attached draft that will be finalized shortly. Here are some
                      instructions.

                          1. Please review and add any KEY references to sentences that you think
                             needs additional references. There have been some important papers
                             published this year so we may have missed some. I have not heard of
                             any limit of publication date.
                          2. If there is an error, please flag it. Some of the editing may have changed
                             the meaning of a sentence. Please suggest a rewording of the sentence.
                             Please leave the "light editing" for the journal. We are looking for major
                             edits where meaning has inadvertently changed.
                          3. We need these back by November 8. The deadline will not be extended.
                             You have already seen many versions of this so hopefully it will not take
                             too long. I might suggest looking at the statements first then your
                             sections then the other sections.
                          4. Please use "Tracked changes"

                      Thank you very much




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                                                            16                                      App.133
(136 of 200), Page 136 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 136 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 60 of 193




                  Re: question for the surgeons
                  From:    Eli Coleman <dreli
                  To:      Jon Arcelus <jon.arcelu
                  Cc:      Scott Leibowitz <scottleibowitzm-lorenschechte- S ~
                           <stan.monstre             , Annelou Devries <alc.devrie~, a s a . r a d i ~
                           vtangpr
                  Date:    Wed, 06 Oct 2021 09:00:21 -0400

                  at their age - they would not know what they want - but I think the same informed consent as we do for
                  reproductive health.

                  On Wed, Oct 6, 2021 at 7:56 AM Jon Arcelus <Jon.Arcelus                               wrote:
                   This is something that Marci mentioned in the Gothenburg meeting and then she spoke to you,
                    Scott about it too, I believe. It will make sense if is not there to add information which will be clinical
                    more than academic regarding the effect of starting on blockers in early puberty on the type of
                   surgery for vaginoplasty that they will be able to have in the future with more possible
                    complications from it (if using the colom), but of course not every tranwoman wishes vaginoplasty

                    Prof. Jon Arcelus Alonso. MD. PhD
                    Professor (Full) of Mental Health and Transgender Health

                    Honorary Consultant in Transgender Health
                    Associate Editor of the International Journal of Trans gender Health (IF 5. 33)
                    Co-Chair of the Standards of Care 8th Edition (World Professional Association of Transgender Health-
                    WP ATH)

                    Academic Address:




                    Clinical Address:




                    Academic secreta
                    From: Eli Cole
                    Sent: Wednesday, October 6, 2021 2:49:43 PM
                    To: Scott    •   • <scottleib
                    Cc: Loren'               =='-'-=                              n Monstrey _
                                                                                           •   Jon Arcelus
                    <                                                               di            ; Tangpricha, Vin
                    <vtan                ,
                    Subject: Re: question for the surgeons

                    I think so. I don't know what the evidence base is for this - but it seems that there is a concern and
                    might need to be part of informed consent.

                    On Wed, Oct 6, 2021 at 7:41 AM Scott L e i b o w i t z < - wrote:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                    BOEAL_WPATH_ 105025


                                                                       59                                             App.134
(137 of 200), Page 137 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 137 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 61 of 193




                     Thank you. Do you think it is important to address?

                     Sent from my iPhone


                       On Oct 6, 2021, at 8:32 AM, Loren's-lorenschechter1                           wrote:


                       Hello Scott

                       I have seen the article (and spoken with Marci)

                       We do not specifically address the impact of gnrh agonists on surgery. We do discuss the
                       multidisciplinary approach when considering surgery on adolescents

                       Thanks

                       Loren

                       Sent from my iPhone


                         On Oct 6, 2021, at 6:53 AM, Scott Leibowitz < - w r o t e :




                         Hi all,



                         Something tells me we are all aware of this article:

                         https://bariweiss.substack.com/p/top-trans-doctors-blow-the-whistle



                         In it, there are concerns about the surgical implications of blockers from WPATH
                         leadership, and this has made its way across the airwaves with responses indicating
                         that the SOC is addressing this issue. However, this is something that we currently do
                         not address in our chapter since there's no specific research article to cite on the
                         subject. That being said, it's a rather large point of discussion, and I believe it's an
                         unavoidable subject that really does need to be addressed. Personally I think that
                         discussing the hypothetical risks of blockers, including the potential effect on surgical
                         outcomes and sexual health, is something that should be mentioned when getting
                         consent from parents/caregivers for use of blockers. I know that I do this when
                         working with families and it is greatly appreciated by families.



                         Not having seen the surgery chapter, I want to double check if it is in that chapter. If
                         not, how do we envision SOC addressing this- in the Adol chapter?



                         Thanks all,




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                                                                  60                                            App.135
(138 of 200), Page 138 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 138 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 62 of 193




                          Scott




                             Eli Coleman, PhD.
                             Academic Chair in Sexual Health
                             Professor
                             and Director
                             The Institute for Sexual and Gender Health
                             University of Minnesota Medical School
                             Family Medicine and Community Health
                             sexualhea!th.umn.edu




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                           Eli Coleman, PhD.
                           Academic Chair in Sexual Health
                           Professor and Director
                           The Institute for Sexual and Gender Health
                           University of Minnesota Medical School
                           Family Medicine and Community Health
                           sexua!health.umn.edu




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                                                                          61                 App.136
(139 of 200), Page 139 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 139 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 63 of 193




                  Re: Friday Agenda for Mental Health Mentors/Anything else
                  to add?/ REQUEST TO RECORD
                  From:    Lin Fraser < l i n f r a s e -
                  To:      dber
                  Cc:

                  Date:    Wed, 13 Oct 2021 01 :28:42 -0400

                  Dear-

                  Can you please be prepared to record Friday's meeting?

                  We will check at the beginning of the meeting to make sure that no one objects.

                  I am happy to check with EC unless you would like to do so.

                  Best,

                  Lin




                    On Oct 12, 2021, at 10:22 PM, Dianne Berg < ~ wrote:

                    I have been followin this thread from afar
                                                                                             He has terrible internet
                    and the hotspot on my phone is not always reliable. I really want to be able to be at this meeting
                    but may not be able to be for a variety of reasons so I hope it can be recorded.
                    Take care everyone,
                    Dianne

                              Dianne Berg, PhD LP, (she/her)
                              Assistant Professor
                              The Institute for Sexual and Gender Health
                              Co-Director, National Center for Gender Spectrum Health
                              Coordinator, Child and Adolescent Gender Services, Center for Sexual Health
                              University of Minnesota Medical School
                              Family Medicine and Community Health
                              sexua!health.umn.edu
                              dberq
                                WPATH GEi SOC? Certified Mentor
                                AASECT Certified Sex Therapist and Sex Therapy Supervisor

                               "Our lives begin to end the day we become silent about things that matter."
                                --MLK Jr.

                                "Light will move through broken places. Soften the edges of empty spaces."
                                 --the album Book of Rounds by October Project




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_ 105071

                                                                           62                                   App.137
(140 of 200), Page 140 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 140 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 64 of 193




                    On Tue, Oct 12, 2021 at 6: 19 PM                                           wrote:
                      I'm not clear on which "agreement regarding the value of blockers" is required to be espoused
                      by a WPATH member/mentor.

                      My understanding is that a global consensus on "puberty blockers" does not exist.



                        Yeppp,

                        And have something to say about that as well, but will defer until Friday @@@




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                        On Oct 12, 2021, at 3:55 PM,                                         wrote:


                        No argument -with what you said

                        My point was I think all of us are (generally) in agreement
                        regarding the value of blockers. It is well-worth our time, of course,
                        to be knowledgeable about the research and be able to back up our
                        experience with research. I have in my professional life lots of
                        time/ experience with that part of this process.

                        What I personally have much less of (because so much time is
                        caught up in the stuff above) is talking with colleagues about how
                        to respond to "sloppy" clinical work by my peers. That's what I




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_ 105072


                                                                  63                                           App.138
(141 of 200), Page 141 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 141 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 65 of 193




                       thought was so brave about Marci and Erica's very public
                       statements (and I have spoken with both of them privately about
                       this for many years).

                       Do we agree that some folk are doing "sloppy" work (that would
                       not be my language btw), and if so, what (if anything) is my
                       responsibility in this ... or WPATHs. I could use support in
                       knowing how to manage this .


                      •                                      wro e:
                        Just making sure, that's all - since the term sloppy was used by one of the
                        interviewees.

                        By the same token, stating that "blockers are good," is not enough. There has already
                        been an alarming lack of precise statements that landed us all in this pickle in the first
                        place; when mentees come to us with questions, it's not just where to find the answers,
                        but also being comfortable discussing them. This means leaning on verified data in
                        peer reviewed papers and knowing what's in them.

                        Not sloppy = accurate,




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                        On Oct 12, 2021, at 2:56 PM,                                           wrote:


                        Did something I say infer that I wanted to talk about either
                        Marci or Erica specifically?
                        That was not my intention.




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                                                                 64                                            App.139
(142 of 200), Page 142 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 142 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 66 of 193




                        My intention was to suggest we discuss what is good healthcare
                        and what is subpar. And what position we take as mentors in our


                        -
                        community regarding the topic

                        On Tue, Oct 12, 2021 at 5:13 PM

                          Well,

                          I expect my fellow mentors not to discuss Marci or Erica but instead come up with
                          science based facts re blockers.

                          Just arguing that blockers are good - it's not enough.

                          Best,




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                          information is strictly prohibited.


                          On Oct 12, 2021, at 2:07 PM,                                           wrote:


                          Soooo
                          I bulleted those issues because that's kinda how my brain
                          works, to separate out all the issues on the table. I was not
                          necessarily making an agenda

                          I *think* (generally speaking) the first issue is not really an
                          issue for our group. We all know that blockers are a good
                          thing for some kids, and we know that ROGD is not a "thing."

                          I personally would like to discuss the issue of "sloppy
                          healthcare" (being called out on this, being called out by "one
                          of our own," and the difficulty in discussing the topic of what




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_ 105074


                                                                 65                                            App.140
(143 of 200), Page 143 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 143 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 67 of 193




                          constitutes competent healthcare that is also affirming) and
                          what our work is as competent affirming therapists to ensure
                          that our colleagues are practicing at the highest level (or is
                          that part of our job as colleagues or WPATH members, or
                          WPATH representatives?).
                          I think this is the core issue(s) for us to wrangle with.

                          And I am happy to give examples of things I've seen that are
                          problematic if y'all think that will be helpful.

                          I also think the issue of cis versus (not the best word) trans
                          voices will likely become relevant.

                          Best




                                 • The actual challenges/issues/concerns re: blockers/hormones
                                 • Media representation and what we say or do not say publicly versus with our
                                   colleagues
                                 • How WPATH "looks" in the news, and our responsibilities as members and
                                   mentors to that process
                                 • Developing more sophisticated treatment approaches as well as media
                                   representation that stops this "them/us" dynamic that is what all US politics are
                                   about right now
                                 • Addressing the issue raised about "sloppy healthcare" in this field and what is and
                                   is not evidence-based care.
                                 • Space to discuss controversy without "canceling" humans with diverse opinions.


                          On Tue, Oct 12, 2021 at 2:07 PM Lin Fraser<                               > wrote:
                           Dear Mental Health Mentors,

                           Please let me know other topics/cases for discussion so we can be thinking about our
                           agenda in advance. Please be discreet. Note the statement that just came out today from
                           WPATH/USPATH Boards about keeping our discussions within WPATH.

                           I think- list below summarized the issues qnite nicely, but we had other
                           recommendations.

                           It would be good if we could discuss cases that demonstrate some of these issues.


                                   • The actual challenges/issues/concerns re: blockers/hormones
                                   • Media representation and what we say or do not say publicly versus with our
                                     colleagues




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_105075

                                                                    66                                               App.141
(144 of 200), Page 144 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 144 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 68 of 193




                                 • How WP ATH "looks" in the news, and our responsibilities as members and
                                   mentors to that process
                                 • Developing more sophisticated treatment approaches as well as media
                                   representation that stops this "them/us" dynamic that is what all US politics are
                                   about right now
                                 • Addressing the issue raised about "sloppy healthcare" in this field and what is
                                   and is not evidence-based care.
                                 • Space to discuss controversy without "canceling" humans with diverse
                                   opinions.


                           And what else? Does anyone have a different kind of mentor case?

                           And keep in mind that we will have an hour and a half

                           Many thanks,

                           Lin

                           Dr Lin Fraser EdD




                           Past President World Professional Association for Trans gender Health (WP ATH)
                           Co-Chair, Ethics Committee (WPATH)
                           Co-Founder, Course Developer, Trainer & Lead, Mental Health Mentor Program; Global
                           Education Institute, (GEl)
                           Board Certified TeleMental Health Provider
                           MFT8288/LPCC 1816/BC-TMH1320




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105076


                                                                  67                                                   App.142
(145 of 200), Page 145 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 145 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 69 of 193




                          "The paradox of education is precisely this - that as one begins to become
                          conscious one begins to examine the society in which he is being educated. "James
                          Baldwin

                          "Keep looking at the bandaged wound. That's where the light enters you." Rumi


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                                                                68                                           App.143
(146 of 200), Page 146 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 146 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 70 of 193




                        "The paradox of education is precisely this - that as one begins to become conscious
                        one begins to examine the society in which he is being educated. "James Baldwin

                        "Keep looking at the bandaged wound. That's where the light enters you." Rumi


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                                                                  69                                             App.144
(147 of 200), Page 147 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 147 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 71 of 193




                       "The paradox of education is precisely this - that as one begins to become conscious one
                       begins to examine the society in which he is being educated. "James Baldwin

                       "Keep looking at the bandaged wound. That's where the light enters you." Rumi


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                                                                  70                                           App.145
(148 of 200), Page 148 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 148 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 72 of 193




                  Re: "Science Vs" Cited Seven Studies To Argue There's No
                  Controversy About Giving Puberty Blockers And
                  Hormones To Trans Youth. Let's Read Them.
                  From:
                  To:
                  Cc:



                  Date:

                  Try to write a short paragraph. That couild be a start.

                  Eli

                  On Mon, Jun 13, 2022 at 5:19 AM Vries, A.L.C. de                                 wrote:
                    The point is; it is not only about research evidence (so research will never persuade
                    everyone), but also about ethics (what is good care), transgender and children's rights
                    and politics(!).

                    Very complex how to adress all these best.

                    Annelou




                    Van: Eli Coleman
                    Verzonden: zondag 12juni 2022 19:37
                    Aan: Dr. Marci Bowers
                    CC: Vries A.LC. de<




                    Onderwerp: Re: "Science Vs" Cited Seven Studies To Argue There's No Controversy
                    About Giving Puberty Blockers And Hormones To Trans Youth. Let's Read Them.

                    I think it would be good for WPATH to convene a research summit to address the research needs
                    and find a way to develop some research studies and incentivize people to conduct more
                    outcome-based research.




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                                                                     71                                      App.146
(149 of 200), Page 149 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 149 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 73 of 193




                    Eli

                    On Sun, Jun 12, 2022 at 12:34 PM Dr. Marci Bowers<                                   wrote:
                      Interesting but highlights the difficulty in picking an endpoint for therapeutic efficacy and use of
                      early puberty blockade- is it ....
                     A. Reduction in suicidality? Difficult to prove
                      B. Improvement in psychosocial functioning? Easier to prove but at what cost. ... As we learn
                      more about the difficulties associated with confirming surgeries, adulthood and longterm
                      happiness.

                      Ultimately, we must regain scientific credibility by objectively tracking outcomes, intended or not
                      even ifwe discover problems with our original hypothesis.

                      Kindly ......

                      Marci Bowers MD
                      WPATH President-elect
                      Trevor Project Board of Directors




                      Standing tall in times of darkness


                          On Jun 12, 2022, at 6:11 PM, Eli Coleman                       wrote:




                          If you have not seen ...

                          ---------- Forwarded message ---------
                          From:
                          Date: Fri, Jun 10, 2022 at 6:15 PM
                          Subject: "Science Vs" Cited Seven Studies To Argue There's No Controversy About Giving
                          Puberty Blockers And Hormones To Trans Youth. Let's Read Them.
                          To:




                          https://jessesinqal.substack.com/p/science-vs-cited-seven-studies-to?s=r


                          "Science Vs" Cited Seven Studies To
                          Argue There's No Controversy About
                          Giving Puberty Blockers And Hormones To
                          Trans Youth. Let's Read Them.
                          The show is strikingly selective in its skepticism




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105442


                                                                     72                                             App.147
(150 of 200), Page 150 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 150 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 74 of 193




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                                                                   73                                        App.148
(151 of 200), Page 151 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 151 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 75 of 193




                       Science Vs, a leading science journalism podcast produced by Gimlet, is dedicated to
                       cutting through misinformation and politicization and delivering its listeners the truth. The
                       show "takes on fads, trends, and the opinionated mob to find out what's fact, what's not,
                       and what's somewhere in between."

                       In March, it published an episode called "Trans Kids: The Misinformation Battle" that
                       seriously misled listeners about the quality of the evidence for youth gender medicine -
                       that is, puberty blockers and cross-sex hormones. Worse, the show engaged in some
                       rather irresponsible fearmongering on the subject.

                       The exchange in question came during a conversation between host Wendy Zukerman
                       and psychiatrist Jack Turban, who is one of the most commonly quoted and enthusiastic
                       advocates for youth gender medicine. It originally went like this, according to the show·s
                       transcript. with the discussion between Zukerman and Turban set in italics and points
                       where Zukerman is addressing listeners directly set in plain text:

                          [Zukerman:] So overall, hormones have some risks, and they're not easily reversible
                          - but the top dogs in this space, they're all on board with this - not only hormones
                          but puberty blockers too.-

                          [Turban:] American Medical Association{Jlfil, the American Academy of
                          Pediatricsf11§l the American Psychiatric Associationf117l, the American Academy of
                          Child and Adolescent Psychiatry{1181, I could go on and on

                          [Zukerman:] Not controversial at all?

                          [Turban:] No

                          [Zukerman:] And the reason that it's not controversial is because - again - we need
                          to look at what happens if you do nothing. Like you don't allow your kid to go on
                          hormones. And just last month - a study from Seattle was published looking at just
                          this. It had followed about 100 young adults, and compared those who got this
                          gender affirming care - to trans folks who didn't.[11fil And they found that while those
                          who got this treatment ultimately felt better afterwards,[1201 those who didn't felt
                          worse and worse.I1.lll And by the end of the study, those who got gender affirming
                          care were 73% less likely to have thoughts of killing themselves or hurting
                          themselves.[1221 Other research suggests the same
                          thing.(1231(1241(1251(1261(1271(1281




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105444


                                                                   74                                             App.149
(152 of 200), Page 152 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 152 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 76 of 193




                       Let's linger on this for a moment. These treatments are utterly uncontroversial, Zukerman
                       said, because of "what happens if you do nothing. Like you don't allow your kid to go on
                       hormones." Following that was a summary of a recent study that -        Zukerman claimed -
                       found that access to gender-affirming medicine (henceforth GAM) led to reduced
                       suicidality among young adults1.

                       Zukerman is clearly saying that if you, the parent listening, have a kid who wants to go on
                       hormones, and you don't put them on hormones, you risk raising the probability they will
                       become suicidal and/or attempt suicide. This is a profoundly serious claim -      an invocation
                       of every parent's worst nightmare - so one would hope that it's backed by nothing but
                       ironclad evidence.

                       But that isn't the case. The study Zukerman referenced, which was published in a JAMA
                       Network Op n study by PhD student Diana Tordoff and her colleagues in February. didn't
                       come close to finding what its authors claimed. I explained its many crippling flaws here in
                       April -   the post is long, but if you want to understand how aggravating it is that
                       mainstream science outlets are treating this research so credulously, you should read it.
                       The short version is that, in a sample of kids at a gender clinic, those who went on GAM
                       didn't appear to experience any statistically significant improvement on any mental health
                       measure (here's a primer on what "statistically significant" means -     it is going to come up
                       a lot in this article). So Zukerman's claim that "those who got this treatment ultimately felt
                       better afterwards" was completely false, directly contradicted by the paper's
                       supplementary material.

                       In early May, Robert Guttentaq, a UNG-Greensboro psychologist, bcc'ed me on a
                       thoughtful email he sent to the show's producers highlighting what he viewed as flaws with
                       the episode. I forwarded the email to the show to make sure the producers saw it, and
                       argued that they had badly misrepresented the Tordoff study. To the show's credit, later in
                       the month I got an email from the "Science Vs Team" in which they acknowledged they'd
                       made an error: "We now realize we had misread the paper - which had found a
                       difference between the treatment group and the control group, not a significant change
                       before and after the treatment. We have adjusted the study description in our episode[.]"

                       Unfortunately, they also said they stood by the idea that this is a quality study that adds to
                       the evidence base for youth gender medicine: "Thanks for bringing this to our attention.
                       We chose to call out this paper because, while it isn't perfect, it had some advantages to
                       other studies looking at this. For example, it had a control condition and followed patients




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105445


                                                                    75                                            App.150
(153 of 200), Page 153 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 153 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 77 of 193




                       prospectively rather than retrospectively. Because it's replicating the beneficial effect of
                       gender-affirming healthcare that several other studies have found, we feel confident about
                       the take-away overall."

                       I'm glad the show issued a partial correction, but this is still dismaying. First, it's worrisome
                       that the Science Vs team thinks there was a genuine "control condition" in the Tordoff
                       study that makes it stronger than previous research on the subject. There really wasn't. It
                       was a 12-month study that started with 104 kids, but by the final follow-up a grand total of
                       seven kids were left in the no-medicine group:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105446


                                                                    76                                              App.151
(154 of 200), Page 154 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 154 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 78 of 193




                       As I noted at the time, "Overall, according to the researchers' data, 12/69 (17.4%) of the
                       kids who were treated left the study, while 28/35 (80%) of the kids who weren't treated left
                       it." The authors offer no explanation as to why this was the case, no explanation why some
                       kids went on blockers or hormones and others didn't, and little reason for us to trust that
                       any observed differences between the groups are attributable to accessing GAM rather
                       than any of a host of other potential confounding factors. (In the course of writing this post,
                       I noticed that I myself called the no-medicine kids a "control" group once in my April write-
                       up, which was a mistake, but I just fixed it.)

                       The headline difference between the two groups' outcomes -          which really boiled down
                       not to the treatment group improving but to the non-treatment group supposedly getting
                       worse -   was generated by highly questionable methodological choices, as I detailed at
                       length. When I asked a leading expert on the specific statistical technique the authors
                       used about this paper, he professed surprise they'd employed this technique, and raised a
                       separate, potentially significant problem with their statistical model (basically, that the
                       model factored in data from 17 kids -     almost a fifth of the initial sample - who showed
                       up at the clinic one time for an initial assessment and then dropped out of the study,
                       despite the fact that their data can't tell us anything about anything since the subjects
                       weren't tracked over time).



                       don't require much statistical sophistication to understand. This is an extremely weak
                       study, and it definitely doesn't have anything like a "control group" in the traditional sense.
                       It isn't a stretch to claim that it tells us nothing about the question at hand, other than that,
                       according to the researchers' own methods, kids who went on blockers and/or hormones
                       in this particular clinical sample did not get less suicidal, depressed, or anxious over time.
                       That's a small, useful nugget of knowledge to add to our understanding of this issue, but
                       it's not an encouraging one for advocates of youth gender medicine.

                       The authors are quite opaque about their methods, and we could better understand what
                       they found (and didn't find) if they would share their data. That would allow other
                       researchers to poke around, see which of their findings are robust to different
                       methodological choices, and so on. Tordoff claimed in an email to me that her team
                       "provided the raw data in the supplement for transparency," but when I emailed her back to
                       point out that no, the data weren't available online, she stopped responding. A
                       spokesperson for her university, the University of Washington-Seattle, subsequently
                       confirmed to me that her team refused to share its data.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                    BOEAL_WPATH_ 105447


                                                                     77                                               App.152
(155 of 200), Page 155 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 155 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 79 of 193




                       Despite all this, Science Vs continues to present this study to the public as solid recent
                       evidence for the efficacy of puberty blockers and hormones. That's bad and misleading
                       science communication -        irresponsible, I'd argue, given the seriousness of the subject
                       and given Zukerman's scary claim about the ramifications of not allowing kids to go on
                       youth gender medicine. This study absolutely does not provide us with anything like a
                       clean, statistically tenable comparison between kids who did and didn't go on blockers or
                       hormones.

                       Part of Science Vs's argument for accepting the study despite its shortcomings is that it is
                       "replicating the beneficial effect of gender-affirming healthcare that several other studies
                       have found." (Tordoff has claimed similarly: "Our study builds on what we have already
                       seen from an already staggering amount of scientific research," she==--=:..:....;:;="--" called
                       Healthday News. "Access to gender-affirming care saves trans youth's [sic] lives.") This
                       clashed with my own understanding of the evidence base here, at least when it comes to
                       decently rigorous research, so it made me wonder about Science Vs's overall approach to
                       the issue. What studies did the show's producers read that make them so confident that
                       there's a clear consensus here? I decided to take a close-bordering-on-obsessive look at
                       the research in question.

                       As you can likely already tell, this is going to be a long post. My goal when I go this deeply
                       on a subject is to produce work that will be useful and durable. Hardly anyone has closely
                       compared the claims surrounding youth gender medicine to the research itself to see
                       whether the two match. Science Vs offers us a useful opportunity here, because it's a
                       show that prides itself on its accuracy and rigor, and because (as we'll see) it takes an
                       admirably transparent approach that makes this sort of exercise easier.

                       If this article is too long for a lot of potential readers, so be it -   it's here if and when you
                       find it useful, and I don't think this issue is going away anytime soon.


                       But First, A Word On The "Top Dogs"

                       (This section is completely skippable if you are interested only in the question of what
                       studies Science Vs used to support its claim that youth gender medicine is uncontroversial
                       and what those studies actually say.)

                       I don't want to be accused of ignoring Zukerman's claim that the "top dogs" are all on
                       board with youth gender medicine. After all, if all the experts really are on the same page
                       about this, and have done their homework, I could be accused of nitpicking if I found




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                     BOEAL_WPATH_ 105448


                                                                       78                                               App.153
(156 of 200), Page 156 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 156 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 80 of 193




                       weaknesses with Science Vs's specific choices of study citations. Maybe there are a
                       bunch of other studies, cited by the major authorities in this space, that do show there's no
                       controversy here.

                       Here's what Science Vs said about those top dogs and the citations it used to defend its
                       claims:

                           [Zukerman:] So overall, hormones have some risks, and they're not easily reversible
                           - but the top dogs in this space, they're all on board with this - not only hormones
                           but puberty blockers too.-

                           [Turban:] American Medical Associationf115l, the American Academy of
                           Pediatricsf11§L the American Psychiatric Associationf117l, the American Academy of
                           Child and Adolescent Psychiatrvf1187, I could go on and on

                       In my experience, this is a common response to anyone who expresses qualms about the
                       evidence for youth gender medicine. And in general, it's surely better to trust major
                       medical and psychological organizations than to reflexively distrust them. But this
                       particular issue is complicated and politically fraught, and I've found that often, if you
                       closely examine the documents published by these organizations in support of youth
                       gender medicine -    or in opposition to attempts to ban it (I am gg,Q_QQ_~ed to such bans)
                       -   they fail to adhere to basic standards of accurate science communication and rigor.
                       Their biggest problem is citational mischief: They make claims, and then link those claims
                       to research that doesn't actually support them.

                       I'm going to do only a brief treatment here that hopefully will show why I don't take Science
                       Vs's top-dogs argument seriously: All of the documents here are either irrelevant or
                       contain plainly misleading citations.

                       The American Medical Association document is "Health insurance coverage for gender-
                       affirming care of tran gender patients," an "Issue Brief' coauthored by that organization
                       and an organization called GLMA: Health Professionals Advancin                         • . A key
                       claim in it: "Recent research demonstrates that integrated affirmative models of care for
                       youths, which include access to medications and surgeries, result in fewer mental health
                       concerns than has been historically seen among transgender populations." The footnote
                       points to this study. this study. and this study. None of the three studies includes any
                       outcome data at all. It's very bad form for the AMA -    an organization that we would hope




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_ 105449


                                                                    79                                               App.154
(157 of 200), Page 157 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 157 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 81 of 193




                       would adhere to the highest standards of evidence - to claim X, and then point to not one
                       but three studies that offer no statistical evidence in support of X.

                       The American Academy of Pediatrics document is "Ensuring Comprehensive Care and
                       Support for Tran gender and Gender-Diverse Children and Adolescents " a "Policy
                       Statement" published in Pediatrics. It's written to be a general rundown of these issues for
                       medical providers, and it barely touches on the evidence question. It does include the
                       claim that 'There is a limited but growing body of evidence that suggests that using an
                       integrated affirmative model results in young people having fewer mental health concerns
                       whether they ultimately identify as transgender.24,36,37" That's a strikingly similar
                       sentence to the AMA/GLMA one. And sure enough, those three endnotes are ... the exact
                       same three citations, in the same order, as are found in the AMA document. You know, the
                       ones that offer no evidence about the outcomes of kids who go through this protocol.

                       I can't come up with any other explanation for the similarities in sentence structure,
                       citations, and citation order between the AAP and AMA documents other than 1) the AMA
                       document cribbed from the AAP document (which came out earlier), or 2) both documents
                       adopted copy from some third source that was subsequently tweaked a bit. Either way,
                       none of this suggests that a high level of critical, independent thinking went into these
                       documents.

                       The American Psychiatric Association citation points to two documents. The first is "Best
                       Practices" from "A Guide for Working With Tran gender and Gender Nonconforming
                       Patients." This document has nothing to do with the debate at hand - there's no mention
                       of youth treatment anywhere. The "Medical Treatment and Su qical Interventions" section
                       of the document, for example, deals entirely with adults, with not a puberty blocker in sight.
                       So Science Vs is simply pointing us to an irrelevant citation.

                       The second APA document is "Position Statement on Treatment of Tran gender               rans)
                       and Gender Diverse Youth." That one includes the sentence "Trans-affirming treatment,
                       such as the use of puberty suppression, is associated with the relief of emotional distress,
                       and notable gains in psychosocial and emotional development, in trans and gender
                       diverse youth." The citation supporting that claim points to ... oh, there isn't one. Okay.

                       Finally, the American Academy of Child & Adolescent Psychiatry: That document is
                       "AACAP Statement Respond in to Efforts to ban (sic) Evidence-Based Care for
                       Tran gender and Gender Diverse Youth." To repeat myself, I agree completely with the
                       position expressed in the document (it can be true both that we don't have a lot of great




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105450


                                                                    80                                               App.155
(158 of 200), Page 158 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 158 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 82 of 193




                       evidence for youth gender medicine and that having legislators ban it outright is a terrible
                       idea likely to do far more harm than good), but again, there's citational mischief.

                       The sentence "Research consistently demonstrates that gender diverse youth who are
                       supported to live and/or explore the gender role that is consistent with their gender identity
                       have better mental health outcomes than those who are not (3, 4, 5)" points to



                       The first is a study that can't provide any information on the question at hand (there is no
                       comparison group of less-supported kids)2.

                       The second document is a study concerned with a group of 245 LGBT kids (of whom only
                       9% were trans) and that found, as you'll see on Tables 2 and 3, no statistically significant
                       links, among those trans kids, between family support and positive outcomes on six of the
                       seven measures3. (This could be a sample size thing but a lot of the effect sizes are tiny
                       and one of the odds ratios, on a suicide measure, points in the wrong direction.) The third
                       is a Substance Abuse and Mental Health Services Administration document prepared by
                       the author of the aforementioned study. It contains a bunch of citations, including to that
                       study, which, as you'll remember from five seconds ago, didn't really show a link between
                       family acceptance and well-being among the tiny group of trans kids studied.

                       To be clear, I'm not even skeptical of the claim that all else being equal, family support is
                       generally linked to better outcomes among trans youth! I'm just saying these documents
                       are written in a sloppy manner and that their citations often don't come close to justifying
                       the text to which they are affixed.

                       So yes, it is technically true that the "top dogs" have published documents supporting
                       youth gender medicine. The quality of those documents is another story.


                       Back To Science Vs And These Studies On Blockers And Hormones

                       Like I said, Science Vs deserves credit for its transparency -   it releases show transcripts
                       that feature many endnotes ostensibly backing up its specific claims, which is something a
                       lot of outlets don't do.

                       The relevant, post-correction portion of the           for "Trans Kids: The Misinformation
                              "which comes right after the "top dogs" claim, now reads:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_ 105451


                                                                   81                                            App.156
(159 of 200), Page 159 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 159 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 83 of 193




                          And the reason that it's not controversial is because - again - we need to look at
                          what happens if you do nothing. Like you don't allow your kid to go on hormones.
                          And just last month - a study from Seattle was published looking at just this. It had
                          followed about 100 young adults, and compared those who got this gender affirming
                          care - to trans folks who didn't.111§lJ And they found that wl:lile tl:!Gse wl:Jg ggt tl:lis
                          treatment blltimately felt l:Jetter after:wards,£14Ql tl:!Gse wl:Jg gign't felt wgrse ang
                          '"'Grse.f:1211 ,.. ng l:Jy tl:le eng gf tl:le stb19Y, those who got gender affirming care were
                          73% less likely to have thoughts of killing themselves or hurting themselves.[122]
                          Other research suggests the same thing.(1231(1241(125)(1261(1271(1281

                       I think the revised summary of the Tordoff study is still quite misleading in light of all the
                       above issues, but setting that aside, you'll see that Science Vs also cites not one but six
                       other studies to justify its claim that Tordoff and her team basically just replicated an
                       already-established finding. (Zukerman only mentions "allow(ing] your kid to go on
                       hormones," but I think it's quite clear from context, and from the citations, that she's talking
                       about both hormones and blockers. The Seattle study is itself about both, and "hormones"
                       is sometimes used loosely to refer to both treatments.)

                       Let's list the papers in question and label them for ease of reference:

                       Study 1 [endnote 123]: Turban JL, Beckwith N, Reisner SL Keuroghlian AS. Association
                       Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological
                       Distress and Suicide Attempts Among Tran gender Adults. JAMA
                       Psychiat y.2020:77(1):68-76

                       Study 2 [endnote 124]: Kuper LE Stewart S, Preston S, Lau M, Lopez X. Body
                       Dissatisfaction and Mental Health Outcomes of Youth on Gender-Affirming Hormone
                       Therapy. Pediatrics. 2020 Apr:14514):e20193006

                       Study 3 [endnote 125]: de Vries AL McGuire JK Steensma TD Wagenaar EC




                       Study 4 [endnote 126]: Costa R, Dunsford M, Skagerbe g E, Holt V Carmichael P
                                                                      Su    ression and Ps chosocial Functionir            in
                       Adolescents with Gender Dysphoria. The Journal of Sexual Medicine. 2015
                       Nov:12(11):2206-14




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                        BOEAL_WPATH_ 105452


                                                                      82                                                   App.157
(160 of 200), Page 160 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 160 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 84 of 193




                       Study 5 [endnote 127]: Achille C. Taggart T., Eaton N. R., Osipoff J., Tafuri K., Lane A.
                       Wilson T. A. (2020). Longitudinal impact of gender-affirming endocrine intervention on the
                       mental health and well-being of transgender youths: preliminary results. lnlemational
                       Journal of Pediatric Endocrinology. 2020, 8

                       Study 6 [endnote 128]: Turban JL King D, Kobe J, Reisner SL, Keu ghlian AS. Access
                       to gender-affirming hormones during adolescence and mental health outcomes among
                       tran gender adults. PLOS ONE17(1): e0261039

                       For each study, I'll paste the exact language Science Vs included in its show endnotes,
                       which is always just a quote from the study itself, and then explain what the study actually
                       shows. The links within each quote, which the producers added, point to the papers
                       themselves.

                       Study 1: "Fortran gender adults who recalled gender identity conversion efforts before
                       age 10 years, exposure [to those efforts] was significantly associated with an increase in
                       the lifetime odds of suicide attempts."

                       This study has some pretty major flaws -                                             I'm generally sympathetic to this letter to the
                       editor critiquing it, which we'll return to a bit later in a different context -                                                  but even setting
                       that aside, it has nothing to do with gender-affirming medicine, which is the issue at hand.
                       It's irrelevant to this debate. (To be clear, I'm against any sort of genuine conversion
                       therapy! But if you read the critique, you'll see that this study might not be accurately
                       capturing the subset of kids who experienced it.)

                       Study 2: "Lifetime and follow-up rates were 81 % and 39% for suicidal ideation, 16% and
                       4% for suicide attempt[.]"

                       This is a study of kids who went through a Dallas gender clinic to obtain puberty blockers
                       and/or hormones. (The New York Times' news podcast The Daily did a really good two-
                       [@!! series on what's going on in Texas, including the state's Republican leadership's

                       disgraceful efforts to shut this clinic down - though, thankfully, a recent court order
                                                                               L...:...C:re:...::o=e-'--'n..::.ed;::_:_:it.) There's no control/comparison group, so the
                       ==-'-'-'-..:::..:..:..=....o.::..:..:..:='--'ra'-'-n"""·1


                       researchers examined change over time as the cohort began taking blockers and/or
                       hormones.

                       The Science Vs producers' choice of quote suggests they believe this sample became less
                       suicidal after going on GAM -                                       if not, I don't know why they would include this citation and
                       this quote in this context. But I'm not sure they read the paper; if they did, they'd realize




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                          BOEAL_WPATH_ 105453

                                                                                                           83                                                               App.158
(161 of 200), Page 161 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 161 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 85 of 193




                       they're referencing the wrong comparison. After all, what matters most is the change in
                       suicidality before versus after treatment, not how either figure compares to lifetime
                       suicidality.

                       Here's the authors' rundown, from Table 5, "Suicidal Ideation, Suicide Attempt, and
                       [Nonsuicidal Self-Injury]":




                       There appears to be a minor error; assuming the chart is correct and the abstract is
                       incorrect, the language in the abstract should have read "Lifetime and follow-up rates were
                       81 % and J9 38% for suicidal ideation, -W 15% and 4 5% for suicide attempt[.]"




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105454


                                                                  84                                            App.159
(162 of 200), Page 162 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 162 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 86 of 193




                       If you do compare the suicide/self-harm evaluations conducted at baseline versus at
                       follow-up, at first glance it appears the kids got worse, since all the numbers and
                       percentages increase from the middle column to the right column. But in reading the paper
                       and running it by a couple of social scientists, I couldn't quite figure out whether the
                       question was asked in an apples-to-apples way that allows for comparison between the
                       two time periods, so I reached out to two of the authors, Laura E. Kuper and Sunita
                       Stewart, for an explanation.

                       Via a spokesperson, they confirmed that no, you can't really compare the middle column to
                       the right one:

                          We cannot say from these data whether there was a change in the number of youth
                          who reported suicide ideation and NSSI during the study period. The time frames of
                          comparison are not equal. The follow-up period was an average of 15 months after
                          the initial evaluation, and the time-based report at initial evaluation (the middle
                          column in the table) was for a briefer period of between 1 (for ideation and NSSI) and
                          3 months (for attempt). For this reason, no statistical comparisons would have been
                          appropriate.

                       If you can't make any statistical claims about the meanings of these numbers, why include,
                       in your abstract, the line "Lifetime and follow-up rates were 81 % and 39% for suicidal
                       ideation, 16% and 4% for suicide attempt"? I'd argue this is slightly disingenuous -       call it
                       a misdemeanor -     because readers are likely to misinterpret this as a statistical claim, as
                       a decrease caused by the medicine. (It also obscures the fact that the gap between the
                       lifetime and baseline suicidality percentages is even bigger -    it appears the sample's
                       suicidality issues had mostly resolved by the time they got to the clinic.)

                       Anyway, the point is we can't determine anything about suicidality here because the three
                       columns are asking such different questions about suicidal ideation, suicide attempts, and
                       nonsuicidal self-injury: whether the subjects had experienced any of these things at any
                       point in their life, whether they'd experienced them in the last 1-3 months, and whether
                       they'd experienced them between intake at the clinic and their follow-up appointment (a
                       span that ranged from 11 to 18 months, depending on the kid). If you ask someone if
                       they've done X in the last month, and then you ask them if they've done it in the last ten
                       months, it's probably more likely they've done it in the last ten months simply because
                       that's a much longer period of time. Contrary to what Science Vs is clearly implying, there
                       isn't useful data here.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105455


                                                                    85                                               App.160
(163 of 200), Page 163 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 163 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 87 of 193




                       What about the rest of the study's findings? It's very hard to know what to make of them, to
                       be honest. I'm tempted to say this study doesn't really tell us much about whether blockers
                       and hormones improve trans kids' mental health, and that maybe it can't given certain
                       characteristics of the cohort. In the abstract, the researchers note: "Youth reported large
                       improvements in body dissatisfaction (P < .001), small to moderate improvements in self-
                       report of depressive symptoms (P < .001), and small improvements in total anxiety
                       symptoms (P < .01)." "Small to moderate improvements in self-report of depressive
                       symptoms" somewhat obscures the fact that measured another, more rigorous way -           via
                       clinician evaluation - the kids in the study did not experience an improvement in their
                       depressive symptoms over time.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_ 105456


                                                                  86                                             App.161
(164 of 200), Page 164 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 164 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 88 of 193




                       I feel pretty strongly about favoring clinician report rather than self-report, but even if you
                       disagree with me, it won't change the overall picture much. The researchers used an
                       instrument called Quick Inventory of Depressive Symptomatology, which indeed has


                       27 ... with scores of 5 or lower indicative of no depression, scores from 6 to 10 indicating
                       mild depression, 11 to 15 indicating moderate depression, 16 to 20 reflecting severe
                       depression, and total scores greater than 21 indicating very severe depression."




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105457


                                                                    87                                              App.162
(165 of 200), Page 165 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 165 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 89 of 193




                       Whether you trust the self-report or the clinician report version more, it's the same basic
                       deal in this study: The kids entered the study with "mild" depressive symptoms, they went
                       on blockers or hormones, and they exited the study with ... "mild" depressive symptoms.
                       Yes, by self-report there was a statistically significant drop from 9.4 to 7.3, while by
                       clinician report the kids went from 5.8 to 5.9 (not statistically significant), but a// these
                       scores are in the 6-10 "mild depression" range, and I think it's fair to ask whether even the
                       self-report change is Qfilllfillli.:L significant. Depression-wise, these kids were almost fine
                       and they stayed almost fine:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                      BOEAL_WPATH_ 105458


                                                                     88                                                 App.163
(166 of 200), Page 166 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 166 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 90 of 193




                       By clinician report (on the right), a full 85% of the sample either had "not elevated" or "mild"
                       depression symptoms at baseline. There wasn't much room for them to get better, so we
                       can't say much about the lack of change.

                       If we zoom out on Table 2, we'll see that the researchers got before and after
                       measurements for nine mental health variables in total, and that the other results, too, are
                       hard to interpret. Six of those variables are from the 41-item ='---""'"--'---'--"'-'---""--'--"'-'--"'---''--'-'--'-'=C.l'..
                                                                   instrument: each kid's full score, as well as their subscores
                       for panic symptoms, school avoidance, and generalized, social, and separation anxiety.

                       Here's what happens if we go through the table and put green around each statistically
                       significant change the "Full sample" experienced over time (the authors don't report any
                       statistically significant changes among any of their subgroups), and red around every
                       nonsignificant finding:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                      BOEAL_WPATH_ 105459


                                                                                     89                                                                 App.164
(167 of 200), Page 167 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 167 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 91 of 193




                       So out of nine variables, there were three that improved, to a statistically significant
                       degree, over time. Reading from top to bottom on the table, the first was body
                       dissatisfaction, where there was a genuinely sizable reduction. The second was self-
                       reported depression, which we just discussed. The third is anxiety symptoms as measured
                       by the SCARED scale, which went down by 3.8 points on an 82-point scale. "A total score
                       of 2': 25 may indicate the presence of an Anxiety Disorder," so the kids started above this
                       cutoff (32.4, on average) and ended ... above this cutoff (28.6), just by a smaller margin. In
                       much the same way the kids started with "mild" depression symptoms and ended the study
                       with "mild" depression symptoms, they started the study a bit over the "may have an




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105460


                                                                    90                                             App.165
(168 of 200), Page 168 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 168 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 92 of 193




                       anxiety disorder" threshold and they ended it in that same range. I'd ask the same
                       question about clinical significance here that I did about the depression scores.

                       It's tough to know what to make of the subscale variables in particular. There's just a huge
                       amount of room for subjective interpretation. For something like school avoidance, where
                       the kids scored a 2.6 at intake and the threshold for concern is 3 (on an eight-point scale),
                       what should we make of the lack of statistically significant improvement? It's hard to do
                       that much better than a 2 (say) on such a small scale. Maybe there's stronger evidence we
                       should be concerned about the social anxiety disorder numbers: The cutoff there is 8 on a
                       14-point scale, which is exactly what the kids scored at intake, and there was no
                       statistically significant improvement overtime. This is all a pretty mixed bag, because on
                       the one hand you don't really see any statistically significant drops, but on the other some
                       of the baseline numbers were low enough so that there isn't much room for improvement.

                       In light of this, an honest skeptic of the claim that youth gender medicine improves trans
                       kids' mental health should acknowledge that the nonsignificant results are hard to interpret
                       and not always so damning; similarly, an honest believer in this claim should acknowledge
                       that there isn't much here to support their opinion. Unless you engage in cherry-picking, I
                       don't think this study provides anything close to clear evidence one way or the other.

                       I am very glad the Dallas team is doing this research and wish many more American
                       gender clinics, who are embarrassing laggards when it comes to producing useful data,
                       would follow their lead (while we're on the subject, I wish Republicans didn't pose
                       existential threats to youth gender clinics). But it's an oversimplification to say that this
                       study offers real evidence blockers and hormones improve kids' mental health. If you're
                       going to make that claim, where's the impressive improvement and why's there so much
                       red in that chart above? If your response to that is, "Well, the kids didn't have much room
                       to improve," then you shouldn't have claimed that they did in the first place!

                       Maybe the studies get clearer? Maybe there's higher-quality and more impressive
                       evidence forthcoming?

                       Study 3:         After gender reassignment, in young adulthood, the GD [gender
                       dysphoria] was alleviated and

                       In some circles this is simply known as the "Dutch study." It's that important and well-
                       known, and I've referenced it as some of the best evidence we have for the efficacy of




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105461


                                                                     91                                                App.166
(169 of 200), Page 169 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 169 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 93 of 193




                       these treatments. It's definitely the best study cited by Science Vs, and it shows by young
                       adulthood, the kids in this cohort had solid mental health.

                       So it should tell us something that even here, there are some pretty big questions. They're
                       well summed up by this article in the Journal of Sex & Marital Therapy by Stephen B.
                       Levine, E. Abbruzzese, and Julia W. Mason:

                          While the Dutch reported resolution of gender dysphoria post-surgery in study
                          subjects, the reported psychological improvements were quite modest. Of the 30
                          psychological measurements reported, nearly half showed no statistically significant
                          improvements, while the changes in the other half were marginally clinically
                          significant at best. The scores in anxiety, depression, and anger did not improve. The
                          change in the Children's Global Assessment Scale, which measures overall function,
                          was one of the most impressive changes-however it too remained in the same
                          range before and after treatment. [citations omitted]

                       The "Dutch approach," at least as it was practiced during the time period covered by this
                       2014 study, involved careful screening of subjects. Back then this protocol was truly novel,
                       and the clinicians really were interested only in giving blockers and hormones, followed by
                       surgery, to young people with long, persistent histories of childhood gender dysphoria who
                       didn't have other major problems with mental or physical health, or lackluster family
                       support, that might stymie their transitions. They thought these were the young people who
                       had the best chance of living happy, healthy lives as trans adults. They also discouraged
                       childhood social transition, because in their experience most kids' gender dysphoria
                       dissipated as puberty approached (the Dutch approach is designed to put kids on a
                       medical track once it appears clear the GD is unlikely to desist).

                       As a result, the study has some of the same issues as the last one: The kids in this cohort
                       who went on blockers and hormones, and who later received surgery, started out rather
                       mentally healthy, which means, again, they didn't have much room to get better, which
                       makes these results difficult to apply to the present debate. For example, the authors note
                       that the Beck Depression Inventory, which they administered to their subjects, has a
                       scoring range of "21 items, 0-3 range," or 0-63 for the total score. At baseline, the kids in
                       the study had a BDI score of 7.89, which sits in the range of "These ups and downs are
                       considered normal."




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105462


                                                                   92                                            App.167
(170 of 200), Page 170 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 170 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 94 of 193




                       Levine and his coauthors flatly argue that "The study cannot be used as evidence that
                       these procedures have been proven to improve depression, anxiety, and suicidality." It's
                       hard to dispute that - the subjects weren't depressed or anxious at baseline, and
                       suicidality wasn't even measured, so how could the study offer such evidence? It's good
                       that the subjects' mental health didn't worsen over time, and certainly it would be a bad
                       sign if kids going through these treatments suddenly developed new mental health
                       problems, but this cohort can't really tell us much about whether GAM will improve the
                       mental health of kids who are in anguish.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_ 105463

                                                                   93                                           App.168
(171 of 200), Page 171 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 171 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 95 of 193




                       One of the genuinely impressive-seeming findings is that the Dutch subjects' high-at-
                       baseline gender dysphoria "was alleviated" at follow-up. But there's a catch there, too,
                       according to Levine and his coauthors. It involves the measure the researchers used, the
                       Utrecht Gender Dysphoria Scale:

                          This 12-item scale, designed by the Dutch to assess the severity of gender dysphoria
                          and to identify candidates for hormones and surgeries, consists of "male" and
                          "female" versions. At baseline and after puberty suppression, biological females were
                          given the "female" scale, while males were given the "male" scale. However, post-
                          surgery, the scales were flipped: biological females were assessed using the "male"
                          scale, while biological males were assessed on the "female" scale. We maintain that
                          this handling of the scales may have at best obscured, and at worst, severely
                          compromised the ability to meaningfully track how gender dysphoria was affected
                          throughout the treatment. [citations omitted]

                       So after the trans boys went on blockers, took testosterone, and had double
                       mastectomies, they were given an instrument with prompts like "My life would be
                       meaningless if I had to live as a boy"; "I hate myself because I am a boy"; and "It would be
                       better not to live than to live as a boy." It would be shocking if someone who put this much
                       effort into transitioning to a boy/man answered these questions in the affirmative. This
                       seriously calls into question one of the best results the Dutch team got:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105464


                                                                  94                                              App.169
(172 of 200), Page 172 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 172 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 96 of 193




                       Another problem is that this research doesn't control for the effects of counseling or
                       pharmaceuticals. This is a cohort of young people who were in contact with a
                       multidisciplinary gender clinic for years, and who had regular access to counseling, so it
                       stands to reason that at least some of the improvements they experienced might be
                       attributable to factors separate from blockers, hormones, and surgery (the previous study I
                       wrote about, out of Dallas, did adjust for these variables). Clearly the Dutch clinicians
                       themselves thought these factors bolstered their clients' mental health, or they wouldn't
                       have made regular counseling a prerequisite for transitioning. The study doesn't account
                       for that, leaving us to speculate about the role of factors distinct from youth gender




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105465

                                                                   95                                               App.170
(173 of 200), Page 173 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 173 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 97 of 193




                       medicine itself, including simply getting older: The average age at first assessment was
                       13.6, and the average age of final assessment was 20.6. A lot of people's mental health
                       improves on its own during this particular seven-year span. (During other seven-year
                       spans, like, say, 7 to 14, people's mental health is more likely to worsen. Puberty is a hell
                       of a thing!)

                       It's worth pausing here to note just how much more conservative the Dutch approach is
                       than what is presently favored by the most enthusiastic American activists and clinicians,
                       including two of the voices interviewed in the Science Vs segment (Jack Turban and
                       Florence Ashley). While I understand why people latch on to one of the few solid-quality
                       studies we have, even setting aside the aforementioned methodological challenges, it is a
                       stretch to claim that because the Dutch got some pretty good results, their research is
                       applicable to American clinics dedicated to far less "gatekeeping." (I don't like using that
                       word in the context of minors, since adults have a responsibility to gatekeep, but that's the
                       common terminology.)

                       The Dutch approach is absolutely out of fashion in many American youth gender clinics.
                       There are no zoomed-out data on how these clinics go about their business, because no
                       one has bothered to try to gather any (not an easy task, to be fair), but if you look around
                       at the clinicians who have big on line platforms, get quoted in major outlets, etc., you will
                       see that they continually emphasize the need for clinicians and parents to engage in less
                       gatekeeping and more trusting tweens and teens to know accurately what medical
                       treatments are best for them. There are some who clearly support more careful, Dutch-
                       style multidisciplinary approaches that include a lot of psychological assessment -      Laura-
                       Edwards Leeper and Erica Anderson are the two most famous examples -             but this is not
                       the trajectory of things in the States at all.

                       On a related note, there's some evidence that the profile of kids seeking youth gender
                       medicine is changing. In fact, writing in Pediatrics in 2020, the 2014 study's lead author,
                       Annelou de Vries, raised the question of "whether the positive outcomes of early medical
                       interventions also apply to adolescents who more recently present in overwhelming large
                       numbers for transgender care, including those that come at an older age, possibly without
                       a childhood history of [gender incongruity/dysphoria]." The same could be said of what
                       appears to be a growing number of kids who arrive at gender clinics with complicated
                       psychological comorbidities. Since a kid who lacked childhood GD or who had serious
                       psychological problems (or both) would have been disqualified outright from the 2014




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105466


                                                                        96                                         App.171
(174 of 200), Page 174 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 174 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 98 of 193




                       Dutch study, that study is likely inapplicable to these different populations of kids going on
                       blockers and hormones today, and to clinics that follow different procedures.

                       I'll leave it at that -   I did find Levine and his coauthors' article to be an informative and
                       thoughtful example of youth gender medicine skepticism. Overall, once you acknowledge
                       the caveats, the Dutch study does show that a cohort of very carefully screened gender
                       dysphoric kids with a lot of family and mental health support who went on blockers and
                       hormones, and who got surgery, appear to have been doing pretty well in early adulthood.
                       I just don't think the results can be used to support or attack Zukerman's claim in light of
                       the sample biases. I also don't think this finding really matches Science Vs's stance on the
                       issue of youth gender medicine more broadly, because, based on the show's work in this
                       area, it seems highly unlikely it would ever discourage social transition, or would support "a
                       comprehensive psychological evaluation with many sessions over a longer period of time"
                       prior to the commencement of any physical interventions, as the Dutch described their
                       protocol.

                       Study 4: "(126) At baseline, GD adolescents showed poor functioning with a CGAS
                       [Children's Global Assessment Scale] mean score of 57.7 ± 12.3. GD adolescents' global
                       functioning improved significantly after 6 months of psychological support (CGAS mean
                       score: 60.7 ± 12.5; P < 0.001). Moreover, GD adolescents receiving also [sic] puberty
                       suppression had significantly better psychosocial functioni g after 12 months of GnRHa
                       [puberty blockers) (67.4 ± 13.9) compared with when they had received only psychological
                       support (60.9 ± 12.2, P = 0.001)."

                       This isn't good. As the Oxford sociologist and frequent critic of youth gender medicine
                       research Michael Biggs pointed out in a letter to The Journal of Sexual Medicine, which
                       also published this study, the methodology here is completely incapable of isolating the
                       effects of puberty blockers and hormones.

                       The authors, based at the world-famous Gender Identity Development Service (GIDS) in
                       Great Britain, adopted a version of the Dutch approach that's quite heavy on psychological
                       assessment and addressing transition-readiness concerns (though it looks like far more of
                       the kids in this sample had already socially transitioned than in the Dutch one). Again, I
                       don't think Science Vs really supports this approach.

                       The main problem with drawing any conclusions from this study is that the researchers
                       compared one group of kids who started puberty blockers relatively soon after entering the
                       study with another that didn't start blockers at all during the study (they did later) because,




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_ 105467


                                                                       97                                                App.172
(175 of 200), Page 175 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 175 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 99 of 193




                       in the views of the assessing clinicians, they were experiencing "possible comorbid
                       psychiatric problems and/or psychological difficulties."




                       The two groups were never the same at baseline -       one had psychological problems the
                       other didn't. At baseline, the psychologically worse-off group scored a bit lower on the
                       study's main measure, the Children's Global Assessment Scale, than the psychologically
                       better-off group, though the difference wasn't statistically significant (the researchers didn't
                       administer other scales, such as ones measuring anxiety or depression symptoms, that
                       seem likely to have revealed other differences between the groups). Then, at the end of




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105468

                                                                    98                                             App.173
(176 of 200), Page 176 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 176 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 100 of 193




                       the study, after one group but not the other had been on blockers for awhile ... the same
                       deal: The group with the psychological problems scored a bit worse-off, but the difference
                       wasn't statistically significant, "possible [sic] because of sample size," explain the authors.

                       The sample size is fairly low by the end of the study in part because about 65% of the
                       subjects disappear along the way, with no explanation from the authors about this giant
                       drop-off. The apparent dropouts are distributed almost exactly evenly between the
                       blockers and no-blockers groups, so we don't have the differential attrition rate concerns
                       we had in the study out of Seattle I -'--'--'-"'--'--"'---==...!!!...='-'--'• but the overall rate is still quite
                       high:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                     BOEAL_WPATH_ 105469


                                                                              99                                                           App.174
(177 of 200), Page 177 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 177 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 101 of 193




                       You can't have your sample shrink by 65% and then offer no explanation as to why that
                       happened!

                       Sample size and other issues aside, while the statistically insignificant difference in the
                       CGAS scores of the blockers and no-blockers groups did widen slightly between the
                       penultimate and final assessment points, there's no way to evaluate what role puberty
                       blockers played in this result, simply because one group -    but not the other -   was also
                       dealing with apparently serious mental health problems. On top of all that, the researchers
                       didn't account statistically for access to counseling, meaning we can't even say with




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_ 105470

                                                                  100                                                App.175
(178 of 200), Page 178 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 178 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 102 of 193




                       certainty that the blockers, rather than the counseling, could at least partially explain the
                       overall CGAS improvement overtime, which after all was seen both in the blockers and
                       non-blockers groups. (The authors do note that simply "getting older has been positively
                       associated with maturity and well-being," and that that could be a factor here.)

                       Biggs pointed out an additional red flag to me: One of the primary measures the
                       researchers use is the aforementioned Utrecht Gender Dysphoria Scale also employed by
                       the Dutch. The researchers note that this was one of their measures, provide the baseline
                       data, and then ... poof. The UGDS disappears from the paper. We never find out what the
                       follow-up numbers were. Why? Surely the point of administering this scale was to track the
                       severity of gender dysphoria over time? It seems very unlikely to me that if they got
                       impressive results they wouldn't have reported them, though on the other hand if they're
                       seeking to hide their UGDS results, why mention having administered the scale at all? This
                       is just very weird and amateurish science, to mention the scale, provide the baseline
                       readings, and then sort of wander off to look at a butterfly. I emailed coauthor Rosalia
                       Costa on June 3 to ask about this, and then nudged her on June 6, adding Polly
                       Carmichael, but I didn't hear back. (I'd also be remiss if I didn't point out that another, more
                       recent study of GIDS patients coauthored by Carmichael =c.:.=-==-:..:-=-==-'--"-.:....:..._=-=-:::::..:....:=,
                       and it found no over-time improvements on any mental health measures among a subset
                       of kids who went on blockers. This paper goes uncited by Science Vs.)

                       Wendy Zukerman's claim, you'll recall, was about "what happens if you do nothing. Like
                       you don't allow your kid to go on hormones." Meaning: They will suffer. One way to
                       interpret this study is that it offers no evidence for or against her claim because the core
                       comparison is so broken. Another interpretation -             one that's less charitable but
                       technically correct -     is that this study directly contradicts Zukerman:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                              BOEAL_WPATH_ 105471


                                                                         101                                                     App.176
(179 of 200), Page 179 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 179 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 103 of 193




                       The red line -     representing kids who sought blockers but weren't able to access them
                       during this time period - goes up. It is at a higher point at Time 3 than it is at Time 0
                       (though all the statistically significant improvement happens from TO to T1). So what
                       happens if you don't let kids go on blockers in this study? On the one measure of these
                       kids' psychological well-being where the researchers bother reporting their follow-up data,
                       they get better.

                       To be crystal clear, I am not endorsing the idea of capriciously withholding puberty
                       blockers from kids with severe and persistent gender dysphoria. I'm simply pointing out




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105472

                                                                   102                                              App.177
(180 of 200), Page 180 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 180 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 104 of 193




                       how silly it is to cite this study in support of the idea that if you do withhold these
                       treatments, terrible things will happen. This study doesn't show that.

                       Study 5: "(127) Between 2013 and 2018, 50 participants (mean age 16.2 + 2.2 yr) who
                       were na"fve to endocrine intervention completed 3 waves of questionnaires. Me~!!
                       depression scores and suicidal ideation decreased over time while mean quality of life
                       scores improved overtime."

                       This quote is from the "Results" section of this paper's abstract. Let's look at the entire
                       paragraph in question, with the part that Science Vs didn't include in its notes balded:

                          Between 2013 and 2018, 50 participants (mean age 16.2 + 2.2 yr) who were na"fve to
                          endocrine intervention completed 3 waves of questionnaires. Mean depression
                          scores and suicidal ideation decreased over time while mean quality of life scores
                          improved overtime. When controlling for psychiatric medications and
                          engagement in counseling, regression analysis suggested improvement with
                          endocrine intervention. This reached significance in male-to-female
                          participants.

                       So when the researchers, to their credit, controlled for the stuff that should be controlled
                       for, endocrine interventions (meaning blockers and hormones) weren't linked to any
                       statistically significant improvements among female-to-male participants -        a full two-thirds
                       of the sample (33 female-to-male, 17 male-to-female, say the researchers).

                       Here's a table laying that out, looking at three psychological scales the researchers used
                       to measure the well-being of the study's subjects:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105473


                                                                    103                                              App.178
(181 of 200), Page 181 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 181 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 105 of 193




                       The researchers made 12 statistical comparisons, and a grand total of one of them came
                       back statistically significant by the traditional P < .05 threshold, while four more
                       approached that threshold. And there is almost nothing on the right side of the table
                       offering any evidence that these powerful medical treatments benefited the mental health
                       of the female-to-male transitioners, once access to counseling and pharmaceuticals were
                       taken into account.

                       For transparency's sake, I should note that the authors have an explanation for their weak
                       findings: "Given our modest sample size, particularly when stratified by gender, most




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105474

                                                                   104                                          App.179
(182 of 200), Page 182 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 182 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 106 of 193




                       predictors did not reach statistical significance. This being said, effect sizes (R2) values
                       were notably large in many models. In [male-to-female] participants, only puberty
                       suppression reached a significance level of p < .05 in the [Center for Epidemiologic Studies
                       Depression Scale Revised]. However, associations with [Patient Health Questionnaire 9-
                       item] and [Quality of Life, Enjoyment, and Satisfaction Questionnaire - Short Form] scores
                       approached significance. For [female-to-male] participants, only cross sex hormone
                       therapy approached statistical significance for quality of life improvement (p = 0.08)."

                       I'm glad the researchers broke things out by natal sex -    it's ridiculous that so many youth
                       gender medicine researchers continue to fail to do so given that testosterone and estrogen
                       are completely different substances with completely different effects (more on this in a bit).
                       But once they did, they were left with almost no evidence these treatments helped. I guess
                       there are a few promising blips on the male-to-female side, but among the female-to-male
                       transitioners who made up two-thirds of this study? There's basically no evidence that they
                       benefited at all from blockers or hormones. In this sample, by these methods, on average
                       they would have been just as well off solely receiving counseling and medication (if
                       indicated) for their mental health symptoms.

                       Let's imagine Science Vs were evaluating a study not of puberty blockers and hormones,
                       but of a novel treatment for coronavirus promoted by Joe Rogan. Let's also imagine that
                       the authors of that study published a study evaluating the treatment in which they argued,
                       "Well, we didn't reach statistical significance in most of our tests, but we had a small
                       sample size. Plus, there are some potentially promising results in a subgroup that
                       comprised one-third of our sample." It goes completely without saying that Science Vs
                       would describe this as a weak finding that should nudge us toward skepticism, not
                       acceptance, of the treatment in question. Why do different standards apply here?

                       Interestingly, this is the second time I've seen a major, respected, cut-through-the-bullshit
                       science outlet treat this study in a strikingly credulous manner -   Steven Novella and
                       David Gorski commited a similar error on their website, Science-Based Medicine, which
                       has had its own Nord be a-in-the-opening-scene-of- The-Naked-Gun-level issues covering
                       this subject accurately. It should tell us something that when it comes to the youth gender
                       medicine debate, some of the leading, supposedly skeptical voices are making the exact
                       same sorts of mistakes in the exact same direction, over and over and over. They never
                       make mistakes the other way -     they never falsely understate the strength of the evidence
                       for puberty blockers and hormones.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105475


                                                                  105                                              App.180
(183 of 200), Page 183 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 183 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 107 of 193




                       I already covered the suicidal ideation claim from this paper when I wrote about SBM's
                       coverage. Yes, the researchers themselves note in the abstract that "[S]uicidal ideation
                       decreased over time," but right there in the paper they also note that "Regression models
                       for suicidal thoughts were not estimable due to the low frequency of endorsement and
                       small cell sizes across gender."

                       There was just so little suicidal ideation here that there's no way to make the appropriate
                       statistical comparisons:




                       So this paper provides no causal evidence about the effects of blockers and hormones on
                       reducing suicidal ideation.

                       Study 6:        Jack Turban's paper- After adjusting for potential confounders, accessing
                       GAH during early adolescence (aOR = 0.4, 95% Cl = 0.2-0.6, p < .0001), late
                       adolescence (aOR = 0.5, 95% Cl = 0.4-0.7, p < .0001), or adulthood (aOR = 0.8, 95% Cl
                       = 0. 7-0.8, p < .0001) was associated with !.Qy~~!Q§_Qf.Q§.§1:~~~~ill~fil!Sm when
                       compared to desiring but never accessing GAH. [GAH = gender affirming hormones]"

                       I'm going to go deep on this PLOS ONE paper because it's very recent (January of this
                       year), very influential, and I have some new developments to report about it.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_ 105476


                                                                 106                                            App.181
(184 of 200), Page 184 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 184 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 108 of 193




                       Turban and his colleagues' method, both here and in another highly touted study they
                       published in Pediatrics in 2020, is to take the subset of 2015 U.S. Tran gender Survey
                       respondents who recalled having ever wanted puberty blockers or hormones, and to then
                       compare the mental health of those who recalled having accessed them to those who
                       recalled never having done so. (The 2020 study covers blockers and this one covers
                       hormones.)

                       There are many reasons to be skeptical that the USTS can provide us with any
                       generalizable data about trans people in the U.S. This is a very nonrepresentative sample
                       that wildly differs from past attempts to generate decent data about the American
                       transgender population (which, to be clear, is no easy task).

                       Here's a chart from the letter to the editor I mentioned earlier critiquing Turban et al.'s
                       conversion therapy paper, which was also based on the USTS. In it, the authors note the
                       differences between the trans people surveyed in the USTS and those included in the
                       2014 to 2017 data from the Behavioral Risk Factor Surveillance S stem BRFSS , a more
                       rigorously conducted effort administered by the Centers for Disease Control and
                       Prevention:




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105477


                                                                   107                                               App.182
(185 of 200), Page 185 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 185 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 109 of 193




                       There are some gigantic differences here on crucial questions like age (the USTS skews
                       very young compared to the BRFSS, with 84% of the respondents in the former and just
                       52% in the latter aged 18 to 44) and education (the USTS skews much more educated,
                       with 47% college/technical school graduates in that sample versus 14% in the BRFSS).

                       The authors of the critique of Turban and his colleagues' conversion therapy paper argue,
                       credibly, that these differences may have arisen because "the participants [in the USTS]
                       were recruited through transgender advocacy organizations and subjects were asked to




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_ 105478


                                                                108                                          App.183
(186 of 200), Page 186 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 186 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 110 of 193




                       'pledge' to promote the survey among friends and family." This claim jibes with the survey
                       administrators' own description of their outreach efforts.

                       So there's a serious risk that the USTS skews heavily toward younger, more politically
                       engaged, more highly educated members of the trans community. In much the same way
                       sampling Jewish Americans at Chabad houses or black Americans at NAACP meetings
                       definitely wouldn't provide you with data you could safely extrapolate to the broader Jewish
                       or black populations, something similar is almost certainly going on with the USTS.

                       The authors of the letter also highlight issues that go beyond mere sampling concerns:

                          A number of additional data irregularities in the USTS raise further questions about
                          the quality of data captured by the survey. A very high number of the survey
                          participants (nearly 40%) had not transitioned medically or socially at the time of the
                          survey, and a significant number reported no intention to transition in the future. The
                          information about treatments received does not appear to be accurate, as a number
                          of respondents reported the initiation of puberty blockers after the age of 18 years,
                          which is highly improbable (Biggs, 2020). Further, the survey had to develop special
                          weighting due to the unexpectedly high proportion of respondents who reported that
                          they were exactly 18 years old. These irregularities raise serious questions about the
                          reliability of the USTS data.

                       If anything, the authors are understating the puberty blockers issue. As the USTS
                       researchers explain in an endnote:

                          Although 1.5% of respondents in the sample reported having taken puberty-blocking
                          medication, the percentage reported here reflects a reduction in the reported value
                          based on respondents' reported ages at the time of taking this medication. While
                          puberty-blocking medications are usually used to delay physical changes associated
                          with puberty in youth ages 9-16 prior to beginning hormone replacement therapy, a
                          large majority (73%) of respondents who reported having taken puberty blockers in
                          Q.12.9 reported doing so after age 18 in Q.12.11. This indicates that the question
                          may have been misinterpreted by some respondents who confused puberty blockers
                          with the hormone therapy given to adults and older adolescents. Therefore, the
                          percentage reported here (0.3% or "less than 1%") represents only the 27% of
                          respondents who reported taking puberty-blocking medication before the age of 18.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105479


                                                                  109                                             App.184
(187 of 200), Page 187 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 187 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 111 of 193




                       In other words, so many respondents wrongly said they took puberty blockers that the
                       test's architects simply had to toss the vast majority of the affirmative responses to this
                       question. Okay. Why should we trust that everyone else in the survey had a firm grasp on
                       which medication they had taken? And why should we trust that when people said they
                       wanted blockers or hormones, they weren't mixing up the two? No one will say, but
                       researchers keep publishing studies based on this data set, perhaps because there are so
                       few options for big samples of American trans people. I think there's a case to be made
                       that the USTS data set is simply too broken to tell us much of anything about trans people
                       in the U.S., but I'll leave that question to the survey methods experts (if you are one, I'm
                       genuinely £!::!.!lQ.\:!.§..1.QJl~YQJ!Llb..QJ:!9..t~.

                       Either way, it's hard to count all the red flags inherent to Turban and his colleagues'
                       methodology. Obviously, the problem with USTS respondents not knowing accurately what
                       medicine they took is potentially crippling on its own, because if we can't even verify that
                       the people who said they took a medicine did so, how can we say anything about that
                       medicine's effects on them? It's also problematic to assume that because someone
                       reports having ever wanted puberty blockers or hormones - the survey item on which this
                       entire methodology hinges -            it was a persistent and realistic desire. That question is
                       phrased: "Have you ever wanted any of the health care listed below for your gender
                       identity or gender transition? (Mark all that apply)" [balding in the original]. If a USTS
                       respondent selected "puberty blocking hormones" because at age 24, long after they were
                       eligible for blockers, they went through a phase when they thought maybe their life would
                       have turned out better if they'd gone on them, they'd be entered into the wanted-blockers
                       "pile" and treated as equivalent to someone who wanted blockers at 13. These are very
                       different situations, though. Nothing in the USTS even tracks whether the kids who wanted
                       blockers or hormones had gender dysphoria, which is the most basic prerequisite for going
                       on these medications, at least in the case of competent clinicians who follow the
                       appropriate standards of care. (I don't understand why the survey would collect data from
                       respondents on whether they'd been diagnosed with HIV but not ask about gender
                       dysphoria, or gender identity disorder as it was probably known at the time for most of the
                       respondents. It seems important, for many reasons, to try to establish what percentage of
                       people who identify as trans are seeking out and receiving these diagnoses.)

                       On top of all this is the causality issue -            after the publication of Turban et al. 's USTS-
                       based Pediatrics study ostensibly showing a link between recalled access to blockers and
                       better mental health, a number of critics noted that it simply could be that young people




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                           BOEAL_WPATH_ 105480


                                                                              110                                               App.185
(188 of 200), Page 188 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 188 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 112 of 193




                       with more mental health problems were less likely to be allowed to access blockers,
                       because during the time period in question it was quite common for American clinicians to
                       follow professional guidance instructing them to reject kids for such medication on the
                       basis of uncontrolled, ongoing mental health problems (like the Dutch did). If this theory is
                       true, it would mean that poor mental health caused a lack of access to blockers (that is,
                       poor mental health ----> skeptical clinician following the rules and turning down a request for
                       blockers----. no blockers), rather than that a lack of access to blockers caused poor mental
                       health. The new study in PLOS ONE supposedly addresses this by concerning itself
                       mostly with past-month rather than lifetime mental health problems, but the broader point
                       stands: It's extremely hard to make unidirectional causal claims on the basis of this data.

                       In their studies, Turban and his team tend to dutifully note that the differences they derive
                       from USTS data-slicing could be attributed to other factors as well, and that it is difficult to
                       establish clear causal relationships between recalled access to youth gender medicine and
                       later outcomes. But inevitably, Turban will then give quotes to major outlets, or write
                       articles for them, in which he presents his results as straightforwardly causal - to the
                       extent the got-medicine group did better, it was because they got medicine. For example,
                       Turban wrote in The Washington Post that "at least..:.....:...==""- have examined the impact
                       of gender-affirming care on the mental health of youths with gender dysphoria and have
                       shown improvements in anxiety, depression and ~Q!_Qfil]!y," and "suicidality" links to the
                       PLOS ONE paper about hormones. (For the record, Turban's "14 studies" link, to this


                       selectively, in my opinion, leaving out some vital caveats and weaknesses.)

                       So, in short and even before we dig into any of the details, Turban et al. 's PLOS ONE
                       study is based on a likely non representative data set of young people who don't seem to
                       know what medicine they were on and when, who might not know what medicine they
                       wanted and when, and it relies entirely on self-reported assessments of their mental
                       health. Moreover, many, including Turban, have simply assumed that certain correlations
                       uncovered via this method were driven by causation, despite there being little reason to
                       make this assumption. Again, imagine a study with these characteristics being used to
                       prop up an alternative Covid treatment: Science Vs would be like a vulture that had just
                       spotted a seriously ailing buffalo.

                       But let's assume, for the sake of argument, that none of these red flags exist. Let's
                       summon all the charity and benefit of the doubt we can muster and imagine this is a




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105481


                                                                   111                                              App.186
(189 of 200), Page 189 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 189 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 113 of 193




                       clinical sample where we know, for sure, who went on which medicine and when, and that
                       we are therefore in a somewhat better position to accept causal claims.

                       That in mind, here's what the Turban team said they found:




                       For everything that follows, let's stick to the adjusted odds ratio (AoR) and accompanying
                       P-values. Outlined in green is the finding that Turban and his team highlight in their write-
                       up, and that Science Vs mentions in its show notes: Among respondents who reported
                       ever wanting hormones, those who recalled receiving them reported a lower probability of
                       past-year suicidal ideation than those who did not recall receiving them.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105482

                                                                  112                                            App.187
(190 of 200), Page 190 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 190 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 114 of 193




                       The actual question, from Section 16 of the USTS: "At any time in the past 12 months did
                       you seriously think about trying to kill yourself?" The respondents who answered yes were
                       then prompted to answer questions gauging the seriousness of their suicidal ideation:
                       whether they had a specific plan for ending their life, whether their suicidality required
                       medical attention, and whether they ended up in the hospital as a result. This is standard
                       practice, because suicide experts recognize a pretty big, potentially life-and-death
                       difference between someone who reports having considered suicide and someone who
                       develops a specific plan to commit it. (I volunteered at a suicide hotline forever ago and we
                       were supposed to triage people in this manner as early in the call as possible by asking if
                       they were suicidal, and then, if they were, following up with questions about whether they
                       had a plan and, if they did, if they already had in their possession whatever items they
                       would need to carry it out, such as a gun or a knife.)

                       If someone answered yes to the USTS question "At any time in the past 12 months did you
                       seriously think about trying to kill yourself?" but reported having never made a plan, let
                       alone an attempt, they'd be considered to be at a more moderate risk of suicide than
                       someone who answered yes to those follow-up questions. That obviously doesn't mean
                       any such assessment would be foolproof, and of course the stakes here are terrifyingly
                       high, but the point is there are important gradations when it comes to suicidal ideation. (I
                       wanted to make sure I wasn't downplaying the severity of a situation like this, so I reached
                       out to a suicide researcher I know. She helpfully pointed me to this resource from the
                       organization Zero Suicide, which is adapted from the VA's Rocky Mountain Mental Illness
                       Research Education and Clinical Center MIRECC) for Suicide Prevention, and which
                       suggests that a young person in this situation would probably be placed in the "low acute
                       risk" category.)

                       Outlined in red are the results that go ignored by Turban et al. in their write-up, and also
                       by Science Vs: Turban and his team ran eight statistical tests on these more serious
                       measures of suicidal ideation and behavior and went zero-for-eight in terms of hitting their
                       P < .001 threshold for statistical significance (they beefed it up from the standard P < .05
                       to account for all the comparisons they're making, which is good practice in general). In
                       almost every case, the coefficients hover around 1.0, which strongly suggests there's just
                       no link at all, among those who reported wanting to access hormones, between having
                       recalled accessing them and having even a slightly lower risk of serious recent suicidal
                       behavior or ideation. The cell that comes closest to hitting the significance threshold
                       suggests that those who recalled wanting hormones and accessing them at age 16 or 17




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105483

                                                                  113                                               App.188
(191 of 200), Page 191 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 191 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 115 of 193




                       were more than twice as likely to report having been hospitalized for a suicide attempt as
                       those who recalled wanting but not accessing hormones. Whether or not you buy the idea
                       that we should disregard this .01 P-value, there's nothing here to suggest any promising
                       findings with regard to a link between hormone access and the more serious measures of
                       suicidal ideation and behavior.

                       One would think that enthusiastic advocates for administering gender-affirming medicine to
                       young people would be concerned about these null results, but as far as I can tell the
                       authors haven't mentioned them anywhere, despite the extensive publicity the paper -           or,
                       perhaps specifically, one row of a seven-row chart - garnered. (See my March
                       tweetstorm on this study here.) None of this is mentioned in the body of the paper itself.

                       Now, on the other other hand, the kids in the got-hormones group reported less past-
                       month severe psychological distress than those in the non-hormones group as measured
                       by another binary variable: whether they met a certain threshold on the Kessler 6
                       Psychological Distress Scale. So it's not like there's nothing in this study pointing in the
                       direction Turban and his team want -     it's just that when it comes to the most serious
                       measures, the findings are concerningly barren. (Readers of my April post will also
                       remember that reporting continuous variables dichotomously is an easy way for important
                       features of data to get obscured -    by this standard, a two-point improvement on a 25-
                       point scale that crosses a certain threshold can sometimes register as more meaningful
                       than a ten-point improvement that doesn't.)

                       In much the same way Turban and his team simply pretend these null findings don't exist,
                       Science Vs does the same. The average pop science consumer isn't going to pull the
                       study to check for themselves, so, mission accomplished: A bunch of people will think this
                       study found impressive results for GAM, when in fact it's a mixed bag at best and, by the
                       researchers' own methods and logic, runs counter to the claim commonly made by Turban
                       and others that these medications are crucial for reducing serious suicidality and suicide
                       attempts by transgender and gender nonconforming youth.

                       We can't depart this study without making one more very important stop: this comment left
                       on the PLOS ONE website by Michael Biggs, the aforementioned Oxford sociologist, and
                       PLOS ONE's response to it. Using the USTS data, Biggs attempted to replicate the Turban
                       team's findings as best as he could in light of the fact that the authors did not include
                       sufficient statistical information in their paper for him to do so. Biggs notes that the study's
                       authors "have twice previously not replied to my requests to provide their command files,"




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105484


                                                                   114                                              App.189
(192 of 200), Page 192 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 192 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 116 of 193




                       and confirmed in an email to me that this concerned prior studies they published, and that
                       he didn't bother trying a third time for this study.

                       Biggs found a pretty straightforward statistical irregularity in the PLOS ONE study:

                          There are odd discrepancies between the raw frequencies reported by Turban et al.
                          and the USTS dataset. According to the authors, 119 respondents reported
                          beginning cross-sex hormones at age 14 or 15. But for the question 'At what age did
                          you begin hormone treatment' (Q12.10), 27 respondents answered at age 14, and 61
                          answered at age 15, summing to 88. How did the authors obtain an additional 31
                          observations? It is not due to the imputation of missing values because the authors
                          drop observations with missing values; the same procedure is followed here.

                       Biggs also notes that Turban's team includes access to puberty blockers in their statistical
                       models, but doesn't report on that result. Biggs found that "Controlling for other variables,
                       having taken puberty blockers has no statistically significant association with any outcome.
                       This reveals that Turban et al.'s earlier finding from the USTS -which did not control for
                       cross-sex hormones -      is not robust." So Turban appears to have called into question his
                       own prior finding about puberty blockers, but this doesn't garner even a brief mention in his
                       paper. (Biggs also notes that Turban and his colleagues failed to control for other variables
                       associated, at least in some studies, with enhanced well-being among trans people, such
                       as access to gender-affirming surgery.)

                       But dwarfing all of these issues is what happened when Biggs broke out the results by
                       natal sex:

                          Testosterone is consistently associated with better outcomes. Estrogen is associated
                          with a lower probability of severe distress, but also with a higher probability of
                          planning, attempting, and being hospitalized for suicide. The latter outcome is
                          particularly disturbing: males who took estrogen have almost double the adjusted
                          odds of a suicide attempt requiring hospitalization.

                       If Biggs is correct, then the data here provide an even more conflicting storyline -    one in
                       which a lot of the results aren't just null, but point in the exact wrong direction. Turban and
                       his team, by their own reasoning, would be forced to conclude that estrogen is dangerous
                       for trans women from a suicidality perspective. (I'm not endorsing this view because I think
                       the USTS and this methodology are both such messes that these studies don't really tell
                       us anything causal about the effects of gender-affirming medicine -      I'm saying if you do




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_ 105485


                                                                    115                                           App.190
(193 of 200), Page 193 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 193 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 117 of 193




                       accept these methods, data, and reasoning, you're forced to take the good with the bad.)
                       Either Turban's team didn't bother to check this, they did and then failed to report on these
                       alarming results, or Biggs is incorrect.

                       This is potentially a big deal, especially considering the way Turban, the Stanford
                       University hospital where he was then doing his residency, and so many media outlets
                       have touted this study as solid evidence that access to hormones reduces suicidality. If
                       Biggs is correct and accessing estrogen was in fact linked to "a higher probability of
                       planning, attempting, and being hospitalized for suicide," that absolutely requires further
                       explanation from the authors. I emailed PLOS ONE and three of the study's authors -
                       Turban, Sari L. Reisner, and Alex S. Keuroghlian - to ask about this. I got a quick
                       response from a PLOS ONE media associate saying, "I can see that you have reached out
                       to the authors, and I hope they will be able to respond to you soon," but after I didn't hear
                       back from the authors themselves, I followed up with the journal again.

                       I heard back from a senior communications associate, who told me that PLOS ONE is
                       going to be examining Biggs' claims. He also pointed me toward a newly posted "Editor's
                       Note" which reads "PLOS ONE is looking into the questions raised about this article. We
                       will provide an update when we have completed this work." I've asked Turban for his
                       team's code in the meantime, and according to PLOS ONEp licy he's required to provide
                       it (haven't heard back yet). The code will only be so useful without the raw data, which is
                       unfortunately obtainable only via a data-sharing agreement with the The National Center
                       for Transgender Equality, but it would be a start. While it would be nice to figure out what's
                       up with that statistical discrepancy, I think the most important thing, by far, is simply to
                       confirm whether Biggs is correct about what happens when these results are separated by
                       natal sex. If he is correct, I would argue that that would require immediate action on the
                       part of the authors of this study to get the word out about what would be -      if you buy their
                       logic -   an extremely alarming finding. We'll see how long the process takes and what
                       results PLOS ONE will be willing to provide afterward. (If you're a researcher who has
                       experience working with this type of data and you want to try to get your hands on it,
                       please let me know.)

                       If Biggs is correct, the sex-disaggregated results would call into question even the
                       seemingly positive findings on the female-to-male side. Because, as he notes,
                       testosterone has established antidepressant properties (Biggs cites this meta-analysis,
                       though for understandable reasons it includes only studies conducted on natal males), it
                       would be very hard to suss out what's what here. Even assuming causality flows the way




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_ 105486


                                                                   116                                                App.191
(194 of 200), Page 194 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 194 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 118 of 193




                       Turban's team wants it to, did the trans men in this study experience improvement
                       because of the specific nature of gender-affirming medical treatment, or because anyone
                       -   particularly someone dealing with preexisting mental health problems - would feel
                       better from regularly taking T?


                       Summing Things Up

                       Science Vs viewed Tordoff et al. (2022) as a mere replication of something we already
                       know: that puberty blockers and cross-sex hormones are linked to improved mental health
                       in trans kids. This, the show argued, is not controversial. And, according to host Wendy
                       Zukerman, "[T]he reason that it's not controversial is because -    again - we need to look
                       at what happens if you do nothing. Like you don't allow your kid to go on hormones." Bad
                       things happen to their mental health -   potentially dangerous things.

                       To support this view, Zukerman and her colleagues cited seven studies in total. For
                       reasons ranging from complete irrelevance to the question at hand to broken comparison
                       groups to genuinely unimpressive results, I'd argue that there is not a single study in the
                       bunch that strongly supports Zukerman's claim that a failure to put trans kids and youth on
                       blockers or hormones causes harm, nor that any of them clearly support the related claim
                       that blockers and/or hormones cause significantly improved mental health in trans kids and
                       youth.

                       To be clear, I continue to think that for well-assessed kids with consistent histories of
                       severe gender dysphoria, the trade-offs of blockers and hormones are likely worth the
                       risks and unknowns, though of course in the case of any medical decision as serious as
                       this one and underpinned by so little quality evidence, the adults involved need to proceed
                       with a tremendous amount of caution and humility (two qualities in short supply among so
                       many of the most popular and media-friendly advocates for youth gender medicine). The
                       fact that these seven studies don't provide much evidence, and that there's a dearth of
                       such evidence in general, shouldn't be the end of the conversation. There's a difference
                       between saying, "These studies don't demonstrate any meaningful link between trans kids
                       failing to access gender-affirming medicine and experiencing harmful outcomes" and
                       "There's no chance that it will be harmful to a trans kid if they can't access blockers or
                       hormones." We desperately need more and better data, but it should tell us something that
                       this was the best Science Vs could come up with.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_ 105487

                                                                  117                                               App.192
(195 of 200), Page 195 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 195 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 119 of 193




                       It shouldn't surprise anyone that, upon actually examining these studies rather than
                       skimming abstracts or headlines, it's impossible to reach the conclusion that there's "no
                       controversy" here. Whenever professional researchers -      folks who are much smarter and
                       better resourced than I am -   have taken more ambitious, comprehensive looks at the
                       evidence for youth gender medicine, they've found exactly the same thing I found in this
                       mini-exercise: methodologically weak studies with mixed findings.

                       As I pointed out in my April post, this has happened in several different European contexts:

                          "Any potential benefits of gender-affirming hormones must be weighed against the
                          largely unknown long-term safety profile of these treatments in children and
                          adolescents with gender dysphoria," said the UK's National Institute for Health and
                          Care Excellence in 2020, alongside a companion report on puberty blockers that
                          found scant quality evidence of their safety and efficacy as well. The so-called Cass
                          Review, another important UK effort geared at summarizing the data and steering the
                          future course of youth gender treatment there, which was released just weeks ago in
                          interim form, noted that "The important question now, as with any treatment, is
                          whether the evidence for the use and safety of the medication is strong enough as
                          judged by reasonable clinical standards." As in, it's still an open question. The report
                          also notes that "Short-term reduction in bone density is a well-recognised side effect
                          [of puberty blockers], but data is weak and inconclusive regarding the long-term
                          musculoskeletal impact."

                          In Sweden and Finland, health authorities are sufficiently concerned about the lack of
                          evidence that it's safe and effective to give puberty blockers and hormones to gender
                          dysphoric minors that they have significantly scaled back the administration of these
                          treatments. According to an unofficial translation of Finland's new guidelines,
                          announced in 2020, "puberty suppression treatment may be initiated on a case-by-
                          case basis after careful consideration and appropriate diagnostic examinations if the
                          medical indications for the treatment are present and there are no contraindications."
                          When Sweden followed suit, instituting new restrictions of its own just a month and a
                          half ago, its National Board of Health and Welfare noted that "There are no definite
                          conclusions about the effect and safety of the treatments," per Google Translate.
                          Sweden's move was animated in part by an alarming alleged scandal - this public
                          television documenta ya gues that doctors and administrators at a major hospital
                          there appeared to cover up serious adverse effects, including a spinal injury and




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_ 105488


                                                                  118                                            App.193
(196 of 200), Page 196 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 196 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 120 of 193




                          suicidality, among kids who had undergone these treatments (I interviewed the lead
                          presenter         but it's paywalled).

                       I don't want to belabor the point but it should be seen as quite damning -            as a major
                       abdication of the staff's responsibility as science journalists - that Science Vs told an
                       audience of God knows how many hundreds of thousands or millions of people that there's
                       no controversy here (and that Jack Turban said the same thing, for that matter). It's
                       infuriating that they would hold over parents' heads the threat of their kids killing
                       themselves despite not appearing to have much familiarity with the research they
                       themselves are citing.


                       Science Vs Is Intentionally Choosing To Adopt Less Rigorous Standards On Youth
                       Gender Medicine Than It Does On Other Subjects


                       Perhaps the weirdest and most frustrating part of this is that Science Vs clearly has the
                       capacity to look closely at studies rather than accept them at face value on the basis of the
                       stuff that all experienced science journalists know to take with a grain of salt: abstracts,
                       press releases, and enthusiastic quotes from researchers motivated to make a media
                       splash. The producers definitely did so in 1!:!.t~Ql.§.QQ:s!....Q~~Q..Oim!:!!§~!§.lrlfQ_!!!l§llill. Hell,
                       earlier in this very episode about youth gender medicine, they harshly criticize Lisa
                       Littman's work on "rapid-onset gender dysphoria" (the idea that some kids develop GD or
                       a trans identity suddenly, as a result of peer or cultural influence) by ... actually reading her
                       study and critiquing it on methodological grounds. Terms like "selection bias" and
                       "representative sample" come up.

                       Setting aside the potentially derailing question of whether this critique of Littman's work is
                       fair, the point is Science Vs's producers could have, if they'd so chosen, actually read the
                       papers supposedly touting the mental health benefits of youth gender medicine with the
                       same critical eye they regularly apply to findings they view more skeptically, like Littman's,
                       or those supporting "alternative" coronavirus treatments. They just chose not to. Or at least
                       that's what I'm claiming. One June 1, I emailed Zukerman and the show's general contact
                       address a polite but admittedly slightly obnoxious email in which I point-blank asked
                       whether the show's producers had read the papers they were citing beyond their abstracts,
                       and I didn't hear back. I simply don't think it's possible that they could have read them in
                       full and then cited them the way they did.




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                        BOEAL_WPATH_ 105489


                                                                       119                                                 App.194
(197 of 200), Page 197 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 197 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 121 of 193




                       If I'm correct and Science Vs didn't read these papers before confidently citing them, why?
                       Why didn't they approach them with as critical an eye? I can't say for sure, but I think the
                       dynamics are similar to what I wrote about in April: Because Republicans are so
                       aggressively and harmfully targeting youth gender medicine, taking a true rocket-launcher-
                       against-a-butterfly approach to this issue, the response from some liberal institutions has
                       been to circle the wagons and argue aggressively that actually, the science on this is
                       settled. This despite the fact that it's very widely known, among serious scientists and
                       observers of this controversy, that the science isn't settled. At all.

                       This sort of bungling is a pattern for Science Vs. Back in 2019, I wrote two posts pegged to
                       an episode of the show called "The Science Of Being Tran gender." That time around, the
                       producers accidentally fabricated a study result and falsely claimed that the DSM-IV
                       "list[ed] transgender as a mental disorder," which it didn't (this is a common claim among
                       some activists because it would help them win a fairly in-the-weeds argument you can
                       read more about if you click the above links). Zukerman and the producers corrected the
                       first error but not the second - to this day, if you go to the transcript you'll see that
                       Science Vs continues to make that claim about the DSM-IV. (At the time, Zukerman
                       explained in an email that she and her colleagues disagreed with my interpretation, and
                       attached this document from the American Psychiatric Association as supporting evidence.
                       It discusses some of the reasoning behind the switch from "gender identity disorder'' in the
                       DSM-IV to "gender dysphoria" in the DSM-5, which included tweaks both to the name and
                       the diagnostic criteria, but it doesn't come close to supporting Science Vs's claim that in
                       the older edition, merely being transgender was considered a mental illness.)

                       At the end of the day, I think Science Vs just isn't willing to take this issue as seriously as
                       the other issues it covers. It's a politically risky issue to take seriously, after all, because if
                       you do, and you come to the same conclusion as the many credible researchers who have
                       found the literature on youth gender medicine to be strikingly shaky, you'll likely be
                       accused of harming trans kids. I've had people tell me I am complicit in the grisly suicides
                       of children -   and sometimes demand I kill myself as penance - simply because I apply
                       the same standards of rigor to this body of medical research as I previously applied to
                       p wer posing and 9.!:tl and Comprehensive Soldier Fitness and the implicit association test
                       in my past reporting and book. This is a very unpleasant thing to be accused of, even if the
                       accusation itself is deranged.

                       But the whole point of Science Vs is to "take[] on fads, trends, and the opinionated mob to
                       find out what's fact, what's not, and what's somewhere in between." This mission




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                    BOEAL_WPATH_ 105490


                                                                     120                                              App.195
(198 of 200), Page 198 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 198 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 122 of 193




                       statement gets pretty hollow if you tack on at the end: "unless it feels very uncomfortable
                       to do so and/or it will make unhinged people on Twitter mad at you."

                       Anyway, I can only speculate about the strange divide between how Science Vs covers
                       this issue versus how it covers others. But I'm not speculating when I say that the show
                       has botched its coverage, even as it has railed, hypocritically, against "alternative" sources
                       of science news on this and other subjects. The producers should really do some more
                       careful follow-up work on this. They should really buckle down with the existing literature
                       on youth gender medicine and imagine that they're evaluating papers claiming that the
                       CDC is hiding something about the adverse effects of coronavirus vaccines, rather than
                       that they're evaluating new research on a solidly established, well-replicated finding.

                       They should also consider the likely effect their shoddy coverage is going to have on
                       consumers' media consumption habits. Anyone who spends 10 minutes Googling around
                       will find the public controversy over these treatments raging in Europe -        it isn't exactly a
                       secret. If institutions like Science Vs (or Science-Based Medicine, or Science Friday, or ... )
                       won't give readers and listeners honest, accurate assessments of the data on this
                       absolutely vital question -   a question that involves very vulnerable kids being put on
                       powerful medicines that often have irreversible effects, with the logic being that this is the
                       only way to prevent them from literally killing themselves -      who's left to trust?

                       You can't have it both ways: You can't fail to do your job this profoundly and then complain
                       when people turn to other, less reputable sources for their science news.




                       Questions? Comments? Other red-hot controversies that are completely uncontroversial?
                       I'm at §11J!filL!mlUIBml]~[11.gfL.QQill or on Twitter at @t~~'lli1;H-

                       Image: A boy is dancing under the big rainbow flag, during the celebration of the Pride
                       walk in Amsterdam, on August 7th, 2021. (Photo by Romy Arroyo Fernandez/NurPhoto via
                       Getty Images)




                       For the purposes of this article, I'm setting aside Zukerman's next sentence: "Ya see, over
                       and over again we're see [sic] that trans folks who don't get treatment and aren't




       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                    BOEAL_WPATH_ 105491


                                                                     121                                               App.196
(199 of 200), Page 199 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 199 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 123 of 193




                                                                                                             Both
                       citations point to survey research that focuses on parental support, and neither survey
                       appears to have asked respondents about whether they have accessed gender-affirming
                       medicine. This article is about the evidence base for GAM, so these citations aren't
                       relevant.

                       2

                       The authors do mention, in the context of comparing their cohort to others, clinical samples
                       of kids with gender dysphoria (GD), some of whom were living as their natal sex at the
                       time. But of course you cannot compare clinical and nonclinical samples and then attribute
                       any differences to any variable in particular -   especially in a case like this where the
                       clinical samples generally come from other countries entirely.

                       3

                       I was also surprised by the scale the researchers used to gauge parental support, which
                       included items like "How often did any of your parents/caregivers bring you to an LGBT
                       youth organization or event?" and "How often did any of your parents/caregivers
                       appreciate your clothing or hairstyle, even though it might not have been typical for your
                       gender?" A parent who is quietly supportive of their kid wearing their hair however the hell
                       they want, or who is working too much to be around to compliment it, would be rated as
                       unsupportive. Same deal for a parent running a household out of a trailer with insufficient
                       space to entertain guests, or who lacks the automobile or time to take their kid to anything.
                       There appears to be a major potential class confound here that would probably be worth
                       looking into further.


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       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_ 105492


                                                                   122                                               App.197
(200 of 200), Page 200 of 200
                           Case: 24-142, 08/16/2024, DktEntry: 123.3, Page 200 of 200
               Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 124 of 193




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                                                                          123                    App.198
